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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MISSOURI
                                 EASTERN DIVISION

KATHLEEN OLIVASTRO,                           )
                                              )
               Plaintiff,                     )
                                              )
       vs.                                    )      Case No.: 4:18-cv-01646
                                              )
LUXOTTICA RETAIL NORTH                        )
AMERICA INC.,                                 )
                                              )
               Defendant.                     )



                        DECLARATION OF KRISTIN ABBINANTE


       I, Kristin Abbinante, make the following declaration under penalty of perjury pursuant to

the laws of the United States:



       1.      I am older than the age of 18, of sound mind, and suffer from no disease or defect

       that would render me incompetent to make this declaration.

       2.      I am a Sr. Director, Compliance and Talent Management, for Luxottica Retail

       North America Inc. (“Luxottica”). I make this Declaration in support of Luxottica’s

       Motion to Dismiss or, in the Alternative, to Stay Action and Compel Arbitration filed

       contemporaneously with this Declaration. If called as a witness, I could and would

       competently testify hereto.

       3.      I have personal knowledge of the facts set forth in this Declaration and/or from

       my review of the personnel records of Kathleen Olivastro (“Ms. Olivastro”), and from




                                                                                     Exhibit 1
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      Luxottica’s Human Resources policies and procedures, including its arbitration

      agreements, which are made and maintained in the regular course of business and for

      which I am the custodian. Personnel files and Human Resources policies and procedures,

      including arbitration agreements, are maintained by the Human Resources Department.

      4.     Ms. Olivastro began working for Luxottica in 2012. In 2015, Luxottica issued a

      revised Associate Guide, consisting of various employment policies and agreements.

      Existing employees, including Ms. Olivastro, were instructed to review and acknowledge

      the revised Associate Guide using the company’s online personnel platform, Eye Grow

      (now known as Talent Luxottica). A true and correct copy of the Associate Guide as

      revised in 2015 is attached hereto as Exhibit A.

      5.     The Eye Grow platform is accessed using a single sign-on process, which consists

      of the employee’s unique LuxID (a six-digit number) and password chosen by the

      employee. Employees should not share their passwords, and they are told to keep their

      LuxID numbers confidential.       Employees are required to change their passwords

      periodically for security purposes.

      6.     Once an employee signs in, the Eye Grow landing page opens. The employee

      would proceed to the performance module, which includes an inbox with tasks to

      complete. Reviewing the Associate Guide was marked as a required task when it was

      revised in 2015. Once that task was selected, the Associate Guide opened up and the

      employee was guided through the text of that document in its entirety. The employee

      could print or download a PDF copy of the Associate Guide, and could obtain a paper

      copy by contacting Luxottica’s Human Resources Department.




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      7.     The employment policies within the Associate Guide were broken up into

      separate sections and each section required the employee to electronically check a box

      acknowledging that s/he has reviewed the specific section identified. Then the employee

      was guided through a series of Associate Agreements, each of which required the

      employee to electronically check a box acknowledging that s/he has reviewed the specific

      agreement identified.

      8.     Luxottica maintains records of employees’ receipt, review, and acknowledgment

      of all materials provided through Eye Grow. For each step in an employee’s online

      review and acknowledgment of the Associate Guide, the system automatically updates to

      reflect the completion date.   Company records indicate that Ms. Olivastro logged into

      Eye Grow, reviewed the revised Associate Guide, and completed all associated

      acknowledgements, on December 4, 2015.

      9.     As part of this process, Ms. Olivastro separately reviewed and acknowledged

      Luxottica’s Dispute Resolution Agreement (the “DRA”). A standalone document within

      the Associate Guide, the DRA provides that employment-related disputes will be subject

      to arbitration unless the employee chooses to opt-out. See Exhibit A, at pp. 41-45. A

      true and correct copy of Ms. Olivastro’s online acknowledgment that she had the

      opportunity to review the DRA is attached hereto as Exhibit B, at p. 39.

      10.    Ms. Olivastro also executed, via electronic signature, a Luxottica Associate Guide

      Acknowledgment and Agreement (“Acknowledgment”), which indicates she has received

      the Associate Guide and agrees to abide by its terms.          It also states the signer

      “understand[s] and agree[s] to the terms of” the DRA specifically, unless she exercises

      the right to opt-out of the DRA within 30 days.        A true and correct copy of Ms.




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                  Associate Guide                                    Exhibit A
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LUXOTTICA - ASSOCIATE GUIDE




About This Guide                                                We work hard, smart and have fun. We’re proud of
                                                                our position as a global leader in our industry and
The Associate Guide (“Guide”) is intended to help               challenge ourselves to make better products, provide
associates understand the expectations, work                    better services and positively impact the world.
environment, and policies that apply to all associates
of Luxottica Retail North America, Inc. in the                  See the difference in working at Luxottica? The
United States (“Luxottica”). It also describes many             work we do matters.
of the benefits and perks our associates enjoy.
                                                                DIVERSITY & INCLUSION
 The Associate Guide applies to all Luxottica                   At Luxottica, ensuring a diverse workplace is part
 associates in the United States, including those               of our everyday business. Our global reach is broad
 working at LensCrafters, Pearle Vision, Sears                  and although we speak different languages, have
 Optical, Target Optical, Sunglass Hut, Apex by                 different traditions and celebrate different holidays,
 Sunglass Hut, ILORI, Optical Shop of Aspen and                 we all share a vision for helping the world see.
 EYEXAM of California, Inc., as well as any other
 employer that becomes a part of the Luxottica                  This vision extends from our Milan headquarters
 group of companies (collectively, “the Company,”               and stores around the world. We understand the
“we,” “our” or “us”). This Guide replaces and                   importance of maintaining a workforce that mirrors
 supersedes all prior Associate Guide versions.                 our customers. It’s not a challenge or something
                                                                we strive for. We just do it. It makes us stronger. It
For those associates working in a store location                makes us better. And, it makes for a whole lot of fun!
subject to a Collective Bargaining Agreement,
certain provisions of the Associate Guide will                  SEE THE DIFFERENCE YOU CAN
not apply. For any questions, please contact                    MAKE THROUGH ONESIGHT
the HR Solutions Group at 1-866-431-8484
                                                                733 million people around the world suffer
or HRSolutions@LuxotticaRetail.com.
                                                                from poor vision. Lack of quality vision care is
Associates working in a host store environment must             a global health issue affecting almost as many
adhere to the policies of the host store location at all        people as poverty, hunger and access to clean
times in addition to the policies outlined in this Guide.       water. The good news is that for 563 million, an
                                                                eye exam and glasses can restore their sight.
Paper copies of this Guide may be requested
by contacting the HR Solutions Group at 1-866-                  At Luxottica, being a world leader in eyewear and
431-8484 or HRSolutions@LuxotticaRetail.com.                    eye care also means being a leader in helping
Electronic copies of this Guide are available                   the world see. That’s why you’re encouraged to
to view or print on Luxottica’s intranet, or your               use your skills and expertise to give back through
brand-specific online communications channel.                   OneSight, a nonprofit organization providing
                                                                access to quality vision care and eyewear in
Luxottica: See The Difference                                   underserved communities worldwide.

At Luxottica, the work we do matters. The service               Luxottica is proud to be OneSight’s founding
we provide. The eyewear and fashion industry we                 global sponsor providing more than $7 million
influence. The fun we have. It all matters, to your             annually to support global operations and
colleagues and to the success of Luxottica. It’s rare           programming. Our retail brands also raise
that a career has the ability to make a profound                millions by sharing their passion and inviting
impact globally. It’s even rarer that we are able to            customers to donate to OneSight.
see the difference we make on a daily basis. How
                                                                Learn more at OneSight.org.
do we do it? We simply help the world see.

We’re 70,000 associates strong across 130                       Hiring and Work Practices
countries. We take smart risks and are
passionate about what we do. We connect                         THE ASSOCIATE GUIDE
through a common set of characteristics. Being                  Other than the Associate Agreements at the end
Passionate, Imaginative, Entrepreneurial,                       of this Guide, nothing in this Guide is contractual
and Simple & Fast guide all that we do.                         in nature and nothing in it creates any contractual


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obligations by the Company. This Guide is not a                The Company strives to create a culture in which
contract of employment and does not obligate the               no person will be advantaged or disadvantaged
Company to act in specific ways or to maintain any             because of any factor unrelated to job performance.
specific level or type of benefit. With the exception          The Company is committed to creating a positive,
of the Associate Agreements, this Guide may be                 healthy environment in which associates can bring
interpreted, applied, or modified at the Company’s             their diversity to the organization and provide
sole discretion and without prior notice to associates.        insight that culminates in better business decisions.
In addition to the policies in this Guide, the Company
may issue other policies and procedures. Like the              Associates who encounter or observe conduct
policies in this Guide, these other policies and               that they believe violates the Company’s
procedures are not contractually enforceable, but are          Equal Employment Opportunity Policy should
intended to inform associates of expected behaviors.           immediately bring it to the attention of the
                                                               Company. See “How to Report Violations of the
All associates are expected to familiarize themselves          EEO or Harassment Policies” in this Guide.
with the policies in this Guide and any other policies
and procedures that may apply to them. Associates              HARASSMENT FREE WORKPLACE
are expected to abide by Company policies and                  The Company is committed to providing a
procedures at all times. Questions regarding what              professional work environment where all
policies apply to an associate’s position should be            associates can work together comfortably
referred to a manager or to the HR Solutions Group at          and productively. It is the Company’s policy
1-866-431-8484 or HRSolutions@LuxotticaRetail.com.             to maintain a workplace free from any form
                                                               of harassment based on legally protected
 Associates who violate the letter or spirit of
                                                               characteristics, including sexual harassment.
 the Company’s policies may be subject to
 corrective action, up to and including termination            The Company prohibits the harassment of any of
 of employment (collectively referred to as                    its associates (including managers), volunteers,
“corrective action” for remainder of this Guide).              interns, customers, contractors, vendor personnel
                                                               and temporary staff, based on an individual’s
EMPLOYMENT AT-WILL                                             race, color, gender, national origin, religion, age,
Employment with the Company is on an at-will basis,            disability, sexual orientation, gender identity or
meaning that either the associate or the Company               expression, citizenship, veteran or military status,
can terminate employment at any time, for any reason           marital status, pregnancy (including unlawful
or for no reason. Nothing contained in this Guide              discrimination on the basis of a legally protected
alters this at-will employment status. No Company              pregnancy or maternity leave), genetic information
officer, manager or associate has authority to change          or any other characteristics protected by law.
or vary the At-Will Policy, other than through an
individual contract of employment, specifically so             The Company does not only prohibit such conduct,
providing, and signed by both the associate and a              it may be a violation of federal, state, or local anti-
legally authorized representative of Luxottica, as             discrimination laws. The Company prohibits such
determined by Luxottica’s Legal Department, or                 behavior even if it is not so severe that it would
by an otherwise enforceable written agreement.                 be considered illegal harassment, and even if the
                                                               offending person did not intend to offend or believed
EQUAL EMPLOYMENT OPPORTUNITY                                   his/her comments or conduct were welcome.
It is the policy of the Company to ensure Equal                This policy applies to all associates (including
Employment Opportunity (EEO) for all persons                   managers), volunteers, interns, customers,
regardless of race, color, gender, national origin,            contractors, vendor personnel and temporary staff.
religion, age, disability, sexual orientation, gender          This policy prohibits inappropriate conduct based
identity or expression, citizenship, veteran or military       on protected characteristics while on Company
status, marital status, pregnancy (including unlawful          property, at Company-sponsored activities
discrimination on the basis of a legally protected             and programs, on business-related trips and
pregnancy or maternity leave), genetic information             anywhere else Company business is conducted.
or any other characteristics protected by law.
                                                               Everyone at the Company is expected to respect
                                                               the rights of customers, co-workers and others

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in the workplace by refusing to participate                  Any associate who believes that he or she is the
in conversations or activities that violate this             subject of inappropriate conduct prohibited by this
policy. Managers are responsible for taking                  policy, or anyone who observes or learns of such
appropriate action to address such conduct.                  conduct, should report it immediately. See “How
                                                             to Report Violations of the EEO or Harassment
With respect to sexual harassment, the                       Policies” below. The Company prohibits any
Company prohibits the following:                             form of retaliation against any associate for filing
 1. Unwelcome sexual advances; requests                      a bona fide complaint under this policy or for
    for sexual favors; and all other verbal or               assisting in a complaint investigation. However, if,
    physical conduct of a sexual or otherwise                after investigating any complaint of harassment
    offensive nature, especially where:                      or other unlawful discrimination, the Company
                                                             determines that the complaint is not bona fide and
      • Submission to such conduct is made
                                                             was not made in good faith or that an associate
        either explicitly or implicitly a term
                                                             knowingly has provided false or intentionally
        or condition of employment;
                                                             misleading information regarding the complaint,
      • Submission to or rejection of such                   the associate who filed the complaint or who gave
        conduct is used as the basis for decisions           the knowingly false or intentionally misleading
        affecting an individual’s employment; or             information may be subject to corrective action.
      • Such conduct has the purpose or effect
        of creating an intimidating, hostile, or             ACCOMMODATIONS
        offensive working environment.                       Where required by law, the Company will provide
 2. Offensive comments, jokes, innuendos, and                reasonable accommodation for associates and
    other sexually oriented statements.                      applicants for employment with disabilities, as well as
                                                             associates who require a reasonable accommodation
    Examples of conduct expressly                            for pregnancy, childbirth, breastfeeding, or
    prohibited by this policy include, but                   related medical conditions. Similarly, reasonable
    are not limited to, the following:                       accommodation may also be provided for
      • Offensive or derogatory comments,                    associates with sincerely held religious beliefs.
        jokes, epithets or slurs based upon
                                                             Questions about or requests for a reasonable
        any protected characteristic
                                                             accommodation should be directed to the HR
      • Acts or threats of violence, and                     Solutions Group at 1-866-431-8484 or
        physical intimidation                                HRSolutions@LuxotticaRetail.com. Managers
      • Negative stereotyping                                who receive questions or requests for a reasonable
      • Repeated requests for dates                          accommodation should also contact the HR Solutions
                                                             Group for further guidance. Associates who wish
      • Requesting sexual favors, or suggesting that
                                                             to report a potential violation of this policy should
        sexual favors will gain employment benefits
                                                             follow the reporting procedure in the Open Door
      • Unwelcome touching                                   Policy defined below.
      • Any physical interference with the
        associate’s normal work or movement                  OPEN DOOR POLICY
      • Written or graphic material placed on walls,         The Company encourages associates to feel
        bulletin boards, emails or elsewhere on              comfortable expressing job-related concerns
        the Company’s premises or circulated in              and is committed to listening and responding to
        the workplace that mocks, denigrates, or             such concerns. The Open Door Policy provides
        shows hostility towards an individual or             an Open Door Process for an associate to bring
        group, or that otherwise could be offensive          a concern to management’s attention without
        to coworkers or a potential recipient,               fear of retaliation. In many cases, the associate’s
        based on any protected characteristic                immediate manager is the person best qualified to
      • Sending or receiving email, instant messaging,       address a concern or answer a question. Managers
        or text messaging that is sexually explicit,         to whom a concern is reported through the
        patently offensive or pornographic                   Open Door Policy are expected to respond.
      • Coercive behavior that amounts to bullying

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If an associate is not comfortable reporting a                 Business Abuse and Compliance Helpline
concern to his/her manager, for example because                (NetClaims) at 1-888-88-SEE-IT (1-888-887-3348).
the concern involves the associate’s manager, the
associate may report his/her concern directly to his/          Associates who contact NetClaims may do
her manager’s manager or the HR Business Partner.              so anonymously, and all information received
They may also contact the HR Solutions Group at                through NetClaims will be kept confidential to
1-866-431-8484 or HRSolutions@LuxotticaRetail.com.             the extent possible. However, disclosure may
                                                               be necessary where required by law or where
Where necessary, the HR Solutions Group will                   needed to investigate and adequately respond to
work with the associate and the manager to                     a complaint, concern or allegation. The Company
address a concern. If the associate feels that the             will not retaliate against any associate who makes
concern was not addressed to his/her satisfaction              the Company aware of concerns the associate may
by his/her manager(s) and/or the HR Solutions                  have about unlawful activity, activities contrary
Group, such concern may be elevated to a HR                    to Company policy or activities which otherwise
Business Partner or the Associate Relations                    amount to improper conduct. This includes, but
Center of Excellence to review details, conduct an             is not limited to, protection from retaliation in
investigation and attempt to resolve the issue.                the form of an adverse employment action such
                                                               as termination, compensation decreases, poor
While the Company will endeavor to maintain the                work assignments, and threats of any type.
confidentiality of a concern reported by an associate,
it may not be possible for the Company to do so in             How to Report Violations of the
every circumstance. For example, in order to resolve           EEO or Harassment Policies
a concern it may be necessary for the Company to
                                                               It is essential that anyone who observes or is the
conduct a workplace investigation during which
                                                               subject of inappropriate conduct report the conduct
the details of the particular concern may need to
                                                               so that the Company can respond. Options are
be disclosed to the affected/implicated workplace
                                                               available to associates who may have concerns about
parties or witnesses. In addition, associates may be
                                                               inappropriate workplace behavior. If the associate is
requested to maintain confidentiality where critically
                                                               comfortable doing so, he/she may ask the harasser
necessary to protect a witness, avoid tampering/
                                                               to stop the offending behavior. The offender
destruction of evidence, or to prevent a cover-up.
                                                               may not realize the behavior is offensive. Often,
Associates can use the Open Door Policy without                merely telling the offender will stop the conduct.
fear of retaliation. Any person who attempts
                                                               If the conduct does not stop after confronting
to deter or deters an associate’s attempt to
                                                               the offender, or the associate is not
escalate a concern, or who retaliates against an
                                                               comfortable addressing that person, the
associate in any way for using the Open Door
                                                               associate should immediately report his/her
Policy, will be subject to corrective action.
                                                               concerns to any of the following resources:
Associates are not required to use the                          • Associates may report the conduct to
Open Door Policy prior to initiating                              their managers or, if not comfortable
arbitration, but are encouraged to do so.                         doing so, to the next higher manager.

Business Abuse and Compliance Helpline                          • Associates may report the conduct to the
                                                                  HR Solutions Group at 1-866-431-8484
If the issue is one involving a claim of discrimination,
                                                                  or HRSolutions@LuxotticaRetail.com.
harassment, retaliation, or failure to accommodate,
the associate should follow the reporting                       • Associates may report the conduct
mechanism defined below in “How to Report                         to their HR Business Partner.
Violations of the EEO or Harassment Policies.”
                                                                • Associates may report the conduct to NetClaims
Associates and others are encouraged to report                    at 1-888-88-SEE-IT (1-888-887-3348).
issues or concerns involving illegal or dishonest
                                                               Associates may be asked to provide a
fraudulent activity or compliance with laws,
                                                               written description that includes details
regulations, or Company policies, including the
                                                               of any incident(s), names of individuals
Company’s Code of Ethics, to the Company
                                                               involved, and names of any witnesses.


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Associates have a duty to cooperate in the                     romantic relationship between associates, including
Company’s investigation of alleged inappropriate               actual or perceived favoritism, distraction, fighting
conduct, except where a Company investigator                   or other inappropriate behavior, the Company
informs you that your cooperation is voluntary.                will treat such conduct as a performance issue.
Failing to cooperate, intentionally withholding
material information, or deliberately providing false          Examples of prohibited dating/romantic
information during an investigation violates this policy       relationships include:
and may subject an associate to corrective action.              • Store level managers and supervisors may not
                                                                  date anyone who works at their store location(s).
When deemed necessary, associates or others may
be separated during the investigation, and an alleged           • Field managers may not date anyone
harasser (or other persons) may be suspended                      who works in their zone or region.
pending the outcome of the investigation. If the
                                                                • Vice Presidents may not date anyone
alleged harasser is a vendor representative or a
                                                                  in their group or department.
temporary staff person, the Company may request
his/her temporary removal from the assignment                   • Cincinnati Service Center Directors and above
pending the outcome of the investigation.                         may not date anyone in their department.

If the Company determines that an associate                    The Company reserves the right to prohibit
has violated this policy, he/she will be subject               dating in other situations where the Company
to corrective action. If a vendor representative               determines that a romantic relationship may be
or temporary staff person violates this                        detrimental to the Company’s business interests.
policy, the individual may be prohibited from
performing future services for the Company.                    If a dating or romantic relationship between a
                                                               manager and subordinate exists or develops, the
Associates with questions or concerns                          participants are required to report their relationship
about the process, or about an ongoing                         to the manager’s manager and the HR Business
or completed investigation, should contact                     Partner. The Company may decide to place one of
the HR Solutions Group at 1-866-431-8484                       the participants outside the reporting relationship.
or HRSolutions@LuxotticaRetail.com.                            If alternative placement is not feasible or not in the
                                                               Company’s best interests, termination of employment
Associates who use the above reporting                         may be necessary. Managers and subordinates who
mechanisms are expected not to abuse them.                     misrepresent, hide, or fail to promptly disclose any
False reporting is strictly prohibited. Any associate          such relationship may be subject to corrective action.
who intentionally makes false or misleading
allegations will be in violation of Company policy,            If an associate knows that he/she is being
and may be subject to corrective action.                       considered for a job change such as a promotion
                                                               or transfer or has requested a job change, he/
DATING AT WORK/INAPPROPRIATE                                   she must disclose whether the proposed
RELATIONSHIPS                                                  change would result in a violation of this policy.
The Company expects managers to maintain                       The Company may decline to authorize a job
professional work relationships with their                     change to prevent a violation of this policy.
subordinates. Accordingly, dating and romantic
relationships between managers and subordinates                EMPLOYMENT OF RELATIVES/COHABITATION
are prohibited, and managers are encouraged to                 The Company recognizes the natural desire of
refrain from excessive non-work related socialization          associates to assist their family members, as
with subordinates due to the negative impact it may            well as others with whom they have intimate
have on the workplace. Further, associate dating               relationships, to seek careers with the Company.
and romantic relationships at any level are not                This policy is established to protect the Company
encouraged. Associates who elect to date or become             and its associates from problems that might
romantically involved with other associates do so              arise where it employs associates who share
with the understanding that the relationship may be            these types of relationships, such as actual or
subject to review by the Company. If any negative              perceived conflicts of interest and favoritism.
impact on the workplace occurs due to a dating or


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For purposes of this policy, the term “related” shall           to demonstrate continued authorization to
apply to the following relationships whether they are           work in the United States for the Company.
established by blood, marriage (“in-law” relationship)
or other action: father, mother, son, daughter, brother,        DRUG AND ALCOHOL FREE WORKPLACE
sister, grandparent, grandchild, aunt, uncle, niece,            The Company is committed to providing
nephew, cousin, spouse, domestic partner or similar             a safe and productive workplace for
relationship. The term “cohabitator” or “roommate”              our associates and customers.
applies to anyone with whom a residence is shared.
                                                                The following is prohibited while on Company
The following guidelines are to be followed                     property, time (including meal periods and
with respect to employment of family members,                   rest breaks), or while on Company business:
cohabitating associates, and associates who
share similarly close, intimate relationships:                   1. Use, abuse or being under the influence of:
                                                                     • Illegal drugs (including marijuana and
Direct Reporting Relationship                                          marijuana products prescribed for
Related or cohabitating associates may                                 medical use, which is prohibited in
not report directly to each other.                                     the workplace under federal law)
                                                                     • Illegal chemicals
Associates Reporting to the Same Manager                             • Legal chemicals for any unintended purpose
Related associates may not report to the same                        • Prescription drugs, for any purpose other
manager unless they work at different locations                        than is prescribed or by anyone other than
or in different departments. No associate in a                         the person to whom it is prescribed
management position may have a cohabitator/
                                                                     • Alcohol (except as authorized at certain
roommate working in his or her area of responsibility.
                                                                       designated Company events)
Where such situations exist or develop in the                    2. The purchase, sale, transfer, possession,
future through promotion, transfer, marriage,                       manufacture or distribution of illegal drugs,
housing changes or other action, one of the                         prescription drugs (other than legal purchase
associates must transfer, resign or make a housing                  or possession by the person to whom it
change within a timeline set by the Company,                        is prescribed), illegal chemicals or legal
not to exceed 90 days after the relationship or                     chemicals for any unintended purpose.
roommate status is established. Associates have
an ongoing obligation to advise management                      If the Company determines that an associate
promptly of changes in relationship or roommate                 engaged in these prohibited behaviors, he/
status. At its discretion, the Company may modify               she may be subject to corrective action.
the job duties of specific associates to address
situations in which the exercise of that job duty               This policy applies to associates as well as applicants
may conflict with the spirit of this policy, even               for employment with the Company. It is an
though there is not a direct reporting relationship.            associate’s responsibility to notify management
                                                                when taking any prescription medication that might
IMMIGRATION LAW COMPLIANCE                                      affect job performance. The associate is to inform
                                                                his/her manager of the possible effects of the
The Company is committed to full compliance with
                                                                medication; however, he/she should not disclose
applicable federal and state immigration laws. These
                                                                any diagnosis or underlying medical condition.
laws require that all applicants and associates establish
and maintain proof of their legal right to work in the
                                                                Known Violations
United States as a condition of employment. Every
associate must provide satisfactory evidence of his/            If an associate knows of another associate’s violation
her identity and legal authority to work in the United          of this Policy, it is the associate’s responsibility to
States no later than three business days after he/              immediately notify his/her manager or the manager
she begins work. If an associate’s immigration status           on duty, or to contact the HR Solutions Group at
changes during the course of employment, the                    1-866-431-8484, or HRSolutions@LuxotticaRetail.com.
associate must notify his/her manager prior to the
change, and complete all necessary documentation


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Drug and Alcohol Testing                                        Associates who violate the dress code applicable
The Company reserves the right to test applicants               to their work location may be sent home and/or
for employment, and in certain situations, test                 subject to corrective action. Questions and requests
associates for evidence of drugs and/or alcohol.                for dress code accommodations, including to
A positive test, or refusal to test, may result in              reasonably accommodate an associate’s sincerely
withdrawal of a candidate’s contingent offer of                 held religious beliefs, should be directed to the
employment, or corrective action for associates.                associate’s immediate manager or the HR Business
                                                                Partner assigned to the associate’s work location.
WORKPLACE VIOLENCE AND WEAPONS
                                                                Store Locations
Luxottica is firmly committed to providing a safe
workplace that is free from acts of violence or                 Associates must follow the dress code
threats of violence. Luxottica prohibits acts of                guidelines applicable to their position and
violence, and threats of violence associated with               brand, which may change from time to time.
the Company or its associates, whether explicit
or veiled, verbal or written. Further, the Company              Cincinnati Service Center (CSC)
prohibits the possession, storage and use of                    Associates are permitted to dress for their
firearms, ammunition and other dangerous items                  day. When representing the Company in
that may be considered a weapon on Company                      meetings with external parties, business formal
property, except as permitted by state or local law.            or business casual attire is required. On other
                                                                days, smart casual attire such as dress/polo
Associates should immediately report any real or                shirts and fashionable jeans are acceptable.
imminent violence, threats of violence, or coercion
against themselves or others (including threats to              PERSONAL DATA PROTECTION
harm oneself), and weapons concerns to a manager,
                                                                Personal information covered by this policy, whether
or the HR Solutions Group at 1-866-431-8484, or
                                                                in paper or electronic form includes, but is not
HRSolutions@LuxotticaRetail.com. A full investigation
                                                                limited to, an individual’s name, or first initial and last
and appropriate course of actions will follow any good
                                                                name, used in conjunction with one or more of the
faith reports of violence, threats of violence or weapons
                                                                following types of information, in any combination:
in the workplace. This policy applies to all associates,
and failure to adhere may result in corrective action.           • Social Security number
                                                                 • Driver’s license number or state-
SMOKING AND TOBACCO USE
                                                                   issued identification card number
The Company is dedicated to providing a healthy,
comfortable and productive environment for our                   • Home address
associates. Luxottica is a non-smoking organization.             • Non-Company telephone numbers
Smoking (including the use of e-cigarettes and similar             and email addresses
vapor devices) and the use of tobacco products
is prohibited in all stores, field locations, service            • Date of birth
facilities, Company sponsored meetings and events,               • Financial account numbers
and in Company vehicles that are occupied by more
than one person. All associates, customers and                   • Credit or debit card numbers
visitors are expected to comply with this policy.                  or related security codes
                                                                 • Passport number
DRESS CODE
                                                                 • Medical information (including
Professional relationships with customers, coworkers
                                                                   that governed by HIPAA)
and vendors are vital to the Company’s business. An
associate’s appearance plays an important part of                • Luxottica identification
building that relationship. Dress code requirements
                                                                 • Luxottica passwords
will vary depending on the particular requirements
of an associate’s job and workplace; however, all                • Alarm codes
associates are expected to be well-groomed, practice
                                                                 • Beneficiary or emergency contact information
good hygiene and project a professional image.



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This policy does not prohibit non-supervisory and            business purpose is strictly prohibited. As used
non-managerial associates from communicating                 herein, unauthorized access means any intentional
about their employment conditions or sharing                 effort to discover, review or obtain personal
information for the purpose of engaging in activities        data for any improper, unlawful or non-business
protected by the National Labor Relations Act.               purpose. Unauthorized disclosure means publishing
                                                             or providing personal data to any person or
It is essential that associates protect the                  entity for any improper, unlawful purpose or any
confidentiality of sensitive personal information of         purpose not related to the Company’s business.
customers, patients, applicants and associates, and
safeguard such information contained in Company              Examples of reasonable security precautions that
records or other data. Associates are expected to            should be taken with respect to personal information
be knowledgeable of and comply with all Company              covered by this policy include, without limitation:
HIPAA policies and procedures, which may be found
                                                              • Taking reasonable steps to destroy records
on Luxottica’s intranet, or your brand-specific online
                                                                containing covered personal information
communications channel. Social Security numbers
                                                                once the record is no longer required to be
must be given particular protection. No associate
                                                                retained by shredding or erasing the record,
or customer Social Security number may be publicly
                                                                or by any other means which makes the
posted or displayed in any way that communicates or
                                                                information unreadable or undecipherable, in
makes the number publicly available. Social Security
                                                                accordance with federal, state, and local record
numbers may not be printed on any card required
                                                                retention requirements (where applicable).
for the individual to access Company products
or services. They also may not be required to be              • Storing documents containing personal
transmitted over the internet without appropriate               data in locked file cabinets.
encryption, required to access a Company website,
                                                              • Ensuring that computers containing
or printed on any materials to be mailed to an
                                                                personal data are password protected
individual, unless required by state or federal law. A
                                                                and locked when not in use.
Social Security number may, however, be included
in applications and forms sent by mail as part of an          • Ensuring documents containing personal
application or enrollment process, as long as the               data are not left unattended.
number is not visible from the outside of an envelope.
                                                              • Verifying that persons requesting personal
                                                                data are entitled to receive the information.
Access to Personal Data and Security Precautions
Access to personal information, as defined above,             • When computer equipment or electronic
is limited to those associates who require such                 media that contain personal data are
access to perform their job duties. Associates                  to be discarded, contacting the IT
who have access to personal data are expected                   Department for disposal assistance.
to ensure, to the extent practicable, the                     • Any personal information disclosed pursuant to
confidentiality and security of that information                a contractual arrangement with a third party, and
and to take reasonable security measures to                     after consultation with the Legal Department,
protect the information from unauthorized access,               must require the third party to agree contractually
destruction, use, modification or disclosure.                   to implement and maintain reasonable security
                                                                practices and procedures to protect the
Despite the close working relationship between
                                                                personal information from unauthorized access,
associates and subleasing optometrists or
                                                                destruction, use, modification or disclosure.
ophthalmologists, no associate should handle
a subleasing doctor’s patient file or data
                                                             Reporting
unless it is with the specific permission of the
doctor or pursuant to a Business Associate                   All associates are expected to immediately report
Agreement and in the course of treatment.                    any instances of identity theft, or any instance of
                                                             unauthorized access, destruction, use, modification or
Unauthorized access, destruction, use, modification          disclosure of covered personal information, including
to, or disclosure of personal information regarding          any security breach of an electronic system that
any current or former customer or associate of               contains covered personal information. Associates
the Company for any improper, unlawful or non-               should immediately report known or suspected


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conduct to their manager, their manager’s manager,             is imperative that associates’ use of technology
or contact the NetClaims line at 1-888-88-SEE-IT               and electronic communication systems complies
(1-888-887-3348). Failure to report any such instances         with Company expectations and standards. All
may result in corrective action. Additional information        Company Technology Resources (CTR), including
about the Company’s policy on electronic information           but not limited to Luxottica provided computers,
protected by the Health Insurance Portability and              electronic devices, systems, networks and other
Accountability Act (“HIPAA”) may be found in the ePHI          hardware/software applications (including those
agreement contained in this Guide and the Company’s            that allow you to connect to Luxottica networks
HIPAA policies and trainings located on Luxottica’s            or access data from a personal device) are
intranet, or your brand-specific online communications         Company resources which are to be used for direct,
channel. If an associate does not have access to the           business-related and management-approved
intranet or brand communications channels, he/she              activities. Acceptable activities relate to each
may request a copy of the policy from their manager.           associate’s unique job duties and responsibilities.
                                                               Limited non-business use of CTR is permitted,
Protection of Company Assets                                   subject to the requirements set forth below.

ASSET PROTECTION                                               All current and future Luxottica policies, as
                                                               well as state and federal law, apply to the use
Asset protection is everyone’s responsibility. As
                                                               of CTR. These include, but are not limited to,
an associate, it is your duty to prevent, identify
                                                               Luxottica’s Harassment Free Workplace, Workplace
and report known or suspected asset protection
                                                               Violence and Weapons, Personal Data Protection,
concerns such as theft, shoplifting or shrinkage.
                                                               Social Media, and Solicitation and Distribution
To report an asset protection issue, or for asset              policies, as well as the Code of Ethics. At no
protection questions, contact the appropriate                  time may associates or others who use CTR:
Asset Protection Manager, or call the NetClaims                 • Abuse or use of defamatory, vulgar,
line at 1-888-88-SEE-IT (1-888-887-3348).                         menacing or physically threatening
Never jeopardize your safety or the safety of                     language toward customers, vendors, other
other associates and customers by pursuing,                       associates or any other person or entity.
apprehending or detaining a shoplifter.
                                                                • Make discriminatory statements, including
MANAGEMENT OF BUSINESS RECORDS                                    disparagement of others based on race,
                                                                  color, gender, national origin, religion,
All Company records must be managed in
                                                                  age, disability, sexual orientation, gender
accordance with applicable Luxottica record
                                                                  identity or expression, citizenship, veteran
retention schedules and policies, which are
                                                                  or military status, marital status, pregnancy
available on Luxottica’s intranet, or your brand-
                                                                  (including unlawful discrimination on the
specific online communications channel.
                                                                  basis of a legally protected pregnancy or
                                                                  maternity leave), genetic information, or any
USE OF COMPANY PROPERTY
                                                                  other characteristics protected by law.
Items furnished by the Company for use by
associates remain the property of Luxottica.                    • Make statements regarding or otherwise
Limited use of Company phones for personal use                    disclose trade secrets, confidential information
is permitted (see Mobile Devices in this Guide                    or other proprietary information.*
for more information). Examples of misusing                    * In this guide Proprietary Information does not include information
Company property include: personal use of                       lawfully acquired by a non-management employee of the
copiers, Federal Express, UPS, postage, long                    Company about wages, hours or other terms and conditions of
distance telephone calls and excessive personal                 employment when used for purposes protected by §7 of the
use of Company cell phones and mobile devices.                  National Labor Relations Act such as joining or forming a union,
                                                                engaging in collective bargaining, or engaging in other concerted
CORPORATE INFORMATION                                           activity for mutual aid or protection of laborers. Moreover,
TECHNOLOGY AND DATA SECURITY                                    nothing herein will be construed to prohibit a disclosure that is
Technology is an essential component of our                     required by law or to prohibit an associate from making a report
business operations. As we continue to utilize                  to a duly authorized law enforcement agency that is protected by
technology and communicate electronically, it                   law; provided, however, that to the extent permitted by law the


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 • Make statements that might constitute sexual                                Company for business use) or other devices
   or other harassment under the Company’s                                     to any part of the Company’s communications
   Harassment Free Workplace policy.                                           networks, computers, terminals or lines. Contact
                                                                               IT Security to determine if a device is authorized.
 • Access or transmit links to sites that
   contain profane, pornographic, violent                                   6. Limit non-business use of CTR to nonworking
   or other patently offensive material.                                       time (e.g., meal periods and rest breaks)
                                                                               and ensure such use does not preempt
The Company requires the appropriate use of all                                business needs. See below for monitoring
Company assets, including CTR and electronic files.                            and privacy considerations that apply to
Electronic files (including email and web pages                                non-business use of Company technology.
accessed on the internet) are considered Company
records, and may be regarded as legally equivalent                          Use of Company technology, whether
to Company files and records in paper form.                                 for business, non-business, or personal
                                                                            purposes, is not private. Specifically:
Protection of Company assets, confidential
Company information, and safeguarding CTR                                    • The Company will, in its discretion, delete
against viruses and intruders, are critical. For these                         any non-business information, including
reasons, associates and others who are granted                                 files, images, video and music, stored on
access to CTR must comply with the following:                                  its systems. Associates who wish to avoid
                                                                               permanent deletion of such materials should
 1. Email messages that contain confidential                                   not store them on Company systems.
    Company information must be encrypted
    before transmission. The Company will provide                            • Email accessed from or transmitted through a
    authorized encryption tools, as associates are                             personal email account using the Company’s
    never authorized to employ their own encryption                            communication systems may be stored on
    methods or key outside the control of IT Security.                         Company systems. The Company may review
                                                                               such emails, and block any external email
 2. Use only Company internet and email                                        services or cloud service (non-business email,
    services provided by the IT Department                                     file sharing, etc.), at its discretion at any time.
    when conducting Company business.
                                                                             • Associate email messages and internet activity
 3. Do not download or install software                                        may be accessed, intercepted, monitored or
    including, but not limited to, browsers,                                   reviewed by the Company at its discretion,
    plug-ins, file-sharing software, FTP clients                               including but not limited to suspected
    or any other software package or software                                  violations of this policy or other policies.
    upgrade without prior authorization from                                   Only designated associates may monitor,
    your local IT Service Desk or IT Security.                                 autoforward or journal another associate’s
 4. Always use software and hardware                                           email messages or monitor internet usage.
    in accordance with applicable license or                                 • Associates who use Company provided email
    lease agreements. No software or related                                   accounts, internet accounts, and systems
    documentation licensed to the Company                                      consent to the possibility that their messages
    may be copied or shared with anyone else                                   and attachments, internet sites accessed,
    unless explicitly authorized in writing by the                             and information (in any form) downloaded or
    licensor. In cases involving multiple uses of                              uploaded may be intercepted or monitored. All
    CTR, associates are to use the software only                               email communications on the Company’s email
    in accordance with the license agreement.                                  system remain the property of the Company.
 5. Do not install or connect unauthorized software,                           Associates should maintain no expectation of
    hardware, personal devices (including, but not                             privacy in the Company’s computer systems
    limited to, laptops, smartphones, iPads, MP3                               or any information transmitted through, or
    players, and similar devices not issued by the                             stored on, such systems or other CTR.
 associate will give Luxottica as much advance notice as is possible        Connecting a personal electronic device or storage
 before such a disclosure (presumably five business days or more)           device to CTR is prohibited, and associates who do
 so that Luxottica may take legally permitted steps to protect the          so may be subject to corrective action. Associates
 Proprietary Information.                                                   are advised that the Company reserves the right,

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at any time, to (a) inspect; (b) remove Company              the Mobile Devices Policy may be subject to a
information, and (c) analyze files, data, and data           withholding of CMD and/or corrective action.
storage media that may be within, or connectable to,
such devices. All passwords or security codes needed         Company Mobile Devices
to access information stored on these devices must           CMD are tools which are issued to individual
be made available to the Company upon request.               associates and work locations for business
                                                             purposes. Lost or missing CMD must be
The Company’s not exercising its rights with
                                                             reported immediately, and no later than one
respect to certain communications or files in no
                                                             business day from the day it is lost or missing.
way modifies or waives the Company’s right to
monitor other electronic communications or files.            The following restrictions apply to CMD:
Associates and managers are responsible for                   • Excessive use of CMD for personal, non-business
ensuring compliance with the Company’s Corporate                needs and connection to the internet (including
Information Technology and Data Security policy, as             sending or receiving pictures or video, and
well as other applicable IT Security and Data Privacy           downloading any items that violate Company
policies. Copies of these policies may be obtained              policy) are prohibited; however, occasional
from your manager or on Luxottica’s intranet,                   short, personal calls/text messaging and
or your brand-specific online communications                    connection to the internet is permissible.
channel. Email and internet usage statistics will
                                                              • Associates who use CMD for personal purposes
be made available to managers, including but not
                                                                are responsible for any liability that may arise
limited to with whom associates send and receive
                                                                from such use, including any violation of law,
email, time spent on the Internet, and websites
                                                                regulation or policy resulting from such use.
accessed. In addition, the Company periodically
reviews email communications, including but                   • The Company does not pay for family plan costs.
not limited to, message content and size.
                                                              • CMD may not be used in place of an
Questions regarding this policy can be                          associate’s personal landline telephone.
directed to the Chief Information Security                    • Porting of cell phone numbers from
Officer at ITCompliance@luxottica.com.                          PMD to CMD, or from CMD to PMD is
                                                                prohibited, unless expressly authorized by
MOBILE DEVICES                                                  the Chief Information Security Officer.
Associates may use Company issued and/or
personal mobile devices to conduct Company                   CMD issued and intended for store use only,
business, provided they follow the restrictions              such as iPads, may not be borrowed or removed
listed below. These devices, known as Personal               from store locations. Lost or stolen CMD must
Mobile Devices (PMD) and/or Company Mobile                   be reported immediately and no later than one
Devices (CMD) include, but are not limited to,               business day from the day it is lost or missing.
cell phones (e.g., iPhone, Blackberry, Droid, etc.)
and tablets (e.g., iPad, Kindle, etc.). Non-exempt           Personal Mobile Devices
(hourly) associates using either device for business         Unless otherwise required by the Company,
purposes must report the time to their manager               associates who elect to use PMD for business
to ensure they are paid for their work time.                 purposes, whether during or outside of
                                                             work hours, do so voluntarily. Such use
Unless using hands-free equipment, use of CMD or             must comply with the following:
PMD to conduct Company business while operating
a motor vehicle is prohibited. Associates who are             • PMD are prohibited on the sales floor, in
charged with traffic violations resulting from the              the lab, and other restricted access areas,
use of CMD or PMD will be solely responsible                    unless being used for business purposes, as
for all liabilities that result from such actions.              authorized by the associate’s manager.
                                                              • Do not connect PMD to Company wireless
Associates are expected to follow Company
                                                                Internet networks. Store networks are to be used
policies and applicable law regarding the use of
                                                                solely for operational purposes using CMD.
mobile devices. Associates who violate or abuse


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 • The Company will not reimburse for data or                Questions regarding this policy can be
   internet charges where an associate voluntarily           directed to the Chief Information Security
   chooses to use a PMD instead of an accessible,            Officer at ITCompliance@luxottica.com.
   non-mobile alternative that is available at
   no additional charge to you. In cases where               USE OF COMPANY NAME/TRADEMARK
   an associate is required to use a PMD to                  Do not unlawfully infringe on Company trademarks,
   conduct Company business, he/she must                     service marks and logos. This does not prevent non-
   report the use to their manager to coordinate             managerial and non-supervisory associates from
   reimbursement for any costs incurred in                   using Company trademarks, service marks and logos
   connection with the performance of his/her work.          to communicate about their working conditions.
 • Use of PMD to access third party applications             Questions regarding the proper protocol for use of
   or websites must comply with Corporate                    Company trademarks, service marks, logos or the
   Information Technology and Data Security Policy           like may be directed to Corporate Communications
   requirements, as well as all other applicable             at NA_Communications@LuxotticaRetail.com.
   Company IT policies and security protocols.
                                                             SOCIAL MEDIA
 • Do not save user names and passwords used
                                                             This policy applies to all associates who communicate
   to access Company email portals, internal
                                                             online on their own behalf, both during work and
   websites, systems and databases in PMD.
                                                             non-work time, and both in and out of the workplace.
 • Associates are solely responsible for                     It also applies to associates whose core work
   any damage, loss and/or other liabilities                 responsibilities include online communications or
   sustained to PMD brought into the workplace               are otherwise participating at the request of the
   or used outside of the workplace.                         Company. Note: Retail brands may have additional
                                                             guidelines specific to their online media strategies.
 • Do not enter or save sensitive Company
   or customer information in PMD.                           The Company recognizes that online communications,
 • Associates issued CMD will not be reimbursed              including participation in social media, may be
   for expenses incurred in connection                       a part of some associates’ everyday lives. Any
   with the use of equivalent PMD.                           Company information that is subject to a Confidential
                                                             Information and Non-Solicitation Agreement or
 • The Company does not support PMD                          Non-Disclosure Agreement cannot appear in
   hardware or software issues.                              associates’ online posts under any circumstances.
                                                             Ultimately, associates are solely responsible for what
Connecting PMD to Company information systems
                                                             they post online. Before creating online content,
and networks without authorization is prohibited, and
                                                             associates should consider some of the risks and
associates who do so may be subject to corrective
                                                             rewards that are involved. Keep in mind that any
action. Associates are advised that the Company
                                                             conduct that adversely affects an associate’s job
reserves the right, at any time, to (a) inspect; (b)
                                                             performance, the performance of fellow associates
remove Company information; and (c) analyze files
                                                             or otherwise adversely affects customers, suppliers,
and data found within PMD connected, or attempting
                                                             people who work on behalf of the Company or the
to connect, to the Company’s information systems.
                                                             Company’s legitimate business interests may result
Further, associates who use PMD to conduct                   in corrective action up to and including termination.
Company business or violate any Company policy
must, upon request by the Company, (a) provide               Disclose Your Connection to the Company
the Company with access to information stored                Whenever endorsing the Company, or Company
on the PMD and/or, where applicable, (b) provide             products or services online, associates must disclose
written consent for the PMD service provider to              their employment with Luxottica. Associates may
disclose to the Company transactional information            not represent themselves as spokespersons for the
and the content of stored communications                     Company, and must note that any opinions expressed
related to the Company’s business or a suspected             are their own and do not represent the official
policy violation. Refusal to comply with such                position of the Company. An associate’s employment
requests may result in corrective action.                    connection must be disclosed regardless of
                                                             the space limitations of the medium used.


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Do Not Disclose Any Confidential                                             with other associates or by utilizing the Company’s
Company Information                                                          Open Door Policy than by posting complaints to a
Disclosure of any Company confidential, proprietary,**                       social media outlet. Nevertheless, associates who
or trade secret information is strictly prohibited. Any                      decide to post complaints or criticism should avoid
Company information that is subject to a Confidential                        using statements, photographs, video or audio that
Information and Non-Solicitation Agreement or Non-                           reasonably could be viewed as malicious, obscene,
Disclosure Agreement cannot appear in associates’                            physically threatening or coercive, disparaging to
online posts under any circumstances. This includes                          customers, associates or suppliers, or that might
but is not limited to: strategies and plans; sales and                       constitute harassment or bullying prohibited by
financial results; product releases, marketing or                            Company policies. Examples of such conduct
promotions; new store designs; inventory/pricing                             might include patently offensive posts meant to
information; and customer information. Associates                            intentionally harm someone’s reputation or posts
should not make comments about the Company that                              that could contribute to a hostile work environment
are maliciously false or make disparaging remarks                            on the basis of race, color, gender, national origin,
about competitors. If an associate has any questions                         religion, age, disability, sexual orientation, gender
about whether information is confidential, he/she                            identity or expression, citizenship, veteran or military
may contact his/her supervisor or manager, Human                             status, marital status, pregnancy (including unlawful
Resources, or Corporate Communications before                                discrimination on the basis of a legally protected
disclosing any such information, or err on the side                          pregnancy or maternity leave), genetic information,
of caution and not disclose the information.                                 or any other characteristics protected by law.

                                                                             All Company marketing/advertising material
Give Your Honest and Truthful Opinions
                                                                             must be approved by the Legal Department
Associates should make sure they are always honest                           in accordance with Company policy.
and accurate when posting information or news, and
if a mistake is made, correct it quickly. Be open about                      Respect Intellectual Property Rights
any previous posts that have been altered. Remember
                                                                             Show proper respect for the laws governing
that the internet archives almost everything;
                                                                             copyright, fair use of copyrighted material owned
therefore, even deleted postings can be searched.
                                                                             by others, trademarks and other intellectual
Associates should never post any information and
                                                                             property, including the Company’s own copyrights,
rumors they know to be false about the Company,
                                                                             trademarks and brands. To minimize the risk of a
fellow associates, customers, suppliers, people
                                                                             copyright violation, you should provide references to
working on behalf of the Company, or competitors.
                                                                             the source(s) of information you use and accurately
Associates should always be fair and courteous to                            cite copyrighted works you identify in your online
fellow associates, customers and suppliers or people                         communications. Do not unlawfully infringe on
who work on behalf of the Company. Associates                                Company logos, brand names, taglines, slogans,
should keep in mind that they are more likely to                             or other trademarks. Sensitive and personally
resolve work-related complaints by speaking directly                         identifiable information (such as customer and
                                                                             vendor names, individual Social Security numbers,
** In this guide Proprietary Information does not include                    protected health information, etc.) should never be
  information lawfully acquired by a non-management employee of              cited or referenced without approval in compliance
  the Company about wages, hours or other terms and conditions               with all Company policies, laws and regulations.
  of employment when used for purposes protected by §7 of the
  National Labor Relations Act such as joining or forming a union,           You Are Personally Liable For Your Actions Online
  engaging in collective bargaining, or engaging in other concerted
                                                                             Associates are personally liable under federal,
  activity for mutual aid or protection of laborers. Moreover,
                                                                             state and local law for their actions and omissions
  nothing herein will be construed to prohibit a disclosure that is
                                                                             with respect to their online communications. The
  required by law or to prohibit an associate from making a report
                                                                             Company reserves the right to hold an associate
  to a duly authorized law enforcement agency that is protected by
                                                                             directly responsible for any claims that arise from
  law; provided, however, that to the extent permitted by law the
                                                                             an associate’s violation of the law, this policy or
  associate will give Luxottica as much advance notice as is possible
                                                                             the Company’s rights. By communicating online,
  before such a disclosure (presumably five business days or more)
                                                                             associates agree to protect the Company, its
  so that Luxottica may take legally permitted steps to protect the
  Proprietary Information.


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parents, affiliates and subsidiaries from any                  associates from discussing with others the
liability that arises out of the foregoing.                    terms and conditions of their employment.

We Reserve the Right to Ask You to Remove Content              COMPETITIVE EMPLOYMENT
The Company will, in its discretion, review your social        In order to protect the competitive advantage
networking activities. Please note that this Policy            our Company enjoys and to protect the job
applies even if your social networking is anonymous            security of our associates, the following
or under a pseudonym. If you do engage in such                 policy must be strictly followed.
social networking, you should be aware that in
appropriate circumstances the Company will take                Associates cannot, under any circumstances, work for
steps to determine your identity. The Company                  an optical competitor while employed in any capacity
may request that associates temporarily confine                by the Company. An optical competitor is defined
their social networking to matters unrelated to                as any individual, group of individuals, company or
the Company if it determines this is necessary or              any organization that provides retail optical products
advisable to ensure compliance with securities                 and/or services at 10 or more locations that is not
regulations or other laws. The Company also                    owned by Luxottica. In remote market locations,
may request that associates remove content that                the Company reserves the right to determine the
may violate the law or Company policies – for                  definition of a competitor based on product specifics
example, content about customers, coworkers,                   and the impact to isolated Company stores. Such an
supervisors, the Company, vendors or suppliers that            arrangement would constitute a conflict of interest
is vulgar, obscene, physically threatening, coercive,          and is grounds for dismissal. This policy may be
libelous, harassing or discriminatory on the basis             waived by Director level managers or above to
of race, color, gender, national origin, religion, age,        allow optometrists and opticians who work for the
disability, sexual orientation, gender identity or             Company and another optical retailer. Any such
expression, citizenship, veteran or military status,           waiver must be in writing. Waiver of this policy does
marital status, pregnancy (including unlawful                  not waive the associate’s responsibility to comply
discrimination on the basis of a legally protected             with all other Company policies and procedures. Any
pregnancy or maternity leave), genetic information,            other potential or unusual conflict should be reviewed
or any other characteristics protected by law.                 by Human Resources and the Legal Department.

Promotions, Giveaways or Contests                              Employment By Pearle Vision Franchise Stores
Online giveaways, sweepstakes and contests are                 The Company does not control the operation of
subject to applicable laws, compliance with Company            Pearle Vision franchise stores. Except as provided
policies and all applicable rules and guidelines of            in this policy, associates may not work for a Pearle
social media sites. All Company promotions must                Vision franchise store while employed by the
be reviewed in advance by the Legal Department.                Company. This policy may be waived in limited
                                                               circumstances where: (1) the associate’s place of
Using Company Systems for Personal Use                         employment with the Company and the Pearle
                                                               Vision franchise store are more than five miles apart,
Associates should refrain from using social media
                                                               and (2) the Pearle Vision Brand General Manager
while on work time or on equipment provided
                                                               or his/her designee has specifically approved the
by the Company, unless it is work-related as
                                                               associate’s employment by both the Company
authorized by your supervisor or manager. Do
                                                               and the Pearle Vision franchise store in writing.
not use Company email addresses to register
on social networks, blogs or other online tools
                                                               SOLICITATION AND DISTRIBUTION
utilized by personal use. Use should comply
with all applicable IT policies and procedures.                Individuals not employed by the Company are
                                                               prohibited from soliciting funds or signatures,
Limitations                                                    conducting membership drives, distributing
                                                               literature or gifts, offering to sell merchandise or
Nothing in this Policy will be interpreted to
                                                               services (except as previously approved by the
limit or interfere with associates’ rights under
                                                               Company for philanthropic or charitable purposes),
Section 7 of the National Labor Relations Act. For
                                                               or engaging in any other solicitation, distribution or
example, this policy is not intended to prohibit
                                                               similar activity on Company premises at any time.


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The Company may authorize a limited number of                   All managers and supervisors are responsible for
fund drives by associates on behalf of charitable               administering this policy and enforcing the provisions.
organizations, such as United Way or OneSight,
or for associates in need. Associates are                       WORKPLACE SEARCHES AND MONITORING
encouraged to volunteer to assist in these drives               To safeguard associates, customers, and Company
but their participation is entirely voluntary.                  property on our premises, the Company reserves the
                                                                right to video monitor the workplace and to question
Managers and supervisors are prohibited from
                                                                and conduct personal searches of associates and
engaging in any solicitation or distribution of
                                                                all other persons entering and leaving Company
literature at any time, on Company premises.
                                                                premises, along with inspecting any packages,
All other associates must comply with the
                                                                parcels, purses, handbags, briefcases, lunchboxes
following requirements. For purposes of these
                                                                or any other possessions or articles carried to and
requirements, “working time” means the time
                                                                from Company premises. In addition, the Company
when the person doing the soliciting or distributing,
                                                                reserves the right to search an associate’s office,
or the person being solicited or receiving
                                                                desk, locker, files or any other area or article on
the distribution, is or should be working.
                                                                our premises. Inspections may be conducted
 • Solicitation in retail sales areas                           at any time at the discretion of the Company.
   is prohibited at all times.
                                                                Associates working on, entering or leaving Company
 • Solicitation in all other areas is prohibited                premises who refuse to cooperate in such an
   during the working time of either the                        inspection, as well as associates who after the
   associate making the solicitation or the                     inspection are believed to be in possession of stolen
   associate receiving the solicitation.                        property, may be subject to corrective action.
 • Distribution of literature or other material in sales
   areas, and in all working areas, is prohibited at            Employment Relationship
   all times. Distribution is also prohibited in non-
   selling and non-working areas (e.g., a lunchroom             EMPLOYMENT STATUS
   or recognized break areas) during working time.              An associate’s employment status is based on
                                                                the number of hours the associate is expected
 • Off-duty associates are not allowed to
                                                                to work on a regular basis. Employment status
   access the interior or work areas of Company
                                                                categories are used to determine an associate’s
   premises outside of their scheduled work
                                                                eligibility for certain benefits, among other
   hours, except as a customer of the Company
                                                                things. An associate’s scheduled hours, and thus
   or to attend a special Company meeting or
                                                                employment status, may change during the course
   event outside of their scheduled work hours.
                                                                of his/her employment as a result of personal
The Company maintains various communication                     and/or business related circumstances, and
systems to communicate Company information                      nothing in this Guide guarantees any associate a
to associates and to disseminate or post notices                certain schedule or number of hours worked.
required by law. These communication systems
                                                                Full-Time: normally and consistently scheduled
(including bulletin boards, email, voicemail, facsimile
                                                                to work 30 or more hours per week.
machines and personal computers) are Company
property designated for business purposes and                   Part-Time: normally and consistently
should not be used in any way prohibited by this                scheduled to work 20 – 29 hours per week.
policy. In particular, bulletin boards are for the
posting of Company information and notices only,                Casual Part-Time: scheduled to work fewer
and only persons designated by Human Resources or               than 20 hours per week. This includes associates
field management may place notices on or take down              who normally work a few hours each week and
material from bulletin boards. The unauthorized use             associates who only work occasionally.
of the communication systems or the distribution
or posting of notices, photographs or other                     Temporary/Seasonal: hired for a short and
materials on any Company property is prohibited.                defined period of time, regardless of the
                                                                number of hours scheduled or worked.



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Pay Classification                                             directed to perform such work by their manager.
Positions are also classified as either exempt                 However, all hours worked must be recorded,
or non-exempt based on job duties.                             regardless of (1) when and where the work was
                                                               performed; (2) the reason the work was performed;
Non-Exempt: associates are generally paid on                   (3) whether or not the time was authorized by the
an hourly basis, are eligible to receive overtime              manager; and/or (4) whether or not the hours
pay, and are required to report all hours worked.              were captured in the timekeeping system.

Exempt: associates are paid a pre-determined                   Misreporting time worked (by either a manager
weekly or bi-weekly base salary, regardless                    or non-management associate) is considered a
of hours scheduled or worked, and are                          serious integrity issue for which corrective action
not eligible to receive overtime pay.                          will be issued. This includes, but is not limited
                                                               to, incorrectly reporting or failing to report hours
WAGE PAYMENT                                                   worked, instructing or encouraging a non-exempt
It is the policy of the Company to:                            associate to work “off the clock”, improperly altering
                                                               another associate’s time records, or instructing or
 • Pay associates all compensation to which                    encouraging an associate to do any of the above.
   they are entitled for work performed, in                    All known or suspected incidents of such conduct
   compliance with applicable laws;                            should be reported to a manager, HR Business
 • Provide associates all meal and rest                        Partner, HR Solutions Group at 1-866-431-8484 or
   breaks required by law; and                                 HRSolutions@LuxotticaRetail.com, or anonymously
                                                               to NetClaims at 1-888-88-SEE-IT (1-888-887-3348).
 • Respond to associate complaints regarding
   payment of wages, time reporting, breaks, etc.              When an associate receives his/her paycheck, it
   in a timely manner. In doing so, the Company                is his/her responsibility to verify immediately that
   prohibits any form of retaliation against associates        his/her working time was recorded accurately and
   who bring such concerns to its attention.                   that he/she was paid correctly for all hours worked.
                                                               Associates who forget to clock in/out, inaccurately
This foregoing describes some of the basic rules               record their time, or discover paycheck errors are
concerning the Company’s timekeeping and payroll               expected to notify their manager immediately.
procedures, as well as the steps associates should
follow to ensure that they are paid properly for all           Overtime
time worked. Additional policies or procedures
                                                               Non-exempt associates are entitled to be paid
not stated in this Guide may be obtained by
                                                               overtime pay at one and a half times their regular
contacting the associate’s manager, HR Business
                                                               rate of pay for all time worked over 40 hours in a work
Partner, or the HR Solutions Group at 1-866-431-
                                                               week, unless state law requires otherwise. Overtime
8484 or HRSolutions@LuxotticaRetail.com.
                                                               pay is based on the number of actual hours worked.
                                                               Other hours paid but not worked such as Paid Time
NON-EXEMPT ASSOCIATES
                                                               Off (PTO), reporting time, holidays, bereavement,
                                                               short-term disability, paid volunteer time, military
Reporting Hours Worked
                                                               duty or jury duty are not considered “hours worked”
It is the policy of the Company to ensure that                 when calculating the hours that will result in overtime.
associates are timely and correctly paid. Non-
exempt associates must accurately record the                   Managers must approve all overtime hours
time they work each day. This includes accurately              before an associate begins working them. While
recording his/her arrival, departure, meal period              associates will be paid for all overtime hours
times, and time for all work that the associate                worked, regardless of whether it was previously
performs before or after a scheduled shift, in the             approved, working overtime hours without prior
timekeeping system used at the work location.                  management approval will be considered a
                                                               performance issue and may result in corrective action.
Off-the-clock work is not permitted. Non-exempt
associates should not start work early, finish work            Travel and Commuting Pay
late, work during a meal break, or perform any extra
                                                               When the Company requires a non-exempt
or overtime work, including sending and receiving
                                                               associate to travel for Company business the
work-related email and text messages, unless

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travel time will generally be considered paid time.           • Partial or full day leaves of absence taken
Any paid travel time will be considered hours                   pursuant to the Family and Medical Leave Act;
worked for the purpose of calculating a non-
                                                              • To offset amounts received as payment for
exempt associate’s overtime. While traveling, a
                                                                jury and witness fees or military pay;
non-exempt associate will be paid for any time
during which the associate is performing work.                • Time not worked during the first and
                                                                last weeks of employment;
Normal commute time is not paid time.
However, additional time spent commuting to                   • Any full work week in which the
a different job site, or traveling between job                  associate did not perform any work.
sites during the workday, is paid time. Likewise,
                                                             Full day absences for personal reasons, sickness
time spent doing Company business before or
                                                             or disability will be charged against an exempt
after the associate’s shift is also paid time.
                                                             associate’s PTO bank unless that bank is exhausted
Certain states may have travel or commuting                  or the exempt associate requests otherwise.
pay laws that are different from this policy, and
                                                             An associate’s salary may also be reduced for
associates are encouraged to contact their
                                                             certain types of deductions such as an associate’s
HR Business Partner for any variations.
                                                             portion of health, dental or life insurance premiums;
                                                             state, federal or local taxes; Social Security; or
EXPENSE REIMBURSEMENT
                                                             voluntary contributions to a retirement plan.
All associates (non-exempt and exempt) are
entitled to reimbursement for expenses they incur            PAYROLL DEDUCTIONS*
while conducting Company business, even if the
                                                             To the extent permitted by federal and state law,
associate is not traveling during the time of the
                                                             by signing the Associate Guide Acknowledgment
expenditure. As long as the expenditure is for
                                                             found at the end of this Guide, you hereby
the benefit of the Company, the associate will be
                                                             authorize Luxottica, or its designated third party
reimbursed. Expenses may include, but are not
                                                             payroll administrator, to deduct money from
limited to, cost of cell phone calls, text messaging,
                                                             your wages, including your final paycheck upon
mileage when traveling locally for business, and
                                                             termination, for any of the following reasons:
office supplies purchased for the business location.
                                                              1. Your share of the premiums for Luxottica’s
EXEMPT ASSOCIATES                                                group medical/dental plan;
Exempt associates generally receive a predetermined           2. Any contributions you may make into a
weekly or bi-weekly base salary as compensation                  retirement or pension plan sponsored,
for all hours worked in a workweek, regardless                   controlled, or managed by Luxottica;
of whether the associate works more or less
than forty hours in that workweek. Depending                  3. Any overpayment of wages or
on the associate’s position, he/she may also be                  expenses for any reason;
eligible for additional compensation. An exempt               4. Any loans or wage advances
associate’s base salary will be established at                   given to you by Luxottica;
the time of hire or when the associate becomes
classified as an exempt associate. Base salaries              5. Repayment of tuition paid by Luxottica if
are subject to review and may be changed from                    you voluntarily separate from the Company
time to time, at the Company’s discretion.                       before the end of the time period stipulated
                                                                 in your tuition repayment agreement;
The weekly base salary of an exempt associate will
                                                              6. The cost of repairing or replacing any Company
not be reduced for any week in which the associate
                                                                 supplies, materials, equipment, money, or
performs work, subject to the following exceptions:
                                                                 other property that you may damage (other
 • Full-day absences for personal                                than normal wear and tear), lose, fail to return,
   reasons, sickness or disability;                              or take without appropriate authorization
                                                                 from Luxottica during your employment;**
 • Unpaid disciplinary suspensions of
   one or more full days for violations of a                  7. Administrative fees in connection with
   safety or workplace conduct rule;                             court-ordered garnishments or legally-

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     required wage attachments of your pay,                                   Benefits section in this Guide for more information
     limited in extent to the amount or amounts                               about the Members Trust Federal Credit Union.
     allowed under applicable laws; and
                                                                              The use of the Company direct deposit option is
 8. The value of any PTO that you use before it is                            voluntary. Please see instructions provided at time of
    accrued, upon either a change to part-time                                hire for information on how to set up direct deposit.
    status or your termination of employment.
                                                                              WORK SCHEDULES
Colorado and North Carolina associates only:
associates in these states may revoke this agreement                          The Company schedules associate work time in
at any time by contacting the HR Solutions Group at                           accordance with operational needs. Although
1-866-431-8484 or HRSolutions@LuxotticaRetail.com.                            associate preferences may be considered
                                                                              when feasible, operational needs will always
 *This section does not apply to associates working in AK, CA, IL, IN,        take precedence. At times, business needs
  MD, MI, MN, NH, NV, NY, OK, OR, PA, PR, RI, VA, WA, WI, or WV.              and operational requirements may require
                                                                              last-minute scheduling adjustments.
**Paragraph 6 does not apply to associates working in AR, DC, DE,
  HI, IA, KS, KY, MA, ME, NJ, OH, UT, or VT.                                   • The work week begins each Sunday at
                                                                                 12am (midnight).
REPORTING PAYROLL ERRORS AND QUESTIONS                                         • Associates are responsible for obtaining
The Company works hard to ensure that all associates                             and adhering to their work schedules.
are paid correctly, but mistakes can happen. When
                                                                               • Managers will give advance notice of a
the Company learns of mistakes we will promptly
                                                                                 change in the associate’s work schedule,
make any corrections necessary. Please review each
                                                                                 unless unforeseeable circumstances
paycheck and pay stub received to make sure your
                                                                                 prevent him/her from doing so.
pay is correct. If an associate believes that his/her pay
does not accurately reflect hours worked, or contains                          • Managers have the right to require
any improper deductions, or if the associate has any                             an associate to clock out earlier than
questions about his/her paycheck or pay stub, the                                scheduled depending upon the needs of
associate should promptly report the matter to his/                              the business in compliance with local law.
her manager, HR Business Partner or contact the HR
                                                                               • Under normal circumstances, an associate
Solutions Group at 1-866-431-8484. He/she can also
                                                                                 will not be scheduled to report to work
email HRSolutions@LuxotticaRetail.com or call the
                                                                                 with less than eight hours off after the
NetClaims line at 1-888-88-SEE-IT (1-888-887-3348).
                                                                                 completion of a prior work period.
Every report of improper pay will be investigated,
and the Company will ensure that an associate                                 ATTENDANCE
promptly receives the pay to which he/she is                                  Associates are expected to be at their work area ready
entitled. The Company will not permit any form                                to begin work at their scheduled time. Unscheduled
of retaliation against individuals who make good                              absences and tardiness place an unfair burden
faith reports of alleged violations of this policy, or                        on the business and co-workers. All unscheduled
who cooperate in the Company’s investigation of                               absences and tardiness are monitored and recorded,
such reports, even if the reports do not reveal any                           regardless of the reason. Managers will track excessive
errors or wrongdoing. Any form of retaliation in                              absenteeism and/or tardiness and the appropriate
violation of this policy will result in corrective action.                    corrective action may be issued. For questions and
                                                                              guidance on attendance related issues, refer to your
DIRECT DEPOSIT                                                                brand/location’s attendance policy. You can also call the
Associates may elect to have some or all of their                             HR Solutions Group for assistance at 1-866-431-8484, or
pay deposited into their bank account by direct                               email HRSolutions@LuxotticaRetail.com.
deposit, up to a maximum of eight accounts.
                                                                              If an associate knows he/she cannot make it in to work
The direct deposit accounts do not need to be
                                                                              or will be late, the associate must call his/her manager,
at the same bank and associates may choose
                                                                              or the manager on duty, as soon as possible, but
Members Trust Federal Credit Union as one of
                                                                              at least one hour prior to his/her scheduled start
their direct deposit locations. Please see the
                                                                              time. The call must come from the associate, unless


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emergency circumstances prevent the associate                       notice and call-in procedures. Failure to call
from doing so. Text messaging is not an acceptable                  in may result in an unexcused absence.
form of communication to the manager, nor is a
call to anyone but the associate’s manager or the               The Company will comply with all applicable state
manager on duty. Failure to notify management in                and local laws pertaining to emergency closings
accordance with this policy may be considered an                and, to the extent this policy conflicts with any state
unscheduled absence or tardiness, and may result in             or local law, such law will supercede this policy.
corrective action. Absences or tardiness that results
in a late store opening may result in corrective action.        MEAL PERIODS AND REST BREAKS
                                                                All associates are expected to take
Paid Time Off (PTO) may be deducted for tardiness               scheduled meal periods and rest breaks.
at the discretion of the associate’s manager.
Only scheduled and pre-approved PTO hours/                      Scheduling of meal periods and rest breaks is
days and absences that qualify as a Leave of                    somewhat flexible; however, meal periods cannot
Absence (LOA) will be regarded as excused.                      be combined with other paid breaks. Additionally,
                                                                meal periods and rest breaks should be scheduled
Absence from work for two consecutively scheduled               no sooner than one hour after the start and no
workdays without notification and/or leaving the                later than one hour before the end of a scheduled
work site prior to the end of the scheduled workday             shift, and should not be scheduled back-to-back.
without manager approval is “job abandonment” and               Associates must remember to notify their manager
will be considered a voluntary resignation. In both             and/or another authorized associate before leaving
instances, the associate will be ineligible for rehire.         the workplace for meal periods and rest breaks.
                                                                Associates working in a location with single coverage
ATTENDANCE AND PAY DURING                                       staffing may be permitted to take their meal periods
EMERGENCY CLOSINGS                                              and rest breaks as paid, on-duty breaks in the store.
If an associate’s workplace cannot open for
business and/or is unable to provide work to the                Meal period and rest break policies vary under state
associate because of an emergency that causes a                 laws and by brand. The following guidelines apply
temporary store, kiosk or facility closing, associates          to the associate’s work location, unless a state law
will receive full pay for the hours they were                   governing the associate’s work location is more
scheduled to work, at the associate’s regular hourly            generous. For information and guidance regarding
rate, if one of the following conditions is met:                state specific meal period and rest break requirements,
                                                                contact your manager or the HR Solutions Group at
 1. The associate reported to work at                           1-866-433-8484 or HRSolutions@LuxotticaRetail.com.
    their scheduled starting time.                              For California meal period and rest break requirements,
 2. The Company was unable to provide the                       please see the California Addendum found in this
    associate with at least 12 hours advance notice             Guide.
    of the store/facility’s closing. Notice of 12 hours
    or more constitutes a “schedule change” and no              Meal Periods
    pay is due, even if the associate reported to work.         Associates who work six or more hours will receive
                                                                one 30-minute, unpaid meal period (unless state law
If an associate’s workplace closes during the day,              mandates a more generous meal period). Associates
any associate working at the time of closure will               must clock out at the beginning of their meal period,
be paid for scheduled hours. If the workplace is                and clock in when they return. Meal periods should
open for business, but the associate is unable to               be taken away from customer service areas (i.e.,
report to work because of a natural emergency (a                in a store break room or off premises), although
natural emergency is defined as an Act of God, out              exceptions may apply for single coverage locations.
of control of the associate or the Company), the
associate can elect to do one of the following:                 Rest Breaks
 1. Deduct the time missed from PTO, if available.              Unless state law mandates more generous rest
                                                                breaks, the following rest break guidelines apply:
 2. Take the time as an unpaid excused absence,
    as long as the associate followed proper                     • Associates who work fewer than four
                                                                   hours are not entitled to a rest break.


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 • Associates who work four or more hours,                  2. Change unacceptable behavior/performance; and
   but fewer than eight hours, should take
                                                            3. Provide documentation on behavior/
   one 15-minute paid rest break.
                                                               performance issues for future reference.
 • Associates who work eight hours, but
   fewer than 10 hours, should take                        There are several tools that a manager may use to
   two 15-minute paid rest breaks.                         address unacceptable behavior or performance.
                                                           These tools are intended to be flexible and
 • Associates who work 10 or more hours should             used by management as deemed appropriate
   take three 15-minute paid rest breaks.                  to the circumstances. They are not intended to
                                                           be a rigid set of steps that must be followed
TRANSFERS                                                  in every situation or in any particular order. It
To be eligible for a voluntary transfer (i.e.,             is up to management to determine how and
associate initiates transfer request) between              when these tools will be used. They include:
work locations or departments, associates
                                                            • Informal coaching.
must meet all of the following criteria:
                                                            • Corrective action discussion,
 • Have been in his/her position for
                                                              documented in the associate’s file.
   a minimum of 12 months.
                                                            • Performance Improvement and/or Action
 • Meet the minimum requirements of the
                                                              Plans, which provide detailed guidance
   position as indicated on the job description.
                                                              on areas in which an associate must
 • Have a satisfactory employment record as                   improve performance or behavior.
   indicated by the most recent performance review.
                                                            • Corrective Action Record (CAR). The CAR
 • Have no corrective action on file for the                  is a more formal discussion with a written
   preceding 12 months of employment.                         document that outlines the unacceptable
                                                              performance and/or behavioral issues and the
 • Business needs dictate need for transfer.
                                                              expectations of the associate going forward.
Exceptions may be made on a case by case basis              • Termination.
based on operational needs. The Company
reserves the right to involuntarily transfer               The Company may use whatever corrective action
associates based on operational needs.                     method it believes will effectively address the
                                                           particular performance and/or behavior issue
PERFORMANCE MANAGEMENT                                     or policy violation. Some behaviors, actions or
Ongoing performance feedback is an important               violations may warrant immediate termination of
element in assisting associates to improve                 employment without any prior corrective action.
their performance, develop their careers and               The following are examples of the types of conduct
achieve success with the Company. Managers                 (“Principles of Conduct”) that may warrant immediate
should regularly provide direction to associates           termination, though the list is not all-inclusive:
in order to help them meet the performance                  • Violation of the Code of Ethics or any
and behavior expectations of the Company.                     violation of Company policy or procedure.
This may involve positive and constructive
feedback, as well as discussions that provide               • Sexual or other harassment or discrimination
the associate with specific actions the associate             of co-workers, customers or others
is expected to take, in order to improve                      in violation of Company policy.
performance or correct unacceptable behavior.               • Acts of retaliation in violation of
                                                              the law or Company policies.
As part of ongoing performance management,
managers may, at times, utilize the Company’s               • Off-duty conduct that is illegal or discredits
Corrective Action Process. The Corrective Action              the Company, except as prohibited by law.
Process is designed to accomplish three objectives:
                                                            • Fighting, actual or attempted bodily
 1. Hold associates accountable for                           injury, menacing or threatening language
    unacceptable behavior/performance;                        or actions, profanity, or patently offensive,
                                                              immoral or indecent conduct.

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  • Insubordination, including defiance of a                                    • Solicitation during working times or, where
    superior, or intentional failure to perform                                   appropriate, in sales areas, or distribution
    assigned work or follow work rules.                                           of literature in sales or working areas,
                                                                                  in violation of Company policy.
  • Falsification or unauthorized alteration
    of Company records or documents.                                            • Sleeping on the job.
  • Dishonesty.                                                                 • Unauthorized application of sales discounts.
  • Failure to properly record working time.                                    • Failure to cooperate with an investigation,
                                                                                  except where a Company investigator informs
  • Abuse of meal periods or rest breaks.
                                                                                  you that your cooperation is voluntary.
  • Working unauthorized overtime.
                                                                                • Clocking in/out for another associate or signing
  • Allowing non-associates unauthorized entry                                    another associate’s time card/documents.
    into secured areas of a store or kiosk.
                                                                                • Failure to observe safety or security rules.
  • Abuse, misuse, or destruction of
                                                                                • Continued poor performance.
    Company or customer property.
                                                                                • Any other conduct deemed
  • Theft, unauthorized removal, or unauthorized use
                                                                                  unacceptable by the Company.
    of Company, co-worker or customer property.
  • Divulging confidential Company,                                            Managers and supervisors may be disciplined
    associate, or customer information.                                        for any conduct deemed inappropriate
                                                                               or unacceptable by the Company.
  • Possession, storage, and use of firearms,
    ammunition, and other dangerous items that                                 This policy will not be construed or applied in a
    may be considered a weapon on Company                                      manner that improperly interferes with associates’
    property (unless a state law exception applies).                           rights under the National Labor Relations Act.
  • Possession, using, or being under the
                                                                               TERMINATION OF EMPLOYMENT
    influence of any illegal substance or alcohol
    while on Company property (limited
                                                                               Termination of employment may be
    consumption of alcohol at designated
                                                                               either voluntary or involuntary:
    Company sponsored events excluded).
                                                                                • Voluntary Termination: an associate may
  • Recording (by audio or video) of the
                                                                                  terminate employment by resigning, by
    workplace, including but not limited to
                                                                                  retiring, or through job abandonment.
    proprietary information***, associates, or
    customers, unless authorized by the                                        		Job Abandonment occurs when an associate
    Company’s Chief Information Officer.                                         does not appear for work for two consecutively
                                                                                 scheduled workdays without notification or leaves
                                                                                 the work site prior to the end of the scheduled
*** In this guide Proprietary Information does not include information           workday without manager approval. In both
   lawfully acquired by a non-management employee of the                         instances, the associate will be ineligible for rehire.
   Company about wages, hours or other terms and conditions
   of employment when used for purposes protected by §7 of the                  • Involuntary Termination: the Company
   National Labor Relations Act such as joining or forming a union,               may terminate an associate’s employment
   engaging in collective bargaining, or engaging in other concerted              for unsatisfactory performance, violations of
   activity for mutual aid or protection of laborers. Moreover, nothing           Company policy, lack of work, job eliminations,
   herein will be construed to prohibit a disclosure that is required             or any other lawful reason it deems appropriate.
   by law or to prohibit an associate from making a report to a
                                                                               Severance pay and benefits may be available to
   duly authorized law enforcement agency that is protected by
                                                                               associates whose employment is terminated as
   law; provided, however, that to the extent permitted by law the
                                                                               a result of certain job eliminations or layoffs.
   associate will give Luxottica as much advance notice as is possible
   before such a disclosure (presumably five business days or more)
   so that Luxottica may take legally permitted steps to protect the
   Proprietary Information.


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Eligibility for Rehire                                         Associates may visit www.TheWorkNumber.com
Associates who terminate employment voluntarily                to obtain proof of employment or income.
or involuntarily may be ineligible for rehire
                                                               Any manager who receives a request for a
based on the reason(s) for termination.
                                                               reference, including online requests via LinkedIn
Questions about rehire eligibility may be directed             or any other social or professional networking
to the HR Solutions Group at 1-866-431-8484                    website, should direct the individual to
or HRSolutions@LuxotticaRetail.com.                            www.theworknumber.com or 1-800-367-5690,
                                                               Lux Code #11567. Under no circumstances will
RESIGNATION                                                    positive or negative comments be made about
                                                               an associate’s past performance or reason
If an associate resigns, he/she is expected to give the
                                                               for leaving.
Company two weeks’ advance written notice. Failure
to provide two weeks’ advance notice of resignation            Managers and supervisors must refer any
may result in ineligibility for rehire in the future.          further requests by prospective employers,
                                                               recruiters, credit bureaus, etc., to the HR
RETURN OF PROPERTY, FINAL PAY, AND                             Solutions Group by calling 1-866-431-8484 or
POST-EMPLOYMENT BENEFITS                                       emailing HRSolutions@LuxotticaRetail.com.
On or before the associate’s last day of work, all
Company owned property in the associate’s                      Work Environment
possession must be returned to the Company. This
includes, but is not limited to: associate ID cards,           SAFETY, HEALTH AND ENVIRONMENTAL
keys, laptop computers, cell phones and mobile                 The Company is committed to providing a safe,
devices, and any other Company property.                       healthy and environmentally responsible workplace.
                                                               To help the Company accomplish that goal, all
Associates should consult their manager regarding
                                                               associates are required to learn and adhere to
final pay arrangements and the termination of
                                                               established health and safety policies, procedures
the associate’s benefits. The Company will send
                                                               and guidelines. Potential workplace hazards must
all applicable paperwork to the associate’s last
                                                               be reported to management immediately, and
current address on file, approximately two to three
                                                               work-related incidents, injuries and illnesses
weeks after his/her last day of work. Final pay will
                                                               must be reported promptly and accurately.
be paid on the next scheduled payday following
termination, except where otherwise required
                                                               OCCUPATIONAL INCIDENTS,
by law. Paid Time Off (PTO) will be paid out to
                                                               INJURIES, AND ILLNESSES
terminated associates in their final paycheck or in
a separate paycheck following their final paycheck,            The Company takes work-related incidents, injuries
depending on the state where the associate works.              and illnesses seriously. Regardless of the severity, all
                                                               work-related incidents, injuries and illnesses must
PERSONNEL FILES                                                be reported to the manager for both the associate’s
                                                               protection and for the purpose of complying with
Personnel files are the property of the Company
                                                               applicable law. Associates must obtain from their
and are maintained confidentially, with access
                                                               manager and complete an Occupational Incident/
permitted only to those with a business need.
                                                               Injury/Illness form immediately following any work-
Current and former associates who wish to review
                                                               related incident, and it is imperative to report
their personnel file will be granted access where
                                                               any such incident, injury, or illness immediately,
required and in accordance with applicable law.
                                                               and no later than 24 hours, of its occurrence.
To request access to your personnel file, please
                                                               Associates who fail to report, or who do not
submit a written request to the HR Solutions
                                                               promptly report work-related incidents, injuries, or
Group at HRSolutions@LuxotticaRetail.com.
                                                               illnesses, may be subject to corrective action.
EMPLOYMENT VERIFICATION AND REFERENCES                         If an associate misses work due to an
The Company utilizes a third party automated service           occupational incident, injury or illness, the
that provides current and former associates with               associate must provide a written statement from
the ability to provide proof of their employment               an approved workers’ compensation health
(position held and dates of employment) or income.             care provider prior to returning to work.

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LEAVES OF ABSENCE                                                duty, or has been called to federal active
                                                                 duty status, and has been deployed to a
A leave of absence is defined as an unpaid approved              foreign country (applies to National Guard,
absence from work for the reasons specified in                   Reserves, and Regular Armed Forces).
the policies below. See each of those policies for
                                                             		Exigencies that qualify for leave include:
a more complete definition of each type of leave
of absence and the eligibility for each leave.                    • Military events and related activities
                                                                  • Childcare and school activities
Certain states and local jurisdictions may provide
                                                                  • Financial and legal arrangements
additional types of leave that are not included
in this Guide. The Company complies with all                      • Counseling
applicable leave laws. PTO, as defined in this Guide,             • Post-deployment activities
may not be used immediately prior to or after a                   • Additional activities related to the
leave of absence to extend an associate’s leave.                    active duty or call to active duty
                                                                    when agreed to by the Company
Associates who do not return to work upon their
scheduled return, or who have not received an                     • Deployment with a short notice
approved extension of leave, will be considered to                • Rest and recuperation
have voluntarily resigned from their employment.
                                                             The FMLA also provides up to 26 weeks of unpaid,
Associates with questions about leave, and                   job protected leave during a single 12-month period
use of PTO while on leave, should contact                    to eligible associates to care for a covered service
Leave Administration at 1-866-431-8484.                      member or veteran who is the associate’s spouse, son,
                                                             daughter, parent or next of kin with a serious illness
FAMILY MEDICAL LEAVE ACT (FMLA)                              or injury incurred in the line of duty as a member of
To be eligible for FMLA leave, associates must               the Armed Forces (including National Guard and
have worked for the Company for at least 12                  Reserves) and the service member or veteran:
months and have worked at least 1,250 hours                       • is undergoing medical treatment,
in the 12 months prior to taking FMLA leave.                        recuperation, or therapy;
                                                                  • is an outpatient at a military
Previous periods of employment with the
                                                                    medical treatment facility;
Company within the seven years prior to
taking FMLA leave can be counted to meet                          • is assigned to a unit established for the
the 12-month service requirement.                                   purpose of providing command and
                                                                    control of members of the Armed Forces’
FMLA Covered Events                                                 receiving medical care as outpatients; or
The FMLA provides up to 12 weeks of unpaid, job                   • is on the temporary disability retired list.
protected leave during a single 12-month period
to eligible associates for the following reasons:            Definition of Serious Health Condition
                                                             A “serious health condition” is an illness,
 • for the birth and care of a newborn
                                                             injury, impairment or physical or mental
   child of the associate;
                                                             condition that involves either:
 • for placement with the associate of a son
                                                              • An overnight stay in a medical care facility;
   or daughter for adoption or foster care;
                                                              • Continuing treatment by a health care provider
 • to care for a spouse, domestic
                                                                for a condition that either prevents an associate
   partner, son, daughter, or parent
                                                                from performing the functions of their job or
   with a serious health condition;
                                                                prevents the qualified family member from
 • to take medical leave when the associate                     participating in school or other daily activities.
   is unable to work because of a
   serious health condition; or                              Subject to certain conditions, the continuing
                                                             treatment requirement may be met by:
 • for qualifying exigencies arising out of the fact
   that the associate’s spouse, son, daughter or              • A period of incapacity of more than three
   parent is a service member on federal active                 consecutive calendar days combined with either:

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     • Two visits to a health care provider                    under the FMLA. If the associate is eligible, the notice
       within 30 days of incapacity; or                        will specify any additional information required as
     • One visit to a health care provider that results        well as the associate’s rights and responsibilities. If
       in a regimen of continuing treatment;                   the associate is not eligible, Leave Administration
                                                               will provide a reason for the ineligibility.
 • Incapacity due to pregnancy or for prenatal care;
                                                               If leave will be designated as FMLA-protected,
 • Incapacity due to a chronic condition;
                                                               the associate will be informed of the designation
 • Incapacity due to a permanent                               and the amount of leave that will be counted
   or long-term condition; or                                  against the associate’s leave entitlement. If
                                                               it is determined that the leave is not FMLA-
 • Absences to receive multiple treatments
                                                               protected, the associate will be notified.
   for restorative surgery or a condition that
   would likely result in a period of incapacity
                                                               Scheduling FMLA Leave
   in the absence of medical treatment.
                                                               Associates must make reasonable efforts to
Definition of 12-Month Period                                  schedule leave for planned medical treatment
                                                               so as not to unduly disrupt the Company’s
In order to calculate the amount of FMLA leave
                                                               operations. An associate is not required to take
to which an associate may be entitled during
                                                               FMLA leave in one block. Leave may be taken
a 12-month period, the Company will review
                                                               intermittently or on a reduced schedule when
the amount of FMLA leave, if any, taken by
                                                               medically necessary and properly documented. The
the associate in the 12 months immediately
                                                               Company reserves the right to temporarily transfer
preceding the first date of the FMLA leave.
                                                               associates on intermittent or reduced schedule
                                                               leave to positions that permit them to take such
Requesting FMLA Leave
                                                               leave with limited disruptions to operations.
Associates must provide 30 days advance notice
of the need to take FMLA leave when the need is                If an associate on intermittent or reduced schedule
foreseeable. When 30 days’ notice is not possible,             leave is unable to work mandatory overtime because
the associate must provide notice as soon as                   of the leave, the missed mandatory overtime hours
practicable and must comply with normal call-                  may be counted against the associate’s FMLA leave
in procedures. Associates must also inform the                 entitlement. Missed voluntary overtime hours will not
Company if the requested leave is for a reason for             be counted against the associate’s leave entitlement.
which FMLA leave was previously taken or certified.
                                                               Pay and Benefits During FMLA Leave
Associates who request FMLA leave are required
                                                               FMLA leave is an unpaid leave. However, associates
to provide the appropriate Department of Labor
                                                               may be eligible to receive benefits through
Certification form(s) that correlates with the type
                                                               State-sponsored or Company-sponsored wage-
of leave requested. Forms may be obtained by
                                                               replacement benefit programs. Associates may also
contacting Leave Administration at 1-866-431-8484.
                                                               choose to use their accrued, unused PTO while taking
Failure to provide the proper FMLA Certification
                                                               FMLA leave. In order to use PTO while on FMLA leave,
Form in a timely manner, not more than 15 days
                                                               associates must comply with Company PTO policies.
from a Company request for certification, may
                                                               PTO used during an FMLA leave runs concurrently
result in the delay or denial of leave and/or
                                                               with the FMLA leave. Associates with questions
benefits, denial of reinstatement or termination
                                                               about use of PTO while on FMLA leave should
of employment for unauthorized absence.
                                                               contact Leave Administration at 1-866-431-8484.
The Company reserves the right to request
                                                               During FMLA leave, an associate’s health coverage
periodic recertification and/or a second
                                                               under any group health plan will be maintained under
or third medical opinion to determine the
                                                               the same terms as if the associate had continued to
necessity of the leave, as permitted by law.
                                                               work. Associates must pay their share of insurance
                                                               premiums while on FMLA leave and will be notified
Employer Responsibilities
                                                               of how and when to make those payments. If an
Leave Administration will inform associates                    associate is eligible for and receiving short term
requesting leave whether they are eligible for leave           disability pay from the Company’s disability insurance

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carrier, the associate’s insurance premiums will be            workers and management when they depart for
deducted from this pay. If an associate is not eligible        service and when they resume their civilian careers.
for or not receiving short term disability pay, he/
she will receive an invoice for their portion of the           Associates who are absent from work due to
insurance premiums. This invoice must be paid in               service in the uniformed services will be granted
order for benefits to continue. If the associate does          military leaves of absence as, and to the extent
not receive an invoice, adjustment premiums will               required by the Uniformed Services Employment
be deducted from future paychecks once he/she                  and Reemployment Rights Act (“USERRA”) and any
returns to active status. If the Company terminates            other applicable state law. To obtain such military
the associate’s health coverage due to the associate’s         leave, associates must notify the Company of their
failure to make premium payments, the Company                  need for leave verbally or in writing unless military
will provide written notice to the associate 15 days           necessity prevents the giving of notice, or the giving
in advance of the coverage termination date.                   of notice is otherwise impossible or unreasonable.

Use of FMLA leave will not result in the loss                  Unless otherwise required by law, an associate’s
of any employment benefit that accrued                         benefits will be continued for a maximum of 30 days
prior to the start of an associate’s leave.                    from the associate’s first day of leave. Thereafter,
                                                               associates shall be offered the opportunity to
Return From FMLA Leave                                         elect to continue their benefit coverage up to 24
                                                               months at their own expense pursuant to COBRA.
Prior to returning to work, associates on FMLA
leave must provide a release to return to work
                                                               Paid Leave Up To 15 Days
from their health care provider supporting the
associate’s ability to return to work, including the           In addition, all hourly and salaried full-time and
ability to perform their essential job functions               regular part-time associates who are absent from
with or without a reasonable accommodation.                    work due to service in the military are also eligible
                                                               for up to 15 calendar days of paid military leave each
Under most circumstances, associates who return to             calendar year. Full-time associates shall receive eight
work following FMLA leave will be reinstated to the            hours of pay for each day and part-time associates
same position held at the time of the leave or to an           shall receive four hours of pay for each day. Any
equivalent position with equivalent pay, benefits, and         military leave of absence beyond these 15 calendar
other employment terms and conditions. However,                days will be unpaid, unless otherwise required by law.
associates have no greater right to reinstatement
than if they had been continuously employed                    To be placed on paid military leave, an associate must
(rather than on leave). For example, if an associate           provide his/her manager with a written request along
would have been laid off had he/she not gone on                with the official military orders with the beginning and
leave, or if his/her position has been eliminated              end date of active duty. An associate’s health benefits
during the leave, then he/she will not be entitled to          will remain the same during the leave of absence
reinstatement. Further, certain “key” associates of            and his/her portion of benefit costs will continue
the Company might not be reinstated to their former            to be deducted from the associate’s paychecks.
position. “Key” associates will be notified of their
                                                               Upon return from approved paid military
status in writing when they apply for FMLA leave.
                                                               leave, associates must present a copy of their
Associates who do not return to work upon                      military release papers. Any pay received by
their scheduled return from FMLA, or who                       the associate from the government for military
have not received an approved extension of                     service associated with the first 15 days of
leave, will be considered to have voluntarily                  military leave shall be reimbursed to the
resigned from their employment.                                Company unless prohibited by state law.

MILITARY LEAVE                                                 COMPANY MEDICAL LEAVE
The Company recognizes that some of its associates             If an associate is not eligible for medical leave for his/
may choose, or be asked, to serve their country by             her own medical condition under the FMLA or state
joining the uniformed services. These associates               law, the associate may, at the Company’s discretion,
deserve appreciation and respect from their co-                be permitted to take an unpaid Company medical
                                                               leave of absence. Associates become eligible


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for Company medical leave after 90 consecutive              An associate will receive up to three consecutive days
calendar days of employment. For more information,          of time off with pay for the death of an immediate
contact Leave Administration at 1-866-431-8484.             family member, which includes the associate’s spouse
                                                            or domestic partner, children, parents, grandparents,
PERSONAL LEAVE                                              grandchildren and the associate’s siblings. The term
Personal leave may be granted at the discretion of          immediate family member applies to the associate’s
the Company to associates who have completed                relationships, whether they are established by
six consecutive months of service. Personal leaves          blood or marriage (e.g., in-law, step relationships).
are unpaid; however, the associate must use any
                                                            An associate will also receive up to one day of paid
available PTO concurrently with their approved
                                                            time off for the death of a non-immediate family
personal leave. A personal leave may be granted:
                                                            member, which includes the associate’s aunt, uncle,
 • For emergencies or extreme personal hardships            cousin, niece or nephew. The term non-immediate
   provided the absence does not conflict                   family member applies to the associate’s relationships,
   with departmental/store workload; or                     whether they are established by blood or marriage
                                                            (e.g., in-law, step relationships), and includes
 • When an associate needs to relocate to
                                                            second or third relatives and “great” relatives.
   another store with the Company.
                                                            If a close relationship exists other than those listed,
Personal leave of absence requests must be made
                                                            an associate may request PTO in order to attend a
in writing and approved by an associate’s manager,
                                                            funeral, memorial service, wake, etc. Approval of such
HR Business Partner, and Regional Manager/
                                                            requests is within the discretion of the Company.
Department Leader (or higher level manager) prior
to the effective date of the leave. A personal leave        The Company will comply with all applicable
of absence will not be granted to attend school             bereavement leave laws of the states in which
or to extend another type of leave of absence.              its stores and associates are located.
Generally, an unpaid personal leave of absence may
                                                            JURY DUTY LEAVE
be granted for a period of up to 30 days. Extensions
will be approved only in exceptional circumstances          Full-time and part-time associates may be eligible
in increments of 15 days, up to a maximum of 90             for paid jury duty leave. When an associate
days. PTO may not be used to extend a personal              receives a court-ordered summons, he/she must
leave beyond 90 days. The Company reserves                  notify his/her manager immediately and give
the right to cancel a personal leave of absence             him/her a copy of the jury duty summons. This
before an associate’s expected return date.                 will help the manager make the proper work and
                                                            pay arrangements for an affected associate.
If an associate fails to obtain an approved
extension of a personal leave of absence before             Full-time associates receive eight hours of
the approved leave period has lapsed, the                   pay for each day off and part-time associates
Company will assume that the associate has                  receive four hours of pay for each day off, up
voluntarily terminated his/her employment if                to a maximum of two weeks. If a full day of jury
the associate does not return to work within two            duty is not served, the associate must report
days following the end of an approved leave.                back to work. When an associate receives a
                                                            government check as reimbursement for jury
BEREAVEMENT LEAVE                                           duty, the check must be endorsed over to the
                                                            Company and forwarded immediately to the Payroll
Full-time and part-time associates are entitled
                                                            Department, unless prohibited by local law.
to paid bereavement leave for the death of an
immediate or non-immediate family member                    The Company will comply with all applicable jury
as defined below. Full-time associates receive              duty leave laws.
eight hours of pay for each day off. Part-time
associates receive four hours of pay for each day           TIME OFF TO TESTIFY AS A WITNESS
off. The Company reserves the right to require
                                                            Full-time and part-time associates may be granted
documentation of the need for bereavement leave.
                                                            unpaid time off as needed to testify as a witness
                                                            proceedings related to crimes committed against the


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associate. Associates must notify their manager as soon         any conflict between the statements in this Associate
as possible of the need for time off to attend a court          Guide and an SPD, the SPD shall govern in all cases.
proceeding. If an associate needs additional time off
as a result of a crime committed against him/her, the           The Company reserves the right to modify
associate should contact his/her manager. They can also         or terminate any benefit plan or policy
contact the HR Solutions Group by calling 1-866-431-            at any time in its sole discretion.
8484 or emailing HRSolutions@LuxotticaRetail.com. The
Company will comply with all applicable laws regarding          PAID-TIME OFF (PTO)
time off to testify as a witness.                               Rather than separate vacation time, personal time
                                                                and sick time, the Company combines each of these
TIME OFF TO VOTE                                                benefits into a single category called Paid Time Off
Associates generally should attempt to coordinate               (PTO). PTO gives associates more flexibility to use
voting time either before or after their regular                paid days off from work as the associate chooses.
work schedule. If an associate is unable to vote                PTO is available to all full-time US associates.
in an election during his/her non-working hours
through reasonable diligence, the Company may                   PTO Accrual and Use
grant up to two hours of unpaid time off to vote or             PTO is accrued each pay period based on hours
additional time if required by law. Associates must             paid and is calculated according to an associate’s
request time off to vote from their manager at least            PTO service date (the most recent start date of full-
two working days prior to the day of the election.              time employment). Associates begin to accrue and
Associates must demonstrate why they cannot vote                use PTO on the first day of full-time employment
during non-working hours. If time off is granted, the           and continue to accrue PTO every week that
Company shall determine in its sole discretion the              they are active and working. Hourly associates
hour(s) designated as time off to vote. The Company             do not accrue PTO while on a Leave of Absence
will comply with all applicable voting leave laws.              (LOA). PTO Accrual Schedules are as follows:

CALIFORNIA LEAVES OF ABSENCE                                    US Retail Stores Accrual Schedule:
California associates should refer to the addendum
in the back of their Associate Guide for additional             Length of Service     Accrual Rate    Annual Maximum
leaves that apply only to associates in California.
                                                                0 to 1 year           0.0192 hours    40 hours
                                                                                      per hour paid
ADDITIONAL LEAVES OF ABSENCE
NOT LISTED IN THIS GUIDE                                        1 year to 5 years     0.0576 hours    120 hours
As state laws or Company policies are enacted                                         per hour paid
or amended, additional types of leaves may
be available to an associate. Please check                      5 years to 10 years   0.0769 hours    160 hours
with Leave Administration at 1-866-431-8484                                           per hour paid
for any additional leave type(s) that may be
                                                                10 years or more      0.0962 hours    200 hours
available for your particular need for leave.
                                                                                      per hour paid
Associate Benefits                                              Cincinnati Service Center and Field
This section provides an overview of the Company’s              Management Accrual Schedule:
comprehensive and competitive benefit offerings. For
details on benefit options and eligibility requirements,        Length of Service     Accrual Rate    Annual Maximum
refer to specific benefit materials and the current
                                                                0 to 5 years          0.0576 hours    120 hours
Summary Plan Descriptions (SPD) provided during the
                                                                                      per hour paid
hiring process or during Annual Enrollment for health
and wellness benefits. Current SPDs can also be                 5 years to 10 years   0.0769 hours    160 hours
accessed any time through the Benefits Enrollment                                     per hour paid
website, or by contacting the Luxottica Human
Resource Service Center at 1-866-431-8484. If there is          10 years or more      0.0962 hours    200 hours
                                                                                      per hour paid


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Hourly associates’ PTO balance is shown on each                  Additional PTO Benefits
pay stub. Associates must request approval to                    State or local laws may provide additional PTO benefits,
use PTO from their immediate supervisor as far                   including paid sick and safe time leave. For questions
in advance as possible. PTO will be approved in                  and more specific details regarding these and other PTO
consideration of business operations. Failure to                 benefits, please refer to the full PTO policy on Luxottica’s
notify management when missing work constitutes                  intranet, or your brand-specific online communications
an unexcused absence and may result in corrective                channel. You can also contact the HR Solutions Group at
action even if an associate has PTO available and                1-866-431-8484 or HRSolutions@LuxotticaRetail.com.
whether or not PTO is used to cover the absence.
                                                                 HOLIDAYS
PTO taken is entered by the associate’s
manager in the payroll system during each                        Once benefit eligible, full-time and part-time
pay cycle. As with hours worked, it is the                       associates are entitled to paid holidays and Diversity
associate’s responsibility to ensure PTO taken is                Days. Holiday and Diversity Day entitlements vary
accurately reported. Salaried associates should                  based on an associate’s brand/location and years of
maintain an up-to-date record of their PTO.                      service. Please refer to your brand/location’s Annual
                                                                 Holiday Schedule for details. Casual part-time and
Borrowed PTO                                                     Seasonal associates are not eligible for holiday pay.
Unless an associate is on a LOA, he or she may be                Holidays are paid at the regular hourly wage or
permitted to borrow PTO before it has been accrued,              salary rate, unless otherwise required by state and/
creating a negative PTO balance. Effective January               or local laws. Full-time associates receive a day off
1, 2015, the maximum PTO balance an associate may                work with eight hours pay. Part-time associates
borrow is 40 hours. Associates whose PTO balance                 receive a day off work with four hours pay.
exceeds the maximum negative balance allowed
will not be eligible to take PTO until they return               To receive holiday pay, associates must work their
to below the maximum threshold. If an associate                  scheduled day before and after the scheduled
terminates Luxottica with a borrowed PTO balance,                holiday. For an absence due to illness on one or
Luxottica will withhold the borrowed PTO from the                both of these scheduled days, a doctor’s note must
associate’s final paycheck, where permitted by law.              be provided to maintain eligibility for holiday pay.

PTO Carryover and Payout                                         At locations that are closed on a holiday,
                                                                 associates will be given the day off with full pay.
Although associates are encouraged to take
time off throughout the year, associates may                     Associates who work on a holiday can take their paid
elect to carry over up to 40 hours of PTO into the               holiday anytime from 30 days prior to, or 30 days
next year. Any hours over 40 will be forfeited.                  after the actual holiday with supervisor approval.
Note: Some associates are eligible for unlimited                 Unless otherwise prohibited by state law, associates
carryover, subject to a maximum balance limit. This              may not sell back holiday hours, and will not be
applies to all full-time associates working in California        paid out any unused holiday hours if the associate
and full-time associates working in Illinois who                 terminates his or her employment with the Company.
were hired prior to January 1, 2015. If an associate
reaches the set maximum balance limit, they will stop            HEALTH & WELLNESS BENEFITS
accruing PTO until they take time off. Unused PTO
                                                                 Medical, Dental & Insurance Benefits
hours will automatically carryover to their new year
provided it does not cause the balance to exceed
                                                                 Full-Time Associates
the maximum limit. For additional information on
maximum balance limits, please refer to the full PTO             The Company is committed to providing eligible
policy that is available on Luxottica’s intranet, or your        full-time associates and their eligible dependents
brand-specific online communications channel.                    with comprehensive and quality benefits programs
                                                                 that best meet their needs. The Company’s
Accrued and unused PTO hours will be paid out to an              goal is to keep the associate share of medical
associate upon either termination or a change from               premiums as low as possible, while maintaining
full-time status to part-time or casual part-time status.        quality benefits. In fact, it is our priority to ensure



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that Luxottica’s benefits are competitive with the           at no cost to associates. Associates in New York,
companies with whom we compete for talent.                   New Jersey, Hawaii, Rhode Island and California
                                                             must apply for state disability benefits through
To receive coverage, eligible associates must                the state, in addition to applying for short term
complete enrollment before the date specified on             disability benefits offered through the Company.
the associate’s benefits website home page at www.
LuxotticaBenefits.com. Look for the Enroll Now module        Associates should contact our disability carrier
and complete enrollment by the date specified.               to apply for STD benefits. The number can be
                                                             found in the associate’s leave of absence packet,
Associates who need to enroll in or change                   on Luxottica’s intranet, or your brand-specific
benefits selections due to a Qualified Status                online communications channel, or by emailing
Change Event (birth, adoption, marriage, etc.)               BenefitsDept@luxotticaretail.com. A representative
must complete enrollment with 31 days of the                 from our disability carrier will work with the associate
date of the Qualified Status Change Event.                   to determine if he/she is eligible for STD benefits.
                                                             An associate’s health care provider will be required
Failure to complete or provide all required
                                                             to submit separate medical documentation.
enrollment information in a timely manner may delay
or impair the associate’s eligibility for benefits.          Associates are not eligible to concurrently receive
                                                             STD benefits and workers’ compensation benefits.
For full-time Benefit details refer to the Benefits
                                                             For further details on the Short Term Disability
Summary Plan Description, which can be found online
                                                             Plan, associates should refer to the Summary Plan
under the My Enrollment Resources module on our
                                                             Description, which can be found online under
benefits website at www.LuxotticaBenefits.com, or
                                                             the My Enrollment Resources module on our
contact the Luxottica Human Resource Service Center
                                                             benefits website at www.LuxotticaBenefits.com.
at 1-866-431-8484.
                                                             EMPLOYEE ASSISTANCE PROGRAM (EAP)
Part-Time and Casual Part-Time Associates
                                                             The Company offers access* to an Employee
The Company is committed to providing eligible
                                                             Assistance Program (EAP) as part of our commitment
part-time and casual part-time associates and their
                                                             to provide comprehensive, quality benefits. This
eligible dependents with comprehensive and quality
                                                             benefit is provided at no cost to associates.
benefits programs that best meet their needs.
                                                             EAP is a confidential, support and referral service
To be eligible for timely coverage, enrollment must
                                                             with resources to help you maximize productivity
be completed within 30 days of being hired as a
                                                             while balancing life’s realities and challenges,
part-time or casual part-time associate, moving
                                                             such as: child care and parenting, aging parents,
from full-time to part-time or casual part-time, or
                                                             financial and legal concerns, work, career, emotional
experiencing a Qualified Status Change Event.
                                                             well-being, addiction and recovery and more.
Failure to complete or provide all required
                                                             To access the EAP:
enrollment information in a timely manner may delay
or impair the associate’s eligibility for benefits.          U.S full-time associates: Anthem EAP,
                                                             1-800-865-1044 or www.AnthemEAP.com
For part-time and casual part-time benefit details
refer to the Benefits Summary Plan Description,              U.S. part-time associates (only if you elect
which can be found online under the My Enrollment            the SRC Medical Plan): SRC, 1-888-772-9682
Resources module on our benefits website at                  or www.src-web.com
www.LuxotticaBenefits.com or contact the Luxottica
Human Resource Service Center at 1-866-431-8484.             *Part-time associate access requires paid participation in
                                                              the SRC medical plan.
SHORT TERM DISABILITY
Short Term Disability (STD) benefits provide an              RETIREMENT
eligible full-time associate the ability to receive a
portion of his/her pay if the associate needs time           Tax Incentive Savings Plan – 401(k)
away from work for his/her own certified medical             All associates are eligible to participate in the
condition. The Company provides STD benefits                 401(k) plan as soon as administratively practicable

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(generally after the receipt of his/her first paycheck).        Benefit Plan, may redeem an annual eyewear
An associate who has reached the age of 21 and                  certificate. If redeemed by an associate’s
has worked at least 1,000 hours (both full and part-            dependent, the associate must accompany the
time) in their first year of employment or subsequent           dependent at the time of redemption. Milestone
calendar year for the Company may be eligible for               eyewear certificates may be redeemed by the
matching contributions. For details, refer to the               associate or any individual of his/her choice.
Luxottica Group Tax Incentive Savings Summary
Plan Description, which can be found online under               Proper identification is required when redeeming
the My Enrollment Resources module on our                       certificates. Certificates cannot be sold. Eyewear
benefits website at www.LuxotticaBenefits.com.                  redeemed with the eyewear certificate is not for
                                                                resale under any circumstances. Refer to the eyewear
Pension Plan                                                    certificate and related documents for additional
                                                                usage information, including redemption restrictions.
Associates hired or rehired prior to January 1, 2014
and who have worked one year with at least 1,000
                                                                Eyewear Discount
hours and are 21 years old or older are eligible
for the Luxottica Group Pension Plan (certain                   The Luxottica Associate Eyewear Discount entitles
vesting requirements apply before an associate                  associates to receive the Company’s best discounts
can receive benefits). This plan provides benefits              at Luxottica stores when purchasing prescription or
to an associate when he/she retires. The benefits               non-prescription eyewear, sun wear, and other items.
an associate receives are based on length of
                                                                Use of the associate eyewear discount is
service. Enrollment in the plan is automatic once
                                                                subject to the following restrictions:
you meet the eligibility criteria. For details, refer
to the Luxottica Group Pension Summary Plan                      • The discount may be used to purchase eyewear
Description, which can be found online under                       for yourself, immediate family members, or gifts
the My Enrollment Resources module on our                          for which you receive no reimbursement. For
benefits website at www.LuxotticaBenefits.com.                     purposes of this benefit, “immediate family”
                                                                   means family members who are allowed as
ADDITIONAL BENEFITS AND EXTRA PERKS                                a federal tax exemption by the associate.
Full-time and part-time associates are eligible                  • Reimbursement in any form cannot be accepted
to receive voluntary benefits and extra perks                      for purchases made with your discount.
as thanks for their hard work and commitment
to the Company. These additional benefits and                    • Items purchased using the discount
perks expire immediately upon an associate’s                       may not be resold for profit.
last day of employment with the Company.                         • Associates may not process their own
                                                                   transaction or the transactions of
Annual and Milestone Eyewear Certificates                          an immediate family member.
Each year on their Luxottica service anniversary,
associates receive an eyewear certificate which                 Associates who violate the discount policy
entitles them to a free pair of eyewear from a                  may be subject to corrective action.
Luxottica store. Eyewear certificates are valid for
one year from the associate’s service anniversary               Online Discount Marketplace
date. In addition, at each five-year milestone                  The online discount marketplace features easy
service anniversary (5, 10, 15, 20, 25, etc. years),            access to significant savings with top national
associates receive a second eyewear certificate.                brands. It features over 500 top vendors of goods &
                                                                services in apparel, automotive, beauty and more!
If an associate does not receive his/her certificate(s)
by the 15th of their anniversary month, he/she                  Go online to the My Discounts module on
should notify his/her Regional Manager/Department               www.LuxotticaBenefits.com for information
Leader, who should notify CompEyewear@aonhewitt.                about associate discounts at Luxottica stores
com to request a replacement certificate.                       and other merchants and service
                                                                providers nationwide.
Only an associate or the associate’s eligible
dependent, as defined by the Luxottica Group


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CRISIS ASSISTANCE PROGRAMS                                       Members Trust Federal Credit Union
As we work together every day, co-workers can                    Members Trust Federal Credit Union is a full-service
become close friends. While we are a large                       financial institution that is available to all associates
organization, we are fortunate to have a culture of              and their family members (spouse, children,
caring associates who often become part of our                   parents, etc.). A full range of deposit products is
extended family. Over and over our associates                    offered including savings accounts, free checking,
demonstrate generosity and compassion in                         certificates of deposits, IRA and more. Members
how we treat each other every day and how we                     Trust also offers a complete lending solution, which
support each other in life’s most joyful and most                includes overdraft protection loans, auto, home,
difficult moments. The Company created the                       home equity and three VISA card options.
Guardian Angel and Give A Day Programs, so
associates can help co-workers by donating money                 For details call Members Trust at 1-800-769-
or paid time off when they experience a crisis.                  8934, or visit www.memberstrust.org.

Give a Day Program                                               PROFESSIONAL DEVELOPMENT
                                                                 AND CAREER GROWTH
This program is designed to allow full-time associates
to help a co-worker with the gift of paid time off. Full-        The Company provides associates with many
time associates can donate up to two days (16 hours)             opportunities for professional growth and
of their own unused Paid Time Off (PTO) to another               development to help each associate take charge of
full-time associate who needs time away from work.               his or her career path. This includes award-winning
                                                                 online training offered to all associates through
To donate PTO to Give A Day, ask your manager for                Eye Grow, as well as tuition reimbursement and
a Donor form. Complete the form and give it to your              optician licensing. Other sources range from a
manager who will then complete a Give A Day Approval             Company lending library to classroom training
form and fax it to Payroll at 513-492-4418. If approved,         and annual leadership conferences. Luxottica
the PTO time will be donated to the co-worker. For               also offers external development assistance.
additional information or questions contact the HR
Solutions Group at 1-866-431-8484 or HRSolutions@                Tuition Reimbursement
LuxotticaRetail.com.                                             Luxottica’s Tuition Reimbursement Program
                                                                 provides financial assistance to eligible full-time
Guardian Angel Fund                                              associates who seek to improve their job-related
A Guardian Angel Fund can be established to help                 knowledge and skills through outside coursework.
an associate in need of monetary support as a result             For eligibility criteria and more information, please
of a crisis. Associates may volunteer to participate as          visit www.LuxotticaBenefits.com or call the Luxottica
they wish, including through anonymous donations.                Human Resource Service Center at 1-866-431-8484.

To financially assist a co-worker in times of crisis,            Optician Reimbursement
associates should let their manager know they’d
                                                                 Luxottica offers full and partial reimbursement
like to set up an account for donations for a co-
                                                                 of optician expenses for certain optician
worker and complete the Guardian Angel Program
                                                                 exams, development courses, continuing
Request Form for approval by their manager. The
                                                                 education, and licensing/renewal fees for
manager may contact the Members Trust Federal
                                                                 associates who meet eligibility criteria. For more
Credit Union to establish the account. The co-
                                                                 information on the Optician Reimbursement
worker in need will receive a check directly
                                                                 Program, please visit www.luxopticians.com
from the Members Trust Federal Credit Union
                                                                 or email luxopticians@luxotticaretail.com.
in the amount collected from donations.

For more information or questions on the
Guardian Angel Fund program, contact
the HR Solutions Group at 1-866-431-8484
or HRSolutions@LuxotticaRetail.com.




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                                          California Addendum


CALIFORNIA MEAL PERIODS AND REST BREAKS                       Period Agreement are entitled to take a paid, on-
California law provides for employee meal                     the-job 30-minute meal period, rather than an
periods and rest breaks. Luxottica complies                   unpaid, off-duty meal period, whenever the location
with these laws, and expects its California                   is operating with single coverage staffing. Unpaid,
managers to manage and enforce compliance.                    off-duty meal periods should still be provided,
                                                              however, for all associates not operating with single
Meal Periods                                                  coverage staffing for that shift (i.e., two or more
                                                              associates are working in the store at the same time).
While working for Luxottica, associates may not work
a period of more than five hours per day without
                                                              Rest Breaks
being provided with the opportunity to take an
uninterrupted, duty-free meal period of not less than         Hourly associates are authorized and permitted
30-minutes, except that if the total work period per          to take one paid rest break of 10 minutes (or
day of the associate is no more than six hours, the           15-minutes in accordance with Company policy)
meal period may be waived by mutual consent of                for every four hours worked, or major fraction
both Luxottica and the associate through signing of           thereof. If an associate’s total daily work time is
the Voluntary Meal Period Waiver Acknowledgment               less than three and one half hours, however, no
section of the California Time Sheet Correction               rest break is required. Rest breaks should occur
Form (or another attestation form designated by               as close to the middle of each work period as
Luxottica). Associates shall be provided with the             practical. Rest breaks may not be combined
opportunity to take this first meal period so that the        with or added to meal periods to create one
meal period begins before the end of the fifth hour           longer break time, even at the associate’s
worked (for example, an associate who begins work             request. Hourly associates do not clock out/
at 9am shall be provided with the opportunity to              in for rest breaks or otherwise record their rest
take his/her meal period by no later than 1:59pm).            breaks in the store Point of Sale (POS) system.

Further, associates may not work a period of more             Rest breaks are authorized and permitted as follows:
than 10 hours per day without being provided with
                                                                    Hours Worked             Rest Break(s)
the opportunity to take a second uninterrupted,
duty-free meal period of not less than 30-minutes,                      0 to 3.5                  0

except if the total hours worked is no more than                       3.5 to 5                   1
12 hours, the second meal period may be waived                   More than 6 and up to
                                                                                                  2
                                                                   and including 10
by mutual consent of Luxottica and the associate
                                                                 More than 10 but up
only if the first meal period was not waived, and                to and including 12
                                                                                                  3
through signing of the Voluntary Meal Period
Waiver Acknowledgment section of the California               Consequences of Non-Compliance
Time Sheet Correction Form (or another attestation
                                                              Hourly associates are entitled to be paid for all hours
form designated by Luxottica). Associates shall
                                                              worked, to be provided with the opportunity to
be provided with the opportunity to take this
                                                              take all required meal periods, and authorized and
second meal period so that the meal period
                                                              permitted to take all required rest breaks. Therefore,
begins before the end of the tenth hour worked.
                                                              it is critical that all hourly associates (including
Associates who work at locations that operate                 managers) strictly comply with this policy. Associates
with single coverage staffing all or part of the time         who are not provided with the opportunity to take
will be presented with a California On-Duty Meal              meal periods in accordance with this policy and/
Period Agreement at the time of hire. Signing this            or who are not authorized and permitted to take
agreement is voluntary and associates may decline             rest breaks in accordance with this policy should
to sign the agreement or, if an associate signs the           notify management and/or Human Resources so
agreement upon hire, may subsequently revoke                  that the matter can be remedied. If an associate
the agreement at any time (in writing). Associates            fails to comply with the meal period and rest break
who voluntarily sign the California On-Duty Meal              policy, he/she may be subject to corrective action.


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Questions and Complaints                                                               5. To care for a spouse, child, parent or next of
Associates may bring any questions regarding their                                        kin (nearest blood relative-who is an Armed
meal or rest period rights to the attention of their                                      Forces member (including the military reserves
manager or, if they prefer, the HR Solutions Group.                                       and National Guard) undergoing medical
Store Managers, Regional Managers, and Regional                                           treatment, recuperation, or therapy, is otherwise
Vice Presidents DO NOT have the authority to alter                                        in an outpatient status, or is otherwise on the
this policy. If an associate is told that he/she is not                                   temporary disability retired list-with a serious
entitled to meal periods or rest breaks as set forth                                      injury or illness incurred in the line of duty while
under this policy, the associate should contact the HR                                    on active duty that may render the individual
Solutions Group immediately at 1-866-431-8484 or                                          medically unfit to perform his or her military
HRSolutions@LuxotticaRetail.com.                                                          duties (“Military Caregiver Leave”)*****.

CALIFORNIA FAMILY AND MEDICAL LEAVE                                                  Length of Leave
This policy supplements, and should be read in                                       The maximum amount of FMLA/CFRA leave will
conjunction with, the Company Family Medical Leave                                   be 12 work weeks in any 12-month period when
Act (FMLA) policy found in the Associate Guide. To                                   the leave is taken for paragraphs one – four
the extent the FMLA policy in the Associate Guide                                    above. However, if both parents work for the
conflicts with a policy in this Addendum, California                                 Company and are eligible for leave under this
employees should follow the policy in the Addendum.                                  policy, the parents will be limited to a total of 12
                                                                                     work weeks off between the two of them when
In addition to the requirements and benefits set                                     the leave is for birth, adoption or foster care.
forth in the Company FMLA policy, California
associates are entitled to certain additional                                        The maximum amount of FMLA leave for an
leave benefits under the California Family Rights                                    associate wishing to take Military Caregiver
Act (CFRA). This Addendum highlights these                                           Leave, paragraph five above, will be a combined
additional benefits. Any leave taken under the                                       leave total of 26 work weeks in a single 12-month
CFRA will run concurrently with leave taken under                                    period. However, only 12 out of the 26 weeks
the federal FMLA, except where not permitted                                         will count as leave under CFRA assuming the
by law (e.g., during pregnancy disability leave).                                    military caregiver leave also qualifies as CFRA.

                                                                                     The Company designates the 12-month period
 Reasons for Leave
                                                                                     during which the associate may take FMLA/CFRA
 In California, FMLA/CFRA leave may be                                               leave for any qualifying reason by measuring
 used for one of the following reasons:                                              a “rolling” 12-month period backwards from the
  1. The birth, adoption, or foster care of an                                       date the associate takes any FMLA/CFRA leave.
     associate’s child within 12 months following
                                                                                     Under some circumstances, you may take FMLA/
     birth or placement of the child;
                                                                                     CFRA leave intermittently-which means taking leave
  2. An associate’s own serious health condition;                                    in blocks of time, or by reducing your normal weekly
                                                                                     or daily work schedule. Leave taken intermittently
  3. To care for an associate’s immediate family
                                                                                     may be taken in increments of one hour.
     member (spouse, registered domestic partner,
     child or parent) with a serious health condition;                               CFRA and FMLA leaves will run concurrently to the
  4. A “qualifying exigency,” as defined under the
                                         ****                                        extent allowed by law. In addition, should you exhaust
     FMLA, for military operations arising out of a                                  CFRA and/or FMLA and require additional time off,
     spouse’s, child’s, or parent’s active duty or call to                           the company will consider requests for additional
     active duty as a member of the military reserves                                discretionary leave on a case-by-case basis.
     or National Guard in support of a “contingency
     operation” declared by the U.S. Secretary of
     Defense, President or Congress, as required
     by law (“Military Emergency Leave”); or                                         ***** Military caregiver leave in California generally will only count
                                                                                       as leave under the FMLA and will not count as leave time under the
**** Leave for a “qualifying exigency” in California will only count as leave          CFRA, unless the leave independently meets the requirements of
  under the FMLA and will not count as leave time under the CFRA                       leave to care for an ill family member under the CFRA.


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CALIFORNIA PREGNANCY DISABILITY LEAVE                           to transfer. No additional position will be created
                                                                and the Company will not discharge another
Leave Entitlement                                               associate, transfer another associate with more
Any associate who is “actually disabled” by                     seniority or promote or transfer any associate
pregnancy, childbirth, or a related medical condition           who is not qualified to perform the new job.
is eligible for a pregnancy disability leave of
absence. There is no length of service requirement.             Advance Notice and Medical Certification
                                                                As a condition of a pregnancy disability leave
For purposes of this policy, you are “actually disabled”        of absence or a transfer, the associate must:
when, in the opinion of your healthcare provider, you
cannot work at all or are unable to perform any one              • Provide 30 days advance notice before the
or more of the essential functions of your job or to               leave of absence or transfer is to begin, if the
perform them without undue risk to yourself, the                   need for the leave of absence or transfer is
successful completion of your pregnancy, or to other               foreseeable, or when 30 days notice is not
persons as determined by a health care provider.                   foreseeable, as soon as practicable; and
This term also applies to certain pregnancy-related              • Provide a signed medical certification from
conditions, such as severe morning sickness or if you              your health care provider, that states that you
need to take time off for prenatal or postnatal care,              are disabled due to pregnancy or that it is
bed rest, post-partum depression, and the loss or                  medically advisable for you to be transferred
end of pregnancy (among other pregnancy-related                    to a less strenuous or hazardous position
conditions that are considered to be disabling).                   or to less strenuous or hazardous duties.

Duration of the Leave of Absence                                The Company shall respond to requests for
A pregnancy disability leave of absence will                    leave or transfer within 10 days after receipt of
last for the duration of your pregnancy-related                 such request. The Company may require you
disability as certified by your health care provider            to provide a new certification if you request
for up to four months. Leave is available for all               an extension of your leave of absence.
disabilities related to each pregnancy and does
not need to be taken in one continuous period                   Return to Work
of time. The maximum leave entitlement for part-                If you and the Company have agreed upon a definite
time or alternative scheduled associates will be                date of return from your leave of absence or transfer,
prorated in accordance with applicable law in the               you will be reinstated on that date if you notify the
event the associate takes intermittent leave.                   Company that you are able to return on that date.
                                                                If the length of the leave of absence or transfer
Leave taken under the pregnancy disability leave                has not been established, or if it differs from the
policy runs concurrently with Family and Medical                original agreement, you will be returned to work
Leave under federal law (FMLA), but not with Family             within two business days, where feasible, after you
and Medical Leave under California Law (CFRA).                  notify the Company of your readiness to return.

Transfer to Less Strenuous Position                             Before you will be allowed to return to work following
 The Company will transfer an associate                         a leave of absence or transfer, you must provide
“affected by pregnancy” to a less strenuous                     your supervisor with a certification from your health
 or hazardous position or duties if:                            care provider that you can perform safely all of the
                                                                essential duties of your position, with or without
 • She requests a transfer;                                     reasonable accommodation. If you do not provide
 • The request is based upon the certification of her           such a release prior to or upon reporting for work,
   health care provider as “medically advisable;” and           you will be sent home until a release is provided. This
                                                                time before the release is provided will be unpaid.
 • The transfer can be reasonably accommodated.
                                                                Upon submitting an acceptable health care provider
You are “affected by pregnancy” if you are                      release to return to work, you will be returned to the
pregnant or have a related medical condition, and               same or a comparable position upon the conclusion
because of pregnancy, your health care provider                 of your leave of absence or transfer. If the same
has certified that it is medically advisable for you            position is not available on your scheduled return

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date, the Company will provide you a comparable
position on your scheduled return date or within 60
calendar days of that return date. However, you will
not be entitled to any greater right to reinstatement
than if you had not taken the leave. For example, if
you would have been laid off regardless of the leave,
or you would not have been offered a comparable
position, you will not be entitled to reinstatement.
Failure to return to work at the conclusion of the leave
of absence may result in termination of employment.

Integration with Other Benefits
Pregnancy disability leaves of absence are
unpaid. You may elect to use accrued Paid Time
Off (PTO) benefits during the unpaid leave of
absence. PTO will not accrue for hourly associates
during any unpaid portion of the leave of
absence, and you will not receive pay for official
holidays that are observed during your leave
of absence except during those periods when
you are substituting PTO for unpaid leave.

Associates should apply for California State
Disability Insurance (SDI) benefits. SDI forms
are available from the Company or your health
care provider. Any SDI for which you are eligible
may be integrated with accrued PTO or other
paid time off benefits so that you do not
receive more than 100% of your regular pay.

The Company will maintain an associate’s health
insurance benefits during the associate’s pregnancy
disability leave for a period of up to four months on
the same terms as they were provided prior to the
leave time. The associate will be required to continue
to pay all required premiums and must make these
payments in compliance with Company policy on a
monthly basis during leave time (except during any
periods of time when the associate is taking PTO). In
some instances, the Company may recover premiums
it paid to maintain health insurance benefits if you
fail to return to work following a pregnancy disability
leave for reasons other than taking additional leave
afforded by law or Company policy or not returning
due to circumstances beyond your control.




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                                   Luxottica Associate Agreements


IMPORTANT NOTE TO ASSOCIATES:                                 modified only as necessary to permit its enforcement
                                                              to the maximum extent permitted by applicable law
This section contains the following agreements:               (except that the Company does not agree under any
                                                              circumstances to a modification of the Associate
 • Confidential Information and Non-
                                                              Agreements to permit a class action, representative
   Solicitation Agreement
                                                              action, or collective action to be adjudicated in an
 • Inventions Agreement                                       arbitration forum). In this event, the remainder of
                                                              this Agreement shall not be affected thereby.
 • Dispute Resolution Agreement
 • Release for Use of Likeness, Voice                         GOVERNING LAW
   and Name Agreement                                         These Associate Agreements are made and
 • Electronic Protected Health                                entered into under the laws of the State of Ohio,
   Information (ePHI) Agreement                               and shall in all respects be interpreted, enforced
                                                              and governed under the laws of Ohio, without
 These agreements (each of which is referred to               giving effect to conflicts of laws principles.
 herein as an “Agreement”) apply to all associates
 of Luxottica Retail North America, Inc. in the United        LUXOTTICA ASSOCIATE GUIDE
 States (“Luxottica”) including associates working at         ACKNOWLEDGMENT AND AGREEMENT
 LensCrafters, Pearle Vision, Sears Optical, Target           After reading the following agreements, all associates
 Optical, Sunglass Hut, Apex by Sunglass Hut, ILORI,          are required to complete their “Luxottica Associate
 Optical Shop of Aspen and EYEXAM of California,              Guide Acknowledgment and Agreement” within three
 Inc., RX Operations and Distribution, as well as any         days of their hire date, as a condition of employment.
 other employer that becomes a part of the Luxottica          Associates are permitted, however, to opt-out of
 group of companies (collectively, “the Company,”             the Dispute Resolution Agreement within 30 days
“we,” “our” or “us”). An associate Acknowledgment             of receipt. The Company’s preferred method of
 and Agreement form is provided at the end of                 completion is electronically in Eye Grow; however, a
 this section. You should read these agreements               paper completion option is available upon request by
 carefully before signing the Acknowledgment                  contacting your manager or the HR Solutions Group at
 and Agreement. Your at-will employment with                  1-866-431-8484 or HRSolutions@LuxotticaRetail.com.
 the Company, whether new or continuing, is in
 consideration of and is conditioned upon your                The “Luxottica Associate Guide Acknowledgment
 acceptance of the terms of these agreements.                 and Agreement” is located on the last page of
 Your refusal to sign the Acknowledgment and                  this Guide. Associates who complete a paper
 Agreement will result in the withdrawal of our               version of this page, rather than electronic,
 offer of employment to you if you are an applicant           should return the completed Acknowledgment
 and the termination of your employment if you                page to their manager for further processing.
 are a current associate. Associates are permitted,
 however, to opt-out of the Dispute Resolution
 Agreement found in this Guide within 30 days of
 receipt. Violation of any portion of the Agreements
 will subject the associate to corrective action, up
 to and including termination of employment.

SEVERABILITY
If any provision (or any portion of any provision) of
the Associate Agreements is held by a court to be
illegal, invalid, or unenforceable in any respect, the
Company and the associate agree that such provision
(or portion of such provision) shall be deemed to be


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                 Confidential Information and Non-Solicitation Agreement


In consideration of and as a condition of your new and         of your employment with the Company. You shall
continuing at-will employment, you agree as follows:           not disclose any Confidential Information to anyone
                                                               outside the Company without the written approval of
1. CONFIDENTIAL INFORMATION                                    an authorized representative of the Company or use
      a. You understand that, during your                      any Confidential Information for any purpose other
employment with the Company, you will acquire                  than for the benefit of the Company as required by
and be exposed to Confidential Information of                  your authorized duties for the Company. At all times
the Company. “Confidential Information” includes               during your employment with the Company, you shall
all ideas, information and materials, tangible or              comply with all of the Company’s policies, procedures,
intangible, not generally known to the public, relating        regulations or directives relating to the protection
in any manner to the business of the Company, its              and confidentiality of Confidential Information. Upon
products and services (including all trade secrets),           termination of your employment with the Company,
its officers, directors, and contractors, its clients,         (a) you shall not use Confidential Information, or
vendors and suppliers, and all others with whom                disclose Confidential Information to anyone, for any
it does business, its trade secrets, its pricing,              purpose, unless expressly requested and authorized
margins, and other financial information, that you             to do so in writing by an authorized representative
learn or acquire during your employment with the               of the Company, (b) you shall not retain or take
Company. Confidential Information includes, but                with you any Confidential Information in a Tangible
is not limited to, manuals, documents, computer                Form (defined below) (nor shall you retain any
programs and software used by the Company, all                 copies of Confidential Information), and (c) you shall
formulas or processes, users manuals, compilations             immediately deliver to the Company all Confidential
of technical, financial, legal or other data, customer         Information in a Tangible Form (or otherwise) that
and client or prospective customer and client lists,           you may then or thereafter hold or control, as well
names of suppliers or vendors, client, supplier or             as all other property, equipment, documents or
vendor contact information, customer and client                things that you were issued or otherwise received or
contact information, customer health information,              obtained during your employment with the Company.
business referral sources, specifications, designs,            Without limiting the foregoing, to the extent you
devices, inventions, processes, business or marketing          included Confidential Information in your cellular or
plans or strategies, pricing information, information          personal telephones, smartphones, tablets, personal
regarding the identity of the Company’s designs,               computers or other electronic devices, including
mock-ups, prototypes, source code, passwords,                  personal electronic mail accounts (such as investor,
and works in progress, all other research and                  customer or vendor names and contact information),
development information, forecasts, financial                  immediately upon termination of your employment,
information, and all other technical or business               you shall delete and shall not retain the Company’s
information including all trade secrets. Confidential          Confidential Information in any or all of your cellular or
Information does not include publicly available                personal telephones, smartphones, tablets, personal
information or information that is generally known             computers or other electronic devices, including
and used within the industry or industries in                  personal electronic mail accounts. “Tangible
which the Company engages in business. This                    Form” includes ideas, information or materials in
provision does not prohibit disclosing or discussing           written or graphic form, on a computer disc or other
information about the Company’s wages, hours or                medium, or otherwise stored in or available through
other working conditions that is generally known               electronic, magnetic, videotape or other form.
within the Company, but employees who have
access to the Company’s confidential records are               2. NON-SOLICITATION OF CUSTOMERS/CLIENTS
prohibited from disclosing information contained               Following the termination of your employment with
in those records. You are expected to contact your             the Company for any reason, you shall not, directly
supervisor if a question arises as to what is included.        or indirectly, use or disclose any Confidential
                                                               Information, including any trade secrets, in order to
     b. You agree to hold in trust and confidence all          solicit, induce, or attempt to solicit or induce, any
Confidential Information during and after the period           person or entity then known to be a customer or

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client of the Company (a “Restricted Customer/                     all business dealings with said persons and entities
Client”), to terminate his, her or its relationship                (the “Returned Property and Equipment”) to the
with the Company or otherwise divert their                         Company at its offices in Mason, Ohio or such other
business for any purpose or no purpose. This                       location as approved in writing by your manager
Section 2 seeks to protect the Company’s trade                     or supervisor. You are not authorized to retain
secrets and/or to prohibit you from disclosing                     any copies or duplicates of the Returned Property
or using Confidential Information; accordingly,                    and Equipment or any Confidential Information
if, during your employment, you never learned                      that you obtained or received as a result of your
nor were exposed to Confidential Information                       employment or other relationships with the Company.
regarding the identification of such customers/
clients or customer/client contact information,                    5. CONFIDENTIAL INFORMATION OF
pricing information, business development                          OTHERS/COMPLIANCE WITH LAWS
information, trade secrets, sales and marketing                    You shall not breach any lawful, enforceable
plan information, financial information or other                   agreement to keep in confidence, or to refrain from
Confidential Information, you shall not be restrained              using, the nonpublic ideas, information or materials
from such solicitation or attempted solicitation but               of a third party, including, but not limited to, a
you shall not use Confidential Information during                  former employer or present or former customer
or in connection with any such solicitation, nor                   or client. You shall not bring or disclose any such
shall you interfere with the Company’s contractual                 ideas, information or materials to the Company,
or prospective economic relationships with any                     use any such ideas, information or materials in
customer or client through unlawful means.                         connection with your employment, or induce the
                                                                   Company to use such ideas, information or materials
3. NON-SOLICITATION OF PERSONNEL                                   of others. You shall comply with all national, state,
During your employment with the Company and for                    local and other laws, regulations and ordinances.
one year thereafter, you shall not, directly or indirectly,
solicit, induce, recruit or attempt to solicit, induce or          6. PROVISIONAL JUDICIAL RELIEF
recruit, any person known to you to be an employee                 This Agreement does not prevent the Company
of the Company or any of its affiliates or who left the            from seeking provisional judicial relief, such as a
employ of the Company and/or any of its affiliates less            preliminary injunction or a temporary restraining
than six months prior (each such person, a “Company                order, in aid of, or to preserve, an arbitrator’s
Person”), to terminate his or her employment or other              jurisdiction to address the parties’ dispute under
relationship with the Company, for any reason and/                 the Dispute Resolution Agreement (see below).
or to perform work for a competitor. Nor shall you
during the same period disclose any Confidential                   7. SEVERABILITY/BLUE-PENCIL
Information about other employees to any other
                                                                   You acknowledge and agree that (a) the covenants
person, for purposes of solicitation or otherwise.
                                                                   and agreements contained herein are reasonable
The foregoing shall not be violated by general
                                                                   and valid in geographic, temporal and subject
advertising not targeted at Company employees.
                                                                   matter scope and in all other respects, and do not
                                                                   impose limitations greater than are necessary to
4. RETURN OF DOCUMENTS AND MATERIALS
                                                                   protect the goodwill, Confidential Information, and
Immediately upon the termination of your                           other business interests of the Company; (b) if any
employment or at any time prior thereto if requested               arbitrator (or a court when the Company seeks a
by the Company, you shall repay all cash advances                  provisional remedy in aid of arbitration) subsequently
and return all keys, tools, security and credit                    determines that any of such covenants or agreements,
cards, cell phones, laptops, records, documents,                   or any part thereof, is invalid or unenforceable, the
equipment, proposals, notes, lists, files, and any                 remainder of such covenants and agreements shall
and all other materials, including but not limited                 not thereby be affected and shall be given full effect
to Confidential Information, that refers, relates or               without regard to the invalid portions; (c) if any
otherwise pertains to the Company and its business,                arbitrator (or a court when the Company seeks a
including its products and services, personnel,                    provisional remedy in aid of arbitration) determines
customers or clients (actual or potential), investors              that any of the covenants and agreements, or any
(actual or potential), and/or vendors and suppliers                part thereof, is invalid or unenforceable because
(actual or potential), or any of them, and any and                 of the duration or scope of such provision, such

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arbitrator (or a court when the Company seeks a                        Inventions Agreement
provisional remedy in aid of arbitration) shall have
the power to reduce the duration or scope of such
provision, as the case may be, and, in its reduced
form, such provision shall then be enforceable to           You acknowledge and agree that all ideas, methods,
the maximum extent permitted by applicable law;             inventions, discoveries, improvements, work products,
(d) you must honor this Agreement even if you               developments, statements, opinions, photographs,
have a claim against the Company; and (e) keeping           video, film footage, data, documentation, processes
these promises will not cause you undue hardship.           or works of authorship (“Inventions”) that result
                                                            from, relate to or are suggested by your work with
8. GOVERNING LAW                                            the Company, made or conceived by you, solely or
                                                            jointly with others, during your employment, whether
This Agreement shall be construed, interpreted,
                                                            or not on Company property or utilizing Company
and governed in accordance with either (a) the
                                                            equipment shall belong exclusively to the Company.
laws of the State where you are employed, or (b)
in the event of a breach of any of the covenants            All Inventions constitutes trade secrets of the
contained in Sections one through five, the law             Company and shall be the sole property of the
of the State where such breach actually occurs,             Company or any other entity designated by the
depending on whichever choice of law shall                  Company. You hereby irrevocably convey, transfer
ensure to the maximum extent that the covenants             and assign to the Company all your right, title and
shall be enforced in accordance with the intent             interest in and to, and all claims for past and future
of the Parties as reflected in this Agreement.              infringement of, the Inventions as of their creation,
                                                            throughout the universe and all patents, copyrights,
9. NOTIFICATION TO NEW EMPLOYER                             trademarks, trade secrets, mask works, and any and
You understand that the various terms and conditions        all other proprietary rights therein, that may issue
of this Agreement shall survive and continue after          thereon in any and all countries, whether during
your employment with the Company terminates.                or subsequent to your employment, together with
Accordingly, you hereby expressly agree that the            the right to file, in your name or in the name of
Company may inform your new employer regarding              the Company (or its designee), applications for
your duties and obligations under this Agreement.           patents and equivalent rights, the right to modify
                                                            and create derivative works, the right to invoke
                                                            the benefit of any priority under any international
                                                            convention, and all rights to register and renew
                                                            same. You will, at any time during and subsequent
                                                            to your employment, make such applications, sign
                                                            such papers, take all rightful oaths, and perform
                                                            all acts as may be requested from time to time
                                                            by the Company with respect to the Inventions.

                                                            All copyrightable aspects of the Inventions are
                                                            to be considered “works made for hire” within
                                                            the meaning of the Copyright Act of 1976, as
                                                            amended (the “Act”), and the Company is to be
                                                            the “author” within the meaning of such Act for all
                                                            purposes. All such copyrightable works, as well
                                                            as all copies of such works in whatever medium
                                                            fixed or embodied, including those now known
                                                            or hereinafter devised, shall be owned exclusively
                                                            by the Company as of its creation throughout the
                                                            universe and in perpetuity, and you disclaim any
                                                            and all interest in any of such copyrightable works
                                                            and waive any right of droit morale or similar rights.




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                                   Dispute Resolution Agreement

This Dispute Resolution Agreement (sometimes                address a concern or answer a question. Managers
referred to as “Agreement”) is intended                     to whom a concern is reported through the
to provide a timely and fair procedure for                  Open Door Policy are expected to respond.
associates to resolve certain legal disputes.
                                                            Where an associate is not comfortable reporting
The Dispute Resolution Process has two steps:               a concern to his/her manager, for example
                                                            because the concern involves the associate’s
 1. Open door
                                                            manager, the associate may report his/her
 2. Arbitration                                             concern directly to his/her manager’s manager
                                                            or HR Business Partner. Another option is to
Both steps are described in more                            contact the HR Solutions Group at 1-866-431-
detail in this Agreement.                                   8484 or HRSolutions@LuxotticaRetail.com.
An associate may opt out of this Agreement within 30        Where necessary, the HR Solutions Group will
days after receiving it. (See the Opt-Out of Dispute        work with the associate and the manager to
Resolution Agreement form hereinafter provided.)            address a concern. If the associate feels that the
                                                            concern was not addressed to his/her satisfaction
The arbitration portion of this Dispute Resolution
                                                            by his/her manager(s) and/or the HR Solutions
Agreement covers virtually all legal claims arising
                                                            Group, such concern may be elevated to a HR
out of or related to your employment with
                                                            Business Partner or the Associate Relations
Luxottica (sometimes referred to as “Company”).
                                                            Center of Excellence to review details, conduct an
See the section titled, “What Is Covered By The
                                                            investigation, and attempt to resolve the issue.
Dispute Resolution Agreement?” for a listing of
the types of claims that are covered under this             While the Company will endeavor to maintain the
Agreement. The Dispute Resolution Agreement                 confidentiality of a concern reported by an associate,
does not prevent any associate from filing a                it may not be possible for the Company to do so in
claim with the Equal Employment Opportunity                 every circumstance. For example, in order to resolve
Commission (EEOC), U.S. Department of Labor,                a concern it may be necessary for the Company to
or the National Labor Relations Board (NLRB), or            conduct a workplace investigation during which
for state unemployment insurance or workers’                the details of the particular concern may need to
compensation benefits. Finally, nothing in this             be disclosed to the affected/implicated workplace
Agreement alters the at-will employment relationship        parties or witnesses. In addition, associates may be
that exists between you and the Company.                    requested to maintain confidentiality where critically
                                                            necessary to protect a witness, avoid tampering/
This Agreement is effective upon your receipt of
                                                            destruction of evidence, or to prevent a cover-up.
it. This Agreement is governed by the Federal
Arbitration Act (9 U.S.C. §§ 1-16). If you have any         Associates can use the Open Door Policy without
questions about the Dispute Resolution Agreement,           fear of retaliation. Any person who attempts
please contact the HR Solutions Group at 1-866-             to deter or deters an associate’s attempt to
431-8484 or an outside advisor of your choice.              escalate a concern, or who retaliates against an
                                                            associate in any way for using the Open Door
DISPUTE RESOLUTION AGREEMENT STEP # 1:                      Policy, will be subject to corrective action.
THE OPEN DOOR POLICY
The Company encourages associates to feel                   Associates are not required to use the Open
comfortable expressing job-related concerns                 Door Policy prior to initiating arbitration, but
and is committed to listening and responding to             associates are encouraged to do so.
such concerns. The Open Door Policy provides
an Open Door Process for an associate to bring              DISPUTE RESOLUTION AGREEMENT STEP #2:
a concern to management’s attention without                 ARBITRATION
fear of retaliation. In many cases, the associate’s         If the dispute isn’t resolved through the Open
immediate manager is the person best qualified to           Door Process, the next step is Arbitration.


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Arbitration is a way to get efficient resolution of               employment, through Luxottica’s HR Solutions Group
disputes by submitting them to an arbitrator instead              (tel. 1-866-431-8484), or by calling the American
of the ordinary process of filing a lawsuit in a court            Arbitration Association at 1-212-484-4000.
of law. You and Luxottica hire a neutral arbitrator
to resolve the dispute. In most cases, the parties                You and Luxottica will select an arbitrator and schedule
will select an arbitrator through the American                    the hearing. You and Luxottica may agree to use any
Arbitration Association (sometimes referred to                    arbitrator, whether or not the arbitrator is affiliated with
as “AAA”). More information about the AAA is                      the AAA, but in any case where the parties cannot
provided below. Arbitration is binding - that is, the             agree to a particular arbitrator, the AAA Rules will apply
arbitrator’s decision is final. Only in limited situations        to the arbitrator selection process. If for any reason the
can the arbitrator’s decision be challenged.                      AAA will not administer the arbitration, either party
                                                                  may apply to a court of competent jurisdiction with
The arbitrator is required to apply the same                      authority over the location where the arbitration will
law that would be applied if you filed a                          be conducted for appointment of a neutral arbitrator.
lawsuit. The arbitrator has specific legal
powers. For example, the arbitrator may:                          The arbitrator is to provide a written decision
                                                                  that sets forth the essential findings and
 • Receive testimony and evidence from                            conclusions on which the decision is based. The
   both parties involved in a dispute                             arbitrator’s decision is final and binding on
 • Authorize appropriate discovery, including                     the parties. Only in limited circumstances may
   depositions and subpoenas                                      the arbitrator’s decision be challenged.

 • Hear and rule on pre-hearing disputes                          What Is Covered By the Dispute
   and hold pre-hearing conferences                               Resolution Agreement?
   by telephone or in person
                                                                  The Dispute Resolution Agreement covers
 • Hear and rule on pre-hearing motions in                        Luxottica and you, regardless of your hire date,
   accordance with the Federal Rules of Civil                     unless you opt-out on the form provided herein.
   Procedure (including motions pursuant to
   Federal Rules of Civil Procedure 12 and                        Except as it otherwise provides, this Agreement
   56 but not Rule 23 (class actions))                            applies, without limitation, to disputes with any
                                                                  individual (including Luxottica’s employees, agents,
 • Make a legal, final and binding decision about                 supervisors, officers or directors) or entity (including
   the facts and the law as applied to those facts                any company affiliated with Luxottica, its parent(s)
 • Give you the same award, fees, or damages                      or subsidiaries, if any) arising out of or related to the
   that you would be entitled to if you won                       employment relationship or the termination of that
   a lawsuit in court under the particular                        relationship (including post-employment defamation
   laws alleged to have been violated                             or retaliation), trade secrets, unfair competition,
                                                                  compensation, classification, minimum wage, seating,
Arbitration is designed to be more efficient                      expense reimbursement, overtime, breaks and rest
than court. By agreeing to resolve their disputes                 periods, termination, discrimination or harassment
exclusively through binding arbitration, the                      and claims arising under the Uniform Trade Secrets
parties agree that they are waiving their rights                  Act, Civil Rights Act of 1964, Americans With
to a trial in court with a judge or jury.                         Disabilities Act, Age Discrimination in Employment
                                                                  Act, Family Medical Leave Act, Fair Labor Standards
How Does Arbitration Work?                                        Act, Employee Retirement Income Security Act (except
If the Open Door Process has not resolved a dispute               for claims for employee benefits under any benefit
to your satisfaction or you have not pursued that                 plan sponsored by the Company and (a) covered
process, the next step is to request arbitration by               by the Employee Retirement Income Security Act
writing to the American Arbitration Association                   of 1974 or (b) funded by insurance), Affordable Care
Regional Office in New York, New York. The                        Act, Genetic Information Non-Discrimination Act,
American Arbitration Association’s Employment                     state statutes or regulations addressing the same or
Arbitration Rules (“AAA Rules”) and this Dispute                  similar subject matters, and all other federal or state
Resolution Agreement will govern the proceedings.                 legal claims arising out of or relating to Employee’s
The AAA Rules are available at www.adr.org/                       employment or the termination of employment.


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The Arbitration portion of the Dispute Resolution                to preclude or excuse a party from bringing an
Agreement also is intended to cover all legal disputes           administrative claim before any agency in order to
that the Company could otherwise file in court against           fulfill the party’s obligation to exhaust administrative
you. The claims the Company potentially could                    remedies before making a claim in arbitration.
have against an associate that it agrees to submit to
binding arbitration rather than file in court include,           Disputes that may not be subject to predispute
but are not limited to, claims for misappropriation,             arbitration agreement as provided by the Dodd-
conversion, fraud, breach of fiduciary duty, breach of           Frank Wall Street Reform and Consumer Protection
the Confidentiality Agreement and breach of any other            Act (Public Law 111-203) are excluded from the
legal duties that an employee has to his or her employer.        coverage of this Agreement, as well as any disputes
                                                                 that may not be arbitrated as provided by an Act of
What Are the Limitations On How                                  Congress or lawful, enforceable Executive Order.
This Agreement Applies?
                                                                 May The Company Or I Bring a Class, Collective or
You may elect to bring an individual claim in a
                                                                 Private Attorney General Representative Action?
local small claims court provided the recovery
you seek is within the jurisdictional limits of                  This Agreement affects your ability to participate
that court and does not exceed $10,000.                          in class, collective or private attorney general
                                                                 representative action. Both the Company and you
This Agreement does not apply to litigation between              agree to bring any dispute in arbitration on an individual
you and the Company (including class action cases in             basis only, and not on a class, collective or private
which you are a putative class member) pending in a              attorney general representative basis on behalf of others.
state or federal court or in arbitration as of the date          There will be no right or authority for any dispute to be
of your receipt of this Agreement. In such instances,            brought, heard or arbitrated as a class, collective or
any prior agreement between you and Luxottica to                 private attorney general representative action or as a
arbitrate disputes shall remain in full force and effect.        member in any such class, collective or representative
                                                                 proceeding (“Class Action Waiver”). The Class Action
Any disputes about the enforceability of the Dispute             Waiver does not apply to any claim you bring in
Resolution Agreement shall be decided by a court.                arbitration as a private attorney general solely on your
                                                                 own behalf and not on behalf of others. Notwithstanding
This Agreement does not apply to claims for workers
                                                                 any other provision of this Agreement or the AAA Rules,
compensation and unemployment insurance benefits.
                                                                 disputes regarding the validity, enforceability or breach
Except as it otherwise states, nothing contained                 of the Class Action Waiver may be resolved only by a civil
in this Agreement shall be construed to prevent or               court of competent jurisdiction and not by an arbitrator.
excuse you (individually or in concert with others) or           In any case in which (1) the dispute is filed as a class,
the Company from utilizing the Company’s existing                collective or private attorney general representative
internal procedures for resolution of complaints.                action and (2) there is a final judicial determination that
                                                                 all or part of the Class Action Waiver is unenforceable,
Either you or the Company may apply to a court of                the class, collective, or representative action, to that
competent jurisdiction for temporary or preliminary              extent, must be litigated in a civil court of competent
injunctive relief in connection with an arbitrable               jurisdiction. However, the portion of the Class Action
controversy, but only upon the ground that the                   Waiver that is enforceable shall be enforced in
award to which that party may be entitled may                    arbitration. You will not be retaliated against, disciplined
be rendered ineffectual without such relief.                     or threatened with discipline as a result of your
                                                                 exercising your rights under Section 7 of the National
Regardless of any other terms of this Agreement,                 Labor Relations Act by the filing of or participation in a
a claim may be brought before and remedies                       class, collective or representative action in any forum.
awarded by an administrative agency if applicable                However, the Company may lawfully seek enforcement
law permits the agency to adjudicate the claim                   of this Agreement and the Class Action Waiver under the
notwithstanding the existence of an agreement                    Federal Arbitration Act and seek dismissal of such class
to arbitrate. Such administrative claims include                 or collective actions or claims. The Class Action Waiver
without limitation claims or charges brought before              shall be severable in any case in which the dispute is filed
the Equal Employment Opportunity Commission,                     as an individual action and severance is necessary to
Department of Labor, or the National Labor Relations             ensure that the individual action proceeds in arbitration.
Board. Nothing in this Agreement shall be deemed

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The Company expressly does not agree to arbitrate                   fee to the AAA, up to but no greater than the
any claim on a class, collective or representative basis.           amount required to file a lawsuit in your jurisdiction
                                                                    asserting the same claims. If the AAA filing fee
What is the American Arbitration Association                        is greater than that amount, the Company will
and How Does Arbitration Proceed?                                   pay the difference. Additionally, if applicable law
The AAA is a not-for-profit organization that administers           requires the Company to pay a higher share of
and provides the AAA Rules governing the arbitration                the filing fee, the Company will do so, up to the
process. The AAA revises the AAA Rules from time                    entire amount if that is what the law provides.
to time. You and the Company agree to comply                      • The Company will pay the entire fee
with the most current version of the AAA Rules.                     of the arbitrator for his or her services
 • Any request for Arbitration must be made                         and any associated costs incurred
   within the time limit established by the                         by the arbitrator or the AAA.
   applicable statute of limitations. Any disputes                • Any disputes regarding the proper
   regarding the timeliness of a request for                        apportionment of fees and costs will
   Arbitration will be decided by the arbitrator.                   be decided by the arbitrator.
 • The arbitrator will permit and resolve any                    		Your Right To Opt Out. If you do not wish to
   disputes regarding pre-arbitration discovery                    agree to this Dispute Resolution Agreement, you
   of each side’s position, documents and                          may opt-out within 30 days of your receipt of
   witnesses, as provided in the AAA Rules.                        this Agreement. Any opt-out must be through
 • The arbitrator may also hear and rule on                        written notice in one of two ways: (1) you may
   dispositive motions, such as motions to                         opt-out by completing the hard-copy “Opt-Out
   dismiss or for summary judgment.                                Of Dispute Resolution Agreement” form that
                                                                   immediately follows this Agreement, or (2) if
 • We’ll agree on a time and a place for the                       you are reviewing this Agreement electronically,
   Arbitration hearing. Luxottica’s goal is to                     you also may opt-out by selecting the checkbox
   conduct the arbitration within a reasonable                     on the last electronic screen. If you opt-out by
   distance from where you currently or last                       completing the hard-copy form, the written
   worked for Luxottica, and any disputes in this                  notice that you provide must be directed to and
   regard will be resolved by the arbitrator.                      actually received by HR Records by mail at Attn:
 • The arbitrator may award the same damages,                      HR Records, 4000 Luxottica Place, Mason, OH
   fees or other remedies as a court of law could                  45040, or by fax at 1-866-212-3663 within the
   have awarded had the proceedings been                           30-day period. Failure to opt-out within the time
   before a court instead of in arbitration.                       provided will demonstrate your intention, and
                                                                   the Company’s agreement, to be mutually bound
ATTORNEY, COSTS AND FEES                                           by this Agreement and specifically the arbitration
                                                                   provision contained herein. The Company will not
 • You have the right to have an attorney represent                take adverse action against you on account of
   you in any arbitration under the Dispute                        your electing to opt out of this Agreement. Nor
   Resolution Agreement. However, you do not                       will the Company take adverse action against
   need to have an attorney represent you.                         you on account of your choosing not to opt out
                                                                   or electing to pursue arbitration of a claim.
 • You are responsible to pay or otherwise make
   arrangements for your attorney’s fees. You are                		Except as provided regarding the Class Action
   also responsible for paying for expenses you                    Waiver, above, if any provision (or portion of that
   would have had to pay for a court case (e.g.,                   provision) of the Dispute Resolution Agreement
   expenses your side incurs for depositions, witness              is held illegal, invalid or unenforceable in any
   fees, expert witness fees, etc.). If you prevail on             respect, the Company and the associate agree
   certain claims you may be entitled to an award                  that such provision (or portion of such provision)
   of attorney’s fees and costs, as authorized by                  shall be deemed to be modified only as necessary
   applicable law and determined by the arbitrator.                to permit its enforcement to the maximum
                                                                   extent permitted by applicable law. In this
 • If you (rather than the Company) are the one who
                                                                   event, the remainder of the Dispute Resolution
   initiates arbitration, you will need to pay a filing
                                                                   Agreement shall not be affected thereby.

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                          Opt-Out of Dispute Resolution Agreement
I am exercising my right to opt-out of the Dispute Resolution Agreement that was provided to me by
Luxottica. By opting-out within the 30-day time period, I agree that I am not entitled or required to
participate in or utilize the arbitration procedures described in the Dispute Resolution Agreement. I
understand that Luxottica will not take adverse action against me because I choose to opt out.




————————————————————————————                                  DATE

                     Signature                                ww / ww / ww
————————————————————————————                                  MY LUXOTTICA I.D. N UMBER

           Associate Name (Please Print)                      wwwwww




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Release for Use of Likeness,                                       f. ensuring that all system access passwords
Voice and Name Agreement                                              are kept confidential, sufficiently
                                                                      complex and routinely changed
I hereby grant and give to the Company, its
parents, subsidiaries, affiliates, agents, and assigns            Managers responsible for ePHI data should ensure
the absolute and irrevocable right, license and                   individuals granted access to ePHI resources are
privilege to, and to permit others to, use, publish,              trained annually on ePHI handling procedures.
display, transmit, exhibit and reproduce, my name,                These managers should also review access control
statements, photograph, video, voice or other                     lists regularly to verify that only authorized
likeness, in whole or in part, on film, videotape or any          individuals are granted access to ePHI resources.
media now or hereafter known or devised, with or
                                                                  Despite the close working relationship between
without my name, both singly and in conjunction with
                                                                  Luxottica associates and subleasing optometrists
other persons, for any and all purposes, including
                                                                  or ophthalmologists, no Luxottica associate should
but not limited to, private or public presentations for
                                                                  handle a subleasing doctor’s electronic patient
advertising, publicity, promotional and charitable
                                                                  information/data unless it is with the specific
purposes, throughout the world without restriction as
                                                                  permission of the doctor or pursuant to a Business
to manner or frequency, both during my employment
                                                                  Associate Agreement and in the course of treatment.
and thereafter. I acknowledge and agree that the
Company shall have the entire, exclusive right,                   If an associate suspects or discovers an IT
title, and interest in and to any materials produced              security incident (data compromise, system
with my name, statements, photograph, video,                      misuse, virus, etc.), the incident must be
voice or other likeness and other reproductions                   reported immediately to management and to
thereof and all copyright therein, and that I will                the appropriate IT Help Desk. Technical Services’
not receive any kind of payment, remuneration,                    IT Security Officer is responsible for the IT
compensation or consideration of any kind.                        security incident remediation process, including
                                                                  coordinating, communicating and documenting
Electronic Protected Health                                       response activities through to resolution.
Information (ePHI) Agreement
                                                                  These Corporate Services and ePHI Policy
In order to comply with privacy regulations                       summaries are provided so that associates
regarding electronic Protected Health Information                 understand the importance of protecting the
(ePHI), associates, contractors or anyone with                    Company IT resources and protected customer
access to systems containing ePHI are responsible                 data. Please refer to Luxottica’s intranet, or your
for safeguarding this protected data by:                          brand-specific online communications channel for
 a. limiting ePHI data access to only those who                   more detailed information regarding IT policies.
    need access as part of their job duties
 b. storing ePHI data only on resources that are
    specifically designed to enforce ePHI data
    confidentiality, integrity and availability (e.g., not
    on public or shared drives or on personal digital
    assistants (PDA’s) or any other place where data
    is at significant risk of being compromised)
 c. transmitting ePHI data only through approved
    channels (Secure FTP, encrypted email, etc.)
d. ensuring ePHI data on transportable media
   sources such as floppies, CD’s, DVD’s,
   magnetic tapes and laptops are controlled
   and utilized according to IT standards
 e. returning or destroying ePHI when it is
    no longer needed for business purposes
    or upon contract termination


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             Luxottica Associate Guide Acknowledgment and Agreement
This will acknowledge that I have received my copy of the Luxottica Associate Guide and
that I will familiarize myself with the contents of the Associate Guide and agree to abide by
its terms. I understand that this Guide replaces and supersedes all prior versions.
		I specifically understand and agree to the following:
     • My employment with the Company will be at-will, unless there is a specific agreement signed
       by me and a legally authorized company representative, as determined by Luxottica’s Legal
       Department, stating otherwise. As an at-will employee, I understand that the Company has the
       right to terminate my employment at any time, with or without cause or notice, and that I have
       the same right. Except as provided in the following paragraph, the Company reserves the right to
       add, change or delete wages, benefits, policies and all other working conditions at any time.
     • The Dispute Resolution Agreement cannot be changed, altered, revised or modified as to me
       without (i) issuance of a new Dispute Resolution Agreement which makes any such changes
       or modifications, and (ii) my written agreement to such changes or modifications.
     • My signature below certifies that I understand that this agreement regarding my at-will status
       is the sole and entire agreement between the Company and me concerning the duration
       of my employment and the circumstances under which my employment can be terminated.
       This agreement supersedes all prior agreements, understandings and representations
       (whether written or oral) concerning my at-will employment with the Company.
     • I acknowledge that I have received and read, and that I understand and agree to the terms of, the
       following Agreements as set forth in the Associate Guide: Confidentiality Agreement and Non-Solicitation
       Agreement; Inventions Agreement; Dispute Resolution Agreement; Release for Use of Likeness, Voice
       and Name Agreement and Electronic Protected Health Information (ePHI) Policy Agreement.
     • Except as provided in the following sentence, I acknowledge and agree that my employment with the
       Company is conditioned upon my acceptance of the terms of these contractually binding agreements.
       Consistent with the terms of the Dispute Resolution Agreement, however, I recognize that I have 30 days
       to opt-out of that Dispute Resolution Agreement. Absent the exercising of my right to opt-out of that
       Dispute Resolution Agreement (by signing and returning the Opt-Out of Dispute Resolution Agreement
       form within 30 days of receipt, or selecting the opt-out checkbox if done electronically), the Company
       and I agree to be bound by its terms. I understand that the Agreements attached hereto replace
       and supersede all prior versions and I am bound by the most recent versions of the Agreements.

MY SIGNATURE BELOW CERTIFIES THAT I HAVE READ, UNDERSTAND, AND AGREE
TO BE BOUND BY THE TERMS AND CONDITIONS SET FORTH ABOVE.

DO NOT SIGN UNTIL YOU HAVE READ THE ACKNOWLEDGMENT AND
AGREEMENT ABOVE, AND THE LUXOTTICA ASSOCIATE AGREEMENTS.




————————————————————————————                                   DATE

                      Signature                                ww / ww / ww
————————————————————————————                                   MY LUXOTTICA I.D. N UMBER

            Associate Name (Please Print)                      wwwwww

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                                                                                     2015 Luxottica Associate Guide for Kathleen B Olivastro
Associate Information
                                                                                                                        Last Name:      Olivastro
                                                                                                                        First Name:     Kathleen
                                                                                                                  Current Job Title:    Regional General Manager
                                                                                                                         Hire Date:     12/02/2012
                                                                                                                      Employee ID:      601898
                                                                                                                       Source Data:     LRNA
Associate Guide Instructions
IMPORTANT NOTE:

The easiest way to review the Associate Guide is in “Section View.” To switch to “Section View,”click the second button on the EyeGrow Tool Bar at the top right side of the page. If you switch to “Section View,” please note that you will need to click
“Continue” at the bottom right side of each page to continue on to review subsequent sections.

As a condition of your employment with Luxottica, you must review and electronically acknowledge the Luxottica Associate Guide and a number of related Agreements. (Please note that you may opt-out of the Dispute Resolution Agreement within 30 days.) The
Associate Guide and Agreements that you must acknowledge are found in the next several sections. The left side of the screen lists each section that you must review and acknowledge. You should review each section and certify that you were given the opportunity
to review the section by checking the box at the end of the section. After you have reviewed all sections, you should read and electronically sign the “Luxottica Associate Guide Acknowledgment and Agreement” section on the last screen. At this point, you will be
presented with the option to opt-out of the Dispute Resolution Agreement.

Please note that you may print or save a PDF copy of the Luxottica Associate Guide by clicking on the link in Associate Guide (Part I). You may also request that a printed copy be mailed to you by calling the HR Solutions Group at 1-866-431-8484.

For questions related to the policies and information contained within the Luxottica Associate Guide, or about the electronic acknowledgment process, please contact the HR Solutions Group at 1-866-431-8484.
Associate Guide (Part I)
If you would like to print and retain a copy of the Associate Guide, please click on the link below entitled Print Associate Guide. When you click on the link, it will open a new window with a PDF version of the document. If you do not have Adobe installed on your
computer, you will need to install Adobe (click on the link below entitled “Install Adobe”) before you click on the Install Adobe (click on the link below entitled "INSTALL ADOBE") before you click on the "Associate Guide" link.




Print Associate Guide




Install Adobe




If you would like to have a copy of the Associate Guide mailed to you, please contact the Associate Relations Call Center at 1-866-431-8484.




About This Guide
The Associate Guide (“Guide”) is intended to help associates understand the expectations, work environment, and policies that apply to all associates of Luxottica Retail North America, Inc. in the United States (“Luxottica”). It also describes many of the benefits and
perks our associates enjoy.

The Associate Guide applies to all Luxottica associates in the United States, including those working at LensCrafters, Pearle Vision, Sears Optical, Target Optical, Sunglass Hut, Apex by Sunglass Hut, ILORI, Optical Shop of Aspen and EYEXAM of California, Inc., as
well as any other employer that becomes a part of the Luxottica group of companies (collectively, “the Company,” “we,” “our” or “us”). This Guide replaces and supersedes all prior Associate Guide versions.

For those associates working in a store location subject to a Collective Bargaining Agreement, certain provisions of the Associate Guide will not apply. For any questions, please contact the HR Solutions Group at 1-866-431-8484 or HRSolutions@LuxotticaRetail.com.

Associates working in a host store environment must adhere to the policies of the host store location at all times in addition to the policies outlined in this Guide.

Paper copies of this Guide may be requested by contacting the HR Solutions Group at 1-866-431-8484 or HRSolutions@LuxotticaRetail.com. Electronic copies of this Guide are available to view or print on Luxottica’s intranet, or your brand-specific online



                                                                                                                                                                                                                                                            Exhibit B
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communications channel.


Luxottica: See The Difference
At Luxottica, the work we do matters. The service we provide. The eyewear and fashion industry we influence. The fun we have. It all matters, to your colleagues and to the success of Luxottica. It’s rare that a career has the ability to make a profound impact globally.
It’s even rarer that we are able to see the difference we make on a daily basis. How do we do it? We simply help the world see.

We’re 70,000 associates strong across 130 countries. We take smart risks and are passionate about what we do. We connect through a common set of characteristics. Being Passionate, Imaginative, Entrepreneurial, and Simple & Fast guide all that we do.

We work hard, smart and have fun. We’re proud of our position as a global leader in our industry and challenge ourselves to make better products, provide better services and positively impact the world.

See the difference in working at Luxottica? The work we do matters.

DIVERSITY & INCLUSION

At Luxottica, ensuring a diverse workplace is part of our everyday business. Our global reach is broad and although we speak different languages, have different traditions and celebrate different holidays, we all share a vision for helping the world see.

This vision extends from our Milan headquarters and stores around the world. We understand the importance of maintaining a workforce that mirrors our customers. It’s not a challenge or something we strive for. We just do it. It makes us stronger. It makes us better.
And, it makes for a whole lot of fun!

SEE THE DIFFERENCE YOU CAN MAKE THROUGH ONESIGHT

733 million people around the world suffer from poor vision. Lack of quality vision care is a global health issue affecting almost as many people as poverty, hunger and access to clean water. The good news is that for 563 million, an eye exam and glasses can restore
their sight.

At Luxottica, being a world leader in eyewear and eye care also means being a leader in helping the world see. That’s why you’re encouraged to use your skills and expertise to give back through OneSight, a nonprofit organization providing access to quality vision care
and eyewear in underserved communities worldwide.

Luxottica is proud to be OneSight’s founding global sponsor providing more than $7 million annually to support global operations and programming. Our retail brands also raise millions by sharing their passion and inviting customers to donate to OneSight.

Learn more at OneSight.org.


Hiring and Work Practices
THE ASSOCIATE GUIDE

Other than the Associate Agreements at the end of this Guide, nothing in this Guide is contractual in nature and nothing in it creates any contractual obligations by the Company. This Guide is not a contract of employment and does not obligate the Company to act in
specific ways or to maintain any specific level or type of benefit. With the exception of the Associate Agreements, this Guide may be interpreted, applied, or modified at the Company’s sole discretion and without prior notice to associates. In addition to the policies in
this Guide, the Company may issue other policies and procedures. Like the policies in this Guide, these other policies and procedures are not contractually enforceable, but are intended to inform associates of expected behaviors.

All associates are expected to familiarize themselves with the policies in this Guide and any other policies and procedures that may apply to them. Associates are expected to abide by Company policies and procedures at all times. Questions regarding what policies
apply to an associate’s position should be referred to a manager or to the HR Solutions Group at 1-866-431-8484 or HRSolutions@LuxotticaRetail.com.

Associates who violate the letter or spirit of the Company’s policies may be subject to corrective action, up to and including termination of employment (collectively referred to as “corrective action” for remainder of this Guide).

EMPLOYMENT AT-WILL

Employment with the Company is on an at-will basis, meaning that either the associate or the Company can terminate employment at any time, for any reason or for no reason. Nothing contained in this Guide alters this at-will employment status. No Company officer,
manager or associate has authority to change or vary the At-Will Policy, other than through an individual contract of employment, specifically so providing, and signed by both the associate and a legally authorized representative of Luxottica, as determined by
Luxottica’s Legal Department, or by an otherwise enforceable written agreement.

EQUAL EMPLOYMENT OPPORTUNITY
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It is the policy of the Company to ensure Equal Employment Opportunity (EEO) for all persons regardless of race, color, gender, national origin, religion, age, disability, sexual orientation, gender identity or expression, citizenship, veteran or military status, marital
status, pregnancy (including unlawful discrimination on the basis of a legally protected pregnancy or maternity leave), genetic information or any other characteristics protected by law.

The Company strives to create a culture in which no person will be advantaged or disadvantaged because of any factor unrelated to job performance. The Company is committed to creating a positive, healthy environment in which associates can bring their diversity to
the organization and provide insight that culminates in better business decisions.

Associates who encounter or observe conduct that they believe violates the Company’s Equal Employment Opportunity Policy should immediately bring it to the attention of the Company. See “How to Report Violations of the EEO or Harassment Policies” in this
Guide.

HARASSMENT FREE WORKPLACE

The Company is committed to providing a professional work environment where all associates can work together comfortably and productively. It is the Company’s policy to maintain a workplace free from any form of harassment based on legally protected
characteristics, including sexual harassment.

The Company prohibits the harassment of any of its associates (including managers), volunteers, interns, customers, contractors, vendor personnel and temporary staff, based on an individual’s race, color, gender, national origin, religion, age, disability, sexual
orientation, gender identity or expression, citizenship, veteran or military status, marital status, pregnancy (including unlawful discrimination on the basis of a legally protected pregnancy or maternity leave), genetic information or any other characteristics protected by
law.

The Company does not only prohibit such conduct, it may be a violation of federal, state, or local anti-discrimination laws. The Company prohibits such behavior even if it is not so severe that it would be considered illegal harassment, and even if the offending person
did not intend to offend or believed his/her comments or conduct were welcome.

This policy applies to all associates (including managers), volunteers, interns, customers, contractors, vendor personnel and temporary staff. This policy prohibits inappropriate conduct based on protected characteristics while on Company property, at Company-
sponsored activities and programs, on business-related trips and anywhere else Company business is conducted.

Everyone at the Company is expected to respect the rights of customers, co-workers and others in the workplace by refusing to participate in conversations or activities that violate this policy. Managers are responsible for taking appropriate action to address such
conduct.

With respect to sexual harassment, the Company prohibits the following:

 1. Unwelcome sexual advances; requests for sexual favors; and all other verbal or physical conduct of a sexual or otherwise offensive nature, especially where:

     • Submission to such conduct is made either explicitly or implicitly a term or condition of employment;

     • Submission to or rejection of such conduct is used as the basis for decisions affecting an individual’s employment; or

     • Such conduct has the purpose or effect of creating an intimidating, hostile, or offensive working environment.

 2. Offensive comments, jokes, innuendos, and other sexually oriented statements.

    Examples of conduct expressly prohibited by this policy include, but are not limited to, the following:

     • Offensive or derogatory comments, jokes, epithets or slurs based upon any protected characteristic

     • Acts or threats of violence, and physical intimidation

     • Negative stereotyping

     • Repeated requests for dates

     • Requesting sexual favors, or suggesting that sexual favors will gain employment benefits

     • Unwelcome touching

     • Any physical interference with the associate’s normal work or movement

     • Written or graphic material placed on walls, bulletin boards, emails or elsewhere on the Company’s premises or circulated in the workplace that mocks, denigrates, or shows hostility towards an individual or group, or that otherwise could be offensive to
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        coworkers or a potential recipient, based on any protected characteristic

     • Sending or receiving email, instant messaging, or text messaging that is sexually explicit, patently offensive or pornographic

     • Coercive behavior that amounts to bullying

Any associate who believes that he or she is the subject of inappropriate conduct prohibited by this policy, or anyone who observes or learns of such conduct, should report it immediately. See “How to Report Violations of the EEO or Harassment Policies” below. The
Company prohibits any form of retaliation against any associate for filing a bona fide complaint under this policy or for assisting in a complaint investigation. However, if, after investigating any complaint of harassment or other unlawful discrimination, the Company
determines that the complaint is not bona fide and was not made in good faith or that an associate knowingly has provided false or intentionally misleading information regarding the complaint, the associate who filed the complaint or who gave the knowingly false or
intentionally misleading information may be subject to corrective action.

ACCOMMODATIONS

Where required by law, the Company will provide reasonable accommodation for associates and applicants for employment with disabilities, as well as associates who require a reasonable accommodation for pregnancy, childbirth, breastfeeding, or related medical
conditions. Similarly, reasonable accommodation may also be provided for associates with sincerely held religious beliefs.

Questions about or requests for a reasonable accommodation should be directed to the HR Solutions Group at 1-866-431-8484 or
HRSolutions@LuxotticaRetail.com. Managers who receive questions or requests for a reasonable accommodation should also contact the HR Solutions Group for further guidance. Associates who wish to report a potential violation of this policy should follow the
reporting procedure in the Open Door Policy defined below.

OPEN DOOR POLICY

The Company encourages associates to feel comfortable expressing job-related concerns and is committed to listening and responding to such concerns. The Open Door Policy provides an Open Door Process for an associate to bring a concern to management’s attention
without fear of retaliation. In many cases, the associate’s immediate manager is the person best qualified to address a concern or answer a question. Managers to whom a concern is reported through the Open Door Policy are expected to respond.

If an associate is not comfortable reporting a concern to his/her manager, for example because the concern involves the associate’s manager, the associate may report his/her concern directly to his/her manager’s manager or the HR Business Partner. They may also
contact the HR Solutions Group at 1-866-431-8484 or HRSolutions@LuxotticaRetail.com.

Where necessary, the HR Solutions Group will work with the associate and the manager to address a concern. If the associate feels that the concern was not addressed to his/her satisfaction by his/her manager(s) and/or the HR Solutions Group, such concern may be
elevated to a HR Business Partner or the Associate Relations Center of Excellence to review details, conduct an investigation and attempt to resolve the issue.

While the Company will endeavor to maintain the confidentiality of a concern reported by an associate, it may not be possible for the Company to do so in every circumstance. For example, in order to resolve a concern it may be necessary for the Company to conduct a
workplace investigation during which the details of the particular concern may need to be disclosed to the affected/implicated workplace parties or witnesses. In addition, associates may be requested to maintain confidentiality where critically necessary to protect a
witness, avoid tampering/destruction of evidence, or to prevent a cover-up.

Associates can use the Open Door Policy without fear of retaliation. Any person who attempts to deter or deters an associate’s attempt to escalate a concern, or who retaliates against an associate in any way for using the Open Door Policy, will be subject to corrective
action.

Associates are not required to use the Open Door Policy prior to initiating arbitration, but are encouraged to do so.

Business Abuse and Compliance Helpline

If the issue is one involving a claim of discrimination, harassment, retaliation, or failure to accommodate, the associate should follow the reporting mechanism defined below in “How to Report Violations of the EEO or Harassment Policies.”

Associates and others are encouraged to report issues or concerns involving illegal or dishonest fraudulent activity or compliance with laws, regulations, or Company policies, including the Company’s Code of Ethics, to the Company Business Abuse and Compliance
Helpline (NetClaims) at 1-888-88-SEE-IT (1-888-887-3348).

Associates who contact NetClaims may do so anonymously, and all information received through NetClaims will be kept confidential to the extent possible. However, disclosure may be necessary where required by law or where needed to investigate and adequately
respond to a complaint, concern or allegation. The Company will not retaliate against any associate who makes the Company aware of concerns the associate may have about unlawful activity, activities contrary to Company policy or activities which otherwise amount
to improper conduct. This includes, but is not limited to, protection from retaliation in the form of an adverse employment action such as termination, compensation decreases, poor work assignments, and threats of any type.

How to Report Violations of the EEO or Harassment Policies

It is essential that anyone who observes or is the subject of inappropriate conduct report the conduct so that the Company can respond. Options are available to associates who may have concerns about inappropriate workplace behavior. If the associate is comfortable
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doing so, he/she may ask the harasser to stop the offending behavior. The offender may not realize the behavior is offensive. Often, merely telling the offender will stop the conduct.

If the conduct does not stop after confronting the offender, or the associate is not comfortable addressing that person, the associate should immediately report his/her concerns to any of the following resources:

 • Associates may report the conduct to their managers or, if not comfortable doing so, to the next higher manager.

 • Associates may report the conduct to the HR Solutions Group at 1-866-431-8484 or HRSolutions@LuxotticaRetail.com.

 • Associates may report the conduct to their HR Business Partner.

 • Associates may report the conduct to NetClaims at 1-888-88-SEE-IT (1-888-887-3348).

Associates may be asked to provide a written description that includes details of any incident(s), names of individuals involved, and names of any witnesses.

Associates have a duty to cooperate in the Company’s investigation of alleged inappropriate conduct, except where a Company investigator informs you that your cooperation is voluntary. Failing to cooperate, intentionally withholding material information, or
deliberately providing false information during an investigation violates this policy and may subject an associate to corrective action.

When deemed necessary, associates or others may be separated during the investigation, and an alleged harasser (or other persons) may be suspended pending the outcome of the investigation. If the alleged harasser is a vendor representative or a temporary staff person,
the Company may request his/her temporary removal from the assignment pending the outcome of the investigation.

If the Company determines that an associate has violated this policy, he/she will be subject to corrective action. If a vendor representative or temporary staff person violates this policy, the individual may be prohibited from performing future services for the Company.

Associates with questions or concerns about the process, or about an ongoing or completed investigation, should contact the HR Solutions Group at 1-866-431-8484 or HRSolutions@LuxotticaRetail.com.

Associates who use the above reporting mechanisms are expected not to abuse them. False reporting is strictly prohibited. Any associate who intentionally makes false or misleading allegations will be in violation of Company policy, and may be subject to corrective
action.

DATING AT WORK/INAPPROPRIATE RELATIONSHIPS

The Company expects managers to maintain professional work relationships with their subordinates. Accordingly, dating and romantic relationships between managers and subordinates are prohibited, and managers are encouraged to refrain from excessive non-work
related socialization with subordinates due to the negative impact it may have on the workplace. Further, associate dating and romantic relationships at any level are not encouraged. Associates who elect to date or become romantically involved with other associates do
so with the understanding that the relationship may be subject to review by the Company. If any negative impact on the workplace occurs due to a dating or romantic relationship between associates, including actual or perceived favoritism, distraction, fighting or other
inappropriate behavior, the Company will treat such conduct as a performance issue.

Examples of prohibited dating/romantic relationships include:

 • Store level managers and supervisors may not date anyone who works at their store location(s).

 • Field managers may not date anyone who works in their zone or region.

 • Vice Presidents may not date anyone in their group or department.

 • Cincinnati Service Center Directors and above may not date anyone in their department.

The Company reserves the right to prohibit dating in other situations where the Company determines that a romantic relationship may be detrimental to the Company’s business interests.

If a dating or romantic relationship between a manager and subordinate exists or develops, the participants are required to report their relationship to the manager’s manager and the HR Business Partner. The Company may decide to place one of the participants outside
the reporting relationship. If alternative placement is not feasible or not in the Company’s best interests, termination of employment may be necessary. Managers and subordinates who misrepresent, hide, or fail to promptly disclose any such relationship may be subject
to corrective action.

If an associate knows that he/she is being considered for a job change such as a promotion or transfer or has requested a job change, he/she must disclose whether the proposed change would result in a violation of this policy. The Company may decline to authorize a job
change to prevent a violation of this policy.

EMPLOYMENT OF RELATIVES/COHABITATION
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The Company recognizes the natural desire of associates to assist their family members, as well as others with whom they have intimate relationships, to seek careers with the Company. This policy is established to protect the Company and its associates from problems
that might arise where it employs associates who share these types of relationships, such as actual or perceived conflicts of interest and favoritism.

For purposes of this policy, the term “related” shall apply to the following relationships whether they are established by blood, marriage (“in-law” relationship) or other action: father, mother, son, daughter, brother, sister, grandparent, grandchild, aunt, uncle, niece,
nephew, cousin, spouse, domestic partner or similar relationship. The term “cohabitator” or “roommate” applies to anyone with whom a residence is shared.

The following guidelines are to be followed with respect to employment of family members, cohabitating associates, and associates who share similarly close, intimate relationships:

Direct Reporting Relationship

Related or cohabitating associates may not report directly to each other.

Associates Reporting to the Same Manager

Related associates may not report to the same manager unless they work at different locations or in different departments. No associate in a management position may have a cohabitator/roommate working in his or her area of responsibility.

Where such situations exist or develop in the future through promotion, transfer, marriage, housing changes or other action, one of the associates must transfer, resign or make a housing change within a timeline set by the Company, not to exceed 90 days after the
relationship or roommate status is established. Associates have an ongoing obligation to advise management promptly of changes in relationship or roommate status. At its discretion, the Company may modify the job duties of specific associates to address situations in
which the exercise of that job duty may conflict with the spirit of this policy, even though there is not a direct reporting relationship.

IMMIGRATION LAW COMPLIANCE

The Company is committed to full compliance with applicable federal and state immigration laws. These laws require that all applicants and associates establish and maintain proof of their legal right to work in the United States as a condition of employment. Every associate
must provide satisfactory evidence of his/her identity and legal authority to work in the United States no later than three business days after he/she begins work. If an associate’s immigration status changes during the course of employment, the associate must notify his/her
manager prior to the change, and complete all necessary documentation to demonstrate continued authorization to work in the United States for the Company.

DRUG AND ALCOHOL FREE WORKPLACE

The Company is committed to providing a safe and productive workplace for our associates and customers.

The following is prohibited while on Company property, time (including meal periods and rest breaks), or while on Company business:

 1. Use, abuse or being under the influence of:

     • Illegal drugs (including marijuana and marijuana products prescribed for medical use, which is prohibited in the workplace under federal law)

     • Illegal chemicals

     • Legal chemicals for any unintended purpose

     • Prescription drugs, for any purpose other than is prescribed or by anyone other than the person to whom it is prescribed

     • Alcohol (except as authorized at certain designated Company events)

 2. The purchase, sale, transfer, possession, manufacture or distribution of illegal drugs, prescription drugs (other than legal purchase or possession by the person to whom it is prescribed), illegal chemicals or legal chemicals for any unintended purpose.

If the Company determines that an associate engaged in these prohibited behaviors, he/she may be subject to corrective action.

This policy applies to associates as well as applicants for employment with the Company. It is an associate’s responsibility to notify management when taking any prescription medication that might affect job performance. The associate is to inform his/her manager of
the possible effects of the medication; however, he/she should not disclose any diagnosis or underlying medical condition.

Known Violations
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If an associate knows of another associate’s violation of this Policy, it is the associate’s responsibility to immediately notify his/her manager or the manager on duty, or to contact the HR Solutions Group at 1-866-431-8484, or HRSolutions@LuxotticaRetail.com.

Drug and Alcohol Testing

The Company reserves the right to test applicants for employment, and in certain situations, test associates for evidence of drugs and/or alcohol. A positive test, or refusal to test, may result in withdrawal of a candidate’s contingent offer of employment, or corrective
action for associates.

WORKPLACE VIOLENCE AND WEAPONS

Luxottica is firmly committed to providing a safe workplace that is free from acts of violence or threats of violence. Luxottica prohibits acts of violence, and threats of violence associated with the Company or its associates, whether explicit or veiled, verbal or written.
Further, the Company prohibits the possession, storage and use of firearms, ammunition and other dangerous items that may be considered a weapon on Company property, except as permitted by state or local law.

Associates should immediately report any real or imminent violence, threats of violence, or coercion against themselves or others (including threats to harm oneself), and weapons concerns to a manager, or the HR Solutions Group at 1-866-431-8484, or
HRSolutions@LuxotticaRetail.com. A full investigation and appropriate course of actions will follow any good faith reports of violence, threats of violence or weapons in the workplace. This policy applies to all associates, and failure to adhere may result in corrective action.

SMOKING AND TOBACCO USE

The Company is dedicated to providing a healthy, comfortable and productive environment for our associates. Luxottica is a non-smoking organization. Smoking (including the use of e-cigarettes and similar vapor devices) and the use of tobacco products is prohibited
in all stores, field locations, service facilities, Company sponsored meetings and events, and in Company vehicles that are occupied by more than one person. All associates, customers and visitors are expected to comply with this policy.

DRESS CODE

Professional relationships with customers, coworkers and vendors are vital to the Company’s business. An associate’s appearance plays an important part of building that relationship. Dress code requirements will vary depending on the particular requirements of an
associate’s job and workplace; however, all associates are expected to be well-groomed, practice good hygiene and project a professional image.

Associates who violate the dress code applicable to their work location may be sent home and/or subject to corrective action. Questions and requests for dress code accommodations, including to reasonably accommodate an associate’s sincerely held religious beliefs,
should be directed to the associate’s immediate manager or the HR Business Partner assigned to the associate’s work location.

Store Locations

Associates must follow the dress code guidelines applicable to their position and brand, which may change from time to time.

Cincinnati Service Center (CSC)

Associates are permitted to dress for their day. When representing the Company in meetings with external parties, business formal or business casual attire is required. On other days, smart casual attire such as dress/polo shirts and fashionable jeans are acceptable.

PERSONAL DATA PROTECTION

Personal information covered by this policy, whether in paper or electronic form includes, but is not limited to, an individual’s name, or first initial and last name, used in conjunction with one or more of the following types of information, in any combination:

 • Social Security number

 • Driver’s license number or state-issued identification card number

 • Home address

 • Non-Company telephone numbers and email addresses

 • Date of birth

 • Financial account numbers

 • Credit or debit card numbers or related security codes
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 • Passport number

 • Medical information (including that governed by HIPAA)

 • Luxottica identification

 • Luxottica passwords

 • Alarm codes

 • Beneficiary or emergency contact information

This policy does not prohibit non-supervisory and non-managerial associates from communicating about their employment conditions or sharing information for the purpose of engaging in activities protected by the National Labor Relations Act.

It is essential that associates protect the confidentiality of sensitive personal information of customers, patients, applicants and associates, and safeguard such information contained in Company records or other data. Associates are expected to be knowledgeable of and
comply with all Company HIPAA policies and procedures, which may be found on Luxottica’s intranet, or your brand-specific online communications channel. Social Security numbers must be given particular protection. No associate or customer Social Security
number may be publicly posted or displayed in any way that communicates or makes the number publicly available. Social Security numbers may not be printed on any card required for the individual to access Company products or services. They also may not be
required to be transmitted over the internet without appropriate encryption, required to access a Company website, or printed on any materials to be mailed to an individual, unless required by state or federal law. A Social Security number may, however, be included in
applications and forms sent by mail as part of an application or enrollment process, as long as the number is not visible from the outside of an envelope.

Access to Personal Data and Security Precautions

Access to personal information, as defined above, is limited to those associates who require such access to perform their job duties. Associates who have access to personal data are expected to ensure, to the extent practicable, the confidentiality and security of that
information and to take reasonable security measures to protect the information from unauthorized access, destruction, use, modification or disclosure.

Despite the close working relationship between associates and subleasing optometrists or ophthalmologists, no associate should handle a subleasing doctor’s patient file or data unless it is with the specific permission of the doctor or pursuant to a Business Associate
Agreement and in the course of treatment.

Unauthorized access, destruction, use, modification to, or disclosure of personal information regarding any current or former customer or associate of the Company for any improper, unlawful or non-business purpose is strictly prohibited. As used herein, unauthorized
access means any intentional effort to discover, review or obtain personal data for any improper, unlawful or non-business purpose. Unauthorized disclosure means publishing or providing personal data to any person or entity for any improper, unlawful purpose or any
purpose not related to the Company’s business.

Examples of reasonable security precautions that should be taken with respect to personal information covered by this policy include, without limitation:

 • Taking reasonable steps to destroy records containing covered personal information once the record is no longer required to be retained by shredding or erasing the record, or by any other means which makes the information unreadable or undecipherable, in
    accordance with federal, state, and local record retention requirements (where applicable).

 • Storing documents containing personal data in locked file cabinets.

 • Ensuring that computers containing personal data are password protected and locked when not in use.

 • Ensuring documents containing personal data are not left unattended.

 • Verifying that persons requesting personal data are entitled to receive the information.

 • When computer equipment or electronic media that contain personal data are to be discarded, contacting the IT Department for disposal assistance.

 • Any personal information disclosed pursuant to a contractual arrangement with a third party, and after consultation with the Legal Department, must require the third party to agree contractually to implement and maintain reasonable security practices and procedures
   to protect the personal information from unauthorized access, destruction, use, modification or disclosure.

Reporting

All associates are expected to immediately report any instances of identity theft, or any instance of unauthorized access, destruction, use, modification or disclosure of covered personal information, including any security breach of an electronic
system that contains covered personal information. Associates should immediately report known or suspected conduct to their manager, their manager’s manager, or contact the NetClaims line at 1-888-88-SEE-IT (1-888-887-3348). Failure to report
any such instances may result in corrective action. Additional information about the Company’s policy on electronic information protected by the Health Insurance Portability and Accountability Act (“HIPAA”) may be found in the ePHI agreement
contained in this Guide and the Company’s HIPAA policies and trainings located on Luxottica’s intranet, or your brand-specific online communications channel. If an associate does not have access to the intranet or brand communications channels,
he/she may request a copy of the policy from their manager.
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    I acknowledge that I have had the opportunity to review the above section(s) of the Associate Guide – Part I (Hiring and Work Practices).
NOTE: You will not be permitted to sign and submit the mandatory Associate Guide Acknowledgement on the last page until you select this checkbox.
Associate Guide (Part II)


Protection of Company Assets
ASSET PROTECTION

Asset protection is everyone’s responsibility. As an associate, it is your duty to prevent, identify and report known or suspected asset protection concerns such as theft, shoplifting or shrinkage.

To report an asset protection issue, or for asset protection questions, contact the appropriate Asset Protection Manager, or call the NetClaims line at 1-888-88-SEE-IT (1-888-887-3348). Never jeopardize your safety or the safety of other associates and customers by
pursuing, apprehending or detaining a shoplifter.

MANAGEMENT OF BUSINESS RECORDS

All Company records must be managed in accordance with applicable Luxottica record retention schedules and policies, which are available on Luxottica’s intranet, or your brand-specific online communications channel.

USE OF COMPANY PROPERTY

Items furnished by the Company for use by associates remain the property of Luxottica. Limited use of Company phones for personal use is permitted (see Mobile Devices in this Guide for more information). Examples of misusing Company property include: personal
use of copiers, Federal Express, UPS, postage, long distance telephone calls and excessive personal use of Company cell phones and mobile devices.

CORPORATE INFORMATION TECHNOLOGY AND DATA SECURITY

Technology is an essential component of our business operations. As we continue to utilize technology and communicate electronically, it is imperative that associates’ use of technology and electronic communication systems complies with Company expectations and
standards. All Company Technology Resources (CTR), including but not limited to Luxottica provided computers, electronic devices, systems, networks and other hardware/software applications (including those that allow you to connect to Luxottica networks or access
data from a personal device) are Company resources which are to be used for direct, business-related and management-approved activities. Acceptable activities relate to each associate’s unique job duties and responsibilities. Limited non-business use of CTR is
permitted, subject to the requirements set forth below.

All current and future Luxottica policies, as well as state and federal law, apply to the use of CTR. These include, but are not limited to, Luxottica’s Harassment Free Workplace, Workplace Violence and Weapons, Personal Data Protection, Social Media, and
Solicitation and Distribution policies, as well as the Code of Ethics. At no time may associates or others who use CTR:

 • Abuse or use of defamatory, vulgar, menacing or physically threatening language toward customers, vendors, other associates or any other person or entity.

 • Make discriminatory statements, including disparagement of others based on race, color, gender, national origin, religion, age, disability, sexual orientation, gender identity or expression, citizenship, veteran or military status, marital status, pregnancy (including
   unlawful discrimination on the basis of a legally protected pregnancy or maternity leave), genetic information, or any other characteristics protected by law.

 • Make statements regarding or otherwise disclose trade secrets, confidential information or other proprietary information. [1]

 • Make statements that might constitute sexual or other harassment under the Company’s Harassment Free Workplace policy.

 • Access or transmit links to sites that contain profane, pornographic, violent or other patently offensive material.

The Company requires the appropriate use of all Company assets, including CTR and electronic files. Electronic files (including email and web pages accessed on the internet) are considered Company records, and may be regarded as legally equivalent to Company files
and records in paper form.

Protection of Company assets, confidential Company information, and safeguarding CTR against viruses and intruders, are critical. For these reasons, associates and others who are granted access to CTR must comply with the following:

 1. Email messages that contain confidential Company information must be encrypted before transmission. The Company will provide authorized encryption tools, as associates are never authorized to employ their own encryption methods or key outside the control of
    IT Security.

 2. Use only Company internet and email services provided by the IT Department when conducting Company business.
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 3. Do not download or install software including, but not limited to, browsers, plug-ins, file-sharing software, FTP clients or any other software package or software upgrade without prior authorization from your local IT Service Desk or IT Security.

 4. Always use software and hardware in accordance with applicable license or lease agreements. No software or related documentation licensed to the Company may be copied or shared with anyone else unless explicitly authorized in writing by the licensor. In cases
    involving multiple uses of CTR, associates are to use the software only in accordance with the license agreement.

 5. Do not install or connect unauthorized software, hardware, personal devices (including, but not limited to, laptops, smartphones, iPads, MP3 players, and similar devices not issued by the Company for business use) or other devices to any part of the Company’s
    communications networks, computers, terminals or lines. Contact IT Security to determine if a device is authorized.

 6. Limit non-business use of CTR to nonworking time (e.g., meal periods and rest breaks) and ensure such use does not preempt business needs. See below for monitoring and privacy considerations that apply to non-business use of Company technology.

Use of Company technology, whether for business, non-business, or personal purposes, is not private. Specifically:

 • The Company will, in its discretion, delete any non-business information, including files, images, video and music, stored on its systems. Associates who wish to avoid permanent deletion of such materials should not store them on Company systems.

 • Email accessed from or transmitted through a personal email account using the Company’s communication systems may be stored on Company systems. The Company may review such emails, and block any external email services or cloud service (non-business
    email, file sharing, etc.), at its discretion at any time.

 • Associate email messages and internet activity may be accessed, intercepted, monitored or reviewed by the Company at its discretion, including but not limited to suspected violations of this policy or other policies. Only designated associates may monitor,
   autoforward or journal another associate’s email messages or monitor internet usage.

 • Associates who use Company provided email accounts, internet accounts, and systems consent to the possibility that their messages and attachments, internet sites accessed, and information (in any form) downloaded or uploaded may be intercepted or monitored. All
   email communications on the Company’s email system remain the property of the Company. Associates should maintain no expectation of privacy in the Company’s computer systems or any information transmitted through, or stored on, such systems or other
   CTR.

Connecting a personal electronic device or storage device to CTR is prohibited, and associates who do so may be subject to corrective action. Associates are advised that the Company reserves the right, at any time, to (a) inspect; (b) remove Company information, and
(c) analyze files, data, and data storage media that may be within, or connectable to, such devices. All passwords or security codes needed to access information stored on these devices must be made available to the Company upon request.

The Company’s not exercising its rights with respect to certain communications or files in no way modifies or waives the Company’s right to monitor other electronic communications or files.

Associates and managers are responsible for ensuring compliance with the Company’s Corporate Information Technology and Data Security policy, as well as other applicable IT Security and Data Privacy policies. Copies of these policies may be obtained from your
manager or on Luxottica’s intranet, or your brand-specific online communications channel. Email and internet usage statistics will be made available to managers, including but not limited to with whom associates send and receive email, time spent on the Internet, and
websites accessed. In addition, the Company periodically reviews email communications, including but not limited to, message content and size.

Questions regarding this policy can be directed to the Chief Information Security Officer at ITCompliance@luxottica.com.

MOBILE DEVICES

Associates may use Company issued and/or personal mobile devices to conduct Company business, provided they follow the restrictions listed below. These devices, known as Personal Mobile Devices (PMD) and/or Company Mobile Devices (CMD) include, but are
not limited to, cell phones (e.g., iPhone, Blackberry, Droid, etc.) and tablets (e.g., iPad, Kindle, etc.). Non-exempt (hourly) associates using either device for business purposes must report the time to their manager to ensure they are paid for their work time.

Unless using hands-free equipment, use of CMD or PMD to conduct Company business while operating a motor vehicle is prohibited. Associates who are charged with traffic violations resulting from the use of CMD or PMD will be solely responsible for all liabilities
that result from such actions.

Associates are expected to follow Company policies and applicable law regarding the use of mobile devices. Associates who violate or abuse the Mobile Devices Policy may be subject to a withholding of CMD and/or corrective action.

Company Mobile Devices

CMD are tools which are issued to individual associates and work locations for business purposes. Lost or missing CMD must be reported immediately, and no later than one business day from the day it is lost or missing.

The following restrictions apply to CMD:

 • Excessive use of CMD for personal, non-business needs and connection to the internet (including sending or receiving pictures or video, and downloading any items that violate Company policy) are prohibited; however, occasional short, personal calls/text
    messaging and connection to the internet is permissible.

 • Associates who use CMD for personal purposes are responsible for any liability that may arise from such use, including any violation of law, regulation or policy resulting from such use.
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 • The Company does not pay for family plan costs.

 • CMD may not be used in place of an associate’s personal landline telephone.

 • Porting of cell phone numbers from PMD to CMD, or from CMD to PMD is prohibited, unless expressly authorized by the Chief Information Security Officer.

CMD issued and intended for store use only, such as iPads, may not be borrowed or removed from store locations. Lost or stolen CMD must be reported immediately and no later than one business day from the day it is lost or missing.

Personal Mobile Devices

Unless otherwise required by the Company, associates who elect to use PMD for business purposes, whether during or outside of work hours, do so voluntarily. Such use must comply with the following:

 • PMD are prohibited on the sales floor, in the lab, and other restricted access areas, unless being used for business purposes, as authorized by the associate’s manager.

 • Do not connect PMD to Company wireless Internet networks. Store networks are to be used solely for operational purposes using CMD.

 • The Company will not reimburse for data or internet charges where an associate voluntarily chooses to use a PMD instead of an accessible, non-mobile alternative that is available at no additional charge to you. In cases where an associate is required to use a PMD to
    conduct Company business, he/she must report the use to their manager to coordinate reimbursement for any costs incurred in connection with the performance of his/her work.

 • Use of PMD to access third party applications or websites must comply with Corporate Information Technology and Data Security Policy requirements, as well as all other applicable Company IT policies and security protocols.

 • Do not save user names and passwords used to access Company email portals, internal websites, systems and databases in PMD.

 • Associates are solely responsible for any damage, loss and/or other liabilities sustained to PMD brought into the workplace or used outside of the workplace.

 • Do not enter or save sensitive Company or customer information in PMD.

 • Associates issued CMD will not be reimbursed for expenses incurred in connection with the use of equivalent PMD.

 • The Company does not support PMD hardware or software issues.

Connecting PMD to Company information systems and networks without authorization is prohibited, and associates who do so may be subject to corrective action. Associates are advised that the Company reserves the right, at any time, to (a) inspect; (b) remove
Company information; and (c) analyze files and data found within PMD connected, or attempting to connect, to the Company’s information systems.

Further, associates who use PMD to conduct Company business or violate any Company policy must, upon request by the Company, (a) provide the Company with access to information stored on the PMD and/or, where applicable, (b) provide written consent for the
PMD service provider to disclose to the Company transactional information and the content of stored communications related to the Company’s business or a suspected policy violation. Refusal to comply with such requests may result in corrective action.

Questions regarding this policy can be directed to the Chief Information Security Officer at ITCompliance@luxottica.com.

USE OF COMPANY NAME/TRADEMARK

Do not unlawfully infringe on Company trademarks, service marks and logos. This does not prevent non-managerial and non-supervisory associates from using Company trademarks, service marks and logos to communicate about their working conditions. Questions
regarding the proper protocol for use of Company trademarks, service marks, logos or the like may be directed to Corporate Communications at NA_Communications@LuxotticaRetail.com.

SOCIAL MEDIA

This policy applies to all associates who communicate online on their own behalf, both during work and non-work time, and both in and out of the workplace. It also applies to associates whose core work responsibilities include online communications or are otherwise
participating at the request of the Company. Note: Retail brands may have additional guidelines specific to their online media strategies.

The Company recognizes that online communications, including participation in social media, may be a part of some associates’ everyday lives. Any Company information that is subject to a Confidential Information and Non-Solicitation Agreement or Non-Disclosure
Agreement cannot appear in associates’ online posts under any circumstances. Ultimately, associates are solely responsible for what they post online. Before creating online content, associates should consider some of the risks and rewards that are involved. Keep in
mind that any conduct that adversely affects an associate’s job performance, the performance of fellow associates or otherwise adversely affects customers, suppliers, people who work on behalf of the Company or the Company’s legitimate business interests may result
in corrective action up to and including termination.

Disclose Your Connection to the Company

Whenever endorsing the Company, or Company products or services online, associates must disclose their employment with Luxottica. Associates may not represent themselves as spokespersons for the Company, and must note that any opinions expressed are their own
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and do not represent the official position of the Company. An associate’s employment connection must be disclosed regardless of the space limitations of the medium used.

Do Not Disclose Any Confidential Company Information

Disclosure of any Company confidential, proprietary,[1] or trade secret information is strictly prohibited. Any Company information that is subject to a Confidential Information and Non-Solicitation Agreement or Non-Disclosure Agreement cannot appear in associates’
online posts under any circumstances. This includes but is not limited to: strategies and plans; sales and financial results; product releases, marketing or promotions; new store designs; inventory/pricing information; and customer information. Associates should not
make comments about the Company that are maliciously false or make disparaging remarks about competitors. If an associate has any questions about whether information is confidential, he/she may contact his/her supervisor or manager, Human Resources, or
Corporate Communications before disclosing any such information, or err on the side of caution and not disclose the information.

Give Your Honest and Truthful Opinions

Associates should make sure they are always honest and accurate when posting information or news, and if a mistake is made, correct it quickly. Be open about any previous posts that have been altered. Remember that the internet archives almost everything; therefore,
even deleted postings can be searched. Associates should never post any information and rumors they know to be false about the Company, fellow associates, customers, suppliers, people working on behalf of the Company, or competitors.

Associates should always be fair and courteous to fellow associates, customers and suppliers or people who work on behalf of the Company. Associates should keep in mind that they are more likely to resolve work-related complaints by speaking directly with other
associates or by utilizing the Company’s Open Door Policy than by posting complaints to a social media outlet. Nevertheless, associates who decide to post complaints or criticism should avoid using statements, photographs, video or audio that reasonably could be
viewed as malicious, obscene, physically threatening or coercive, disparaging to customers, associates or suppliers, or that might constitute harassment or bullying prohibited by Company policies. Examples of such conduct might include patently offensive posts meant
to intentionally harm someone’s reputation or posts that could contribute to a hostile work environment on the basis of race, color, gender, national origin, religion, age, disability, sexual orientation, gender identity or expression, citizenship, veteran or military status,
marital status, pregnancy (including unlawful discrimination on the basis of a legally protected pregnancy or maternity leave), genetic information, or any other characteristics protected by law.

All Company marketing/advertising material must be approved by the Legal Department in accordance with Company policy.

Respect Intellectual Property Rights

Show proper respect for the laws governing copyright, fair use of copyrighted material owned by others, trademarks and other intellectual property, including the Company’s own copyrights, trademarks and brands. To minimize the risk of a copyright violation, you
should provide references to the source(s) of information you use and accurately cite copyrighted works you identify in your online communications. Do not unlawfully infringe on Company logos, brand names, taglines, slogans, or other trademarks. Sensitive and
personally identifiable information (such as customer and vendor names, individual Social Security numbers, protected health information, etc.) should never be cited or referenced without approval in compliance with all Company policies, laws and regulations.

You Are Personally Liable For Your Actions Online

Associates are personally liable under federal, state and local law for their actions and omissions with respect to their online communications. The Company reserves the right to hold an associate directly responsible for any claims that arise from an associate’s violation
of the law, this policy or the Company’s rights. By communicating online, associates agree to protect the Company, its parents, affiliates and subsidiaries from any liability that arises out of the foregoing.

We Reserve the Right to Ask You to Remove Content

The Company will, in its discretion, review your social networking activities. Please note that this Policy applies even if your social networking is anonymous or under a pseudonym. If you do engage in such social networking, you should be aware that in appropriate
circumstances the Company will take steps to determine your identity. The Company may request that associates temporarily confine their social networking to matters unrelated to the Company if it determines this is necessary or advisable to ensure compliance with
securities regulations or other laws. The Company also may request that associates remove content that may violate the law or Company policies – for example, content about customers, coworkers, supervisors, the Company, vendors or suppliers that is vulgar, obscene,
physically threatening, coercive, libelous, harassing or discriminatory on the basis of race, color, gender, national origin, religion, age, disability, sexual orientation, gender identity or expression, citizenship, veteran or military status, marital status, pregnancy (including
unlawful discrimination on the basis of a legally protected pregnancy or maternity leave), genetic information, or any other characteristics protected by law.

Promotions, Giveaways or Contests

Online giveaways, sweepstakes and contests are subject to applicable laws, compliance with Company policies and all applicable rules and guidelines of social media sites. All Company promotions must be reviewed in advance by the Legal Department.

Using Company Systems for Personal Use

Associates should refrain from using social media while on work time or on equipment provided by the Company, unless it is work-related as authorized by your supervisor or manager. Do not use Company email addresses to register on social networks, blogs or other
online tools utilized by personal use. Use should comply with all applicable IT policies and procedures.

Limitations

Nothing in this Policy will be interpreted to limit or interfere with associates’ rights under Section 7 of the National Labor Relations Act. For example, this policy is not intended to prohibit associates from discussing with others the terms and conditions of their
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employment.

COMPETITIVE EMPLOYMENT

In order to protect the competitive advantage our Company enjoys and to protect the job security of our associates, the following policy must be strictly followed.

Associates cannot, under any circumstances, work for an optical competitor while employed in any capacity by the Company. An optical competitor is defined as any individual, group of individuals, company or any organization that provides retail optical products
and/or services at 10 or more locations that is not owned by Luxottica. In remote market locations, the Company reserves the right to determine the definition of a competitor based on product specifics and the impact to isolated Company stores. Such an arrangement
would constitute a conflict of interest and is grounds for dismissal. This policy may be waived by Director level managers or above to allow optometrists and opticians who work for the Company and another optical retailer. Any such waiver must be in writing. Waiver
of this policy does not waive the associate’s responsibility to comply with all other Company policies and procedures. Any other potential or unusual conflict should be reviewed by Human Resources and the Legal Department.

Employment By Pearle Vision Franchise Stores

The Company does not control the operation of Pearle Vision franchise stores. Except as provided in this policy, associates may not work for a Pearle Vision franchise store while employed by the Company. This policy may be waived in limited circumstances where:
(1) the associate’s place of employment with the Company and the Pearle Vision franchise store are more than five miles apart, and (2) the Pearle Vision Brand General Manager or his/her designee has specifically approved the associate’s employment by both the
Company and the Pearle Vision franchise store in writing.

SOLICITATION AND DISTRIBUTION

Individuals not employed by the Company are prohibited from soliciting funds or signatures, conducting membership drives, distributing literature or gifts, offering to sell merchandise or services (except as previously approved by the Company for philanthropic or
charitable purposes), or engaging in any other solicitation, distribution or similar activity on Company premises at any time.

The Company may authorize a limited number of fund drives by associates on behalf of charitable organizations, such as United Way or OneSight, or for associates in need. Associates are encouraged to volunteer to assist in these drives but their participation is entirely
voluntary.

Managers and supervisors are prohibited from engaging in any solicitation or distribution of literature at any time, on Company premises. All other associates must comply with the following requirements. For purposes of these requirements, “working time” means the
time when the person doing the soliciting or distributing, or the person being solicited or receiving the distribution, is or should be working.

 • Solicitation in retail sales areas is prohibited at all times.

 • Solicitation in all other areas is prohibited during the working time of either the associate making the solicitation or the associate receiving the solicitation.

 • Distribution of literature or other material in sales areas, and in all working areas, is prohibited at all times. Distribution is also prohibited in non-selling and non-working areas (e.g., a lunchroom or recognized break areas) during working time.

 • Off-duty associates are not allowed to access the interior or work areas of Company premises outside of their scheduled work hours, except as a customer of the Company or to attend a special Company meeting or event outside of their scheduled work hours.

The Company maintains various communication systems to communicate Company information to associates and to disseminate or post notices required by law. These communication systems (including bulletin boards, email, voicemail, facsimile machines and
personal computers) are Company property designated for business purposes and should not be used in any way prohibited by this policy. In particular, bulletin boards are for the posting of Company information and notices only, and only persons designated by Human
Resources or field management may place notices on or take down material from bulletin boards. The unauthorized use of the communication systems or the distribution or posting of notices, photographs or other materials on any Company property is prohibited.

All managers and supervisors are responsible for administering this policy and enforcing the provisions.

WORKPLACE SEARCHES AND MONITORING

To safeguard associates, customers, and Company property on our premises, the Company reserves the right to video monitor the workplace and to question and conduct personal searches of associates and all other persons entering and leaving Company premises, along
with inspecting any packages, parcels, purses, handbags, briefcases, lunchboxes or any other possessions or articles carried to and from Company premises. In addition, the Company reserves the right to search an associate’s office, desk, locker, files or any other area or
article on our premises. Inspections may be conducted at any time at the discretion of the Company.

Associates working on, entering or leaving Company premises who refuse to cooperate in such an inspection, as well as associates who after the inspection are believed to be in possession of stolen property, may be subject to corrective action.




[1]
   In this guide Proprietary Information does not include information lawfully acquired by a non-management employee of the Company about wages, hours or other terms and conditions of employment when used for purposes
protected by §7 of the National Labor Relations Act such as joining or forming a union, engaging in collective bargaining, or engaging in other concerted activity for mutual aid or protection of laborers. Moreover, nothing herein
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will be construed to prohibit a disclosure that is required by law or to prohibit an associate from making a report to a duly authorized law enforcement agency that is protected by law; provided, however, that to the extent
permitted by law the associate will give Luxottica as much advance notice as is possible before such a disclosure (presumably five business days or more) so that Luxottica may take legally permitted steps to protect the
Proprietary Information.




    I acknowledge that I have had the opportunity to review the above section(s) of the Associate Guide – Part II (Protection of Company Assets).
NOTE: You will not be permitted to sign and submit the mandatory Associate Guide Acknowledgement on the last page until you select this checkbox.
Associate Guide (Part III)


Employment Relationship
EMPLOYMENT STATUS

An associate’s employment status is based on the number of hours the associate is expected to work on a regular basis. Employment status categories are used to determine an associate’s eligibility for certain benefits, among other things. An associate’s scheduled hours,
and thus employment status, may change during the course of his/her employment as a result of personal and/or business related circumstances, and nothing in this Guide guarantees any associate a certain schedule or number of hours worked.

Full-Time: normally and consistently scheduled to work 30 or more hours per week.

Part-Time: normally and consistently scheduled to work 20 – 29 hours per week.

Casual Part-Time: scheduled to work fewer than 20 hours per week. This includes associates who normally work a few hours each week and associates who only work occasionally.

Temporary/Seasonal: hired for a short and defined period of time, regardless of the number of hours scheduled or worked.

Pay Classification

Positions are also classified as either exempt or non-exempt based on job duties.

Non-Exempt: associates are generally paid on an hourly basis, are eligible to receive overtime pay, and are required to report all hours worked.

Exempt: associates are paid a pre-determined weekly or bi-weekly base salary, regardless of hours scheduled or worked, and are not eligible to receive overtime pay.

WAGE PAYMENT

It is the policy of the Company to:

 • Pay associates all compensation to which they are entitled for work performed, in compliance with applicable laws;

 • Provide associates all meal and rest breaks required by law; and

 • Respond to associate complaints regarding payment of wages, time reporting, breaks, etc. in a timely manner. In doing so, the Company prohibits any form of retaliation against associates who bring such concerns to its attention.

This foregoing describes some of the basic rules concerning the Company’s timekeeping and payroll procedures, as well as the steps associates should follow to ensure that they are paid properly for all time worked. Additional policies or procedures not stated in this Guide may be
obtained by contacting the associate’s manager, HR Business Partner, or the HR Solutions Group at 1-866-431-8484 or HRSolutions@LuxotticaRetail.com.

NON-EXEMPT ASSOCIATES

Reporting Hours Worked

It is the policy of the Company to ensure that associates are timely and correctly paid. Non-exempt associates must accurately record the time they work each day. This includes accurately recording his/her arrival, departure, meal period times, and time for all work that
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the associate performs before or after a scheduled shift, in the timekeeping system used at the work location.

Off-the-clock work is not permitted. Non-exempt associates should not start work early, finish work late, work during a meal break, or perform any extra or overtime work, including sending and receiving work-related email and text messages, unless directed to
perform such work by their manager. However, all hours worked must be recorded, regardless of (1) when and where the work was performed; (2) the reason the work was performed; (3) whether or not the time was authorized by the manager; and/or (4) whether or not
the hours were captured in the timekeeping system.

Misreporting time worked (by either a manager or non-management associate) is considered a serious integrity issue for which corrective action will be issued. This includes, but is not limited to, incorrectly reporting or failing to report hours worked, instructing or
encouraging a non-exempt associate to work “off the clock”, improperly altering another associate’s time records, or instructing or encouraging an associate to do any of the above. All known or suspected incidents of such conduct should be reported to a manager, HR
Business Partner, HR Solutions Group at 1-866-431-8484 or HRSolutions@LuxotticaRetail.com, or anonymously to NetClaims at 1-888-88-SEE-IT (1-888-887-3348).

When an associate receives his/her paycheck, it is his/her responsibility to verify immediately that his/her working time was recorded accurately and that he/she was paid correctly for all hours worked. Associates who forget to clock in/out, inaccurately record their time,
or discover paycheck errors are expected to notify their manager immediately.

Overtime

Non-exempt associates are entitled to be paid overtime pay at one and a half times their regular rate of pay for all time worked over 40 hours in a work week, unless state law requires otherwise. Overtime pay is based on the number of actual hours worked. Other hours
paid but not worked such as Paid Time Off (PTO), reporting time, holidays, bereavement, short-term disability, paid volunteer time, military duty or jury duty are not considered “hours worked” when calculating the hours that will result in overtime.

Managers must approve all overtime hours before an associate begins working them. While associates will be paid for all overtime hours worked, regardless of whether it was previously approved, working overtime hours without prior management approval will be
considered a performance issue and may result in corrective action.

Travel and Commuting Pay

When the Company requires a non-exempt associate to travel for Company business the travel time will generally be considered paid time. Any paid travel time will be considered hours worked for the purpose of calculating a non-exempt associate’s overtime. While
traveling, a non-exempt associate will be paid for any time during which the associate is performing work.

Normal commute time is not paid time. However, additional time spent commuting to a different job site, or traveling between job sites during the workday, is paid time. Likewise, time spent doing Company business before or after the associate’s shift is also paid time.

Certain states may have travel or commuting pay laws that are different from this policy, and associates are encouraged to contact their HR Business Partner for any variations.

EXPENSE REIMBURSEMENT

All associates (non-exempt and exempt) are entitled to reimbursement for expenses they incur while conducting Company business, even if the associate is not traveling during the time of the expenditure. As long as the expenditure is for the benefit of the Company, the
associate will be reimbursed. Expenses may include, but are not limited to, cost of cell phone calls, text messaging, mileage when traveling locally for business, and office supplies purchased for the business location.

EXEMPT ASSOCIATES

Exempt associates generally receive a predetermined weekly or bi-weekly base salary as compensation for all hours worked in a workweek, regardless of whether the associate works more or less than forty hours in that workweek. Depending on the associate’s position,
he/she may also be eligible for additional compensation. An exempt associate’s base salary will be established at the time of hire or when the associate becomes classified as an exempt associate. Base salaries are subject to review and may be changed from time to time,
at the Company’s discretion.

The weekly base salary of an exempt associate will not be reduced for any week in which the associate performs work, subject to the following exceptions:

 • Full-day absences for personal reasons, sickness or disability;

 • Unpaid disciplinary suspensions of one or more full days for violations of a safety or workplace conduct rule;

 • Partial or full day leaves of absence taken pursuant to the Family and Medical Leave Act;

 • To offset amounts received as payment for jury and witness fees or military pay;

 • Time not worked during the first and last weeks of employment;

 • Any full work week in which the associate did not perform any work.
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Full day absences for personal reasons, sickness or disability will be charged against an exempt associate’s PTO bank unless that bank is exhausted or the exempt associate requests otherwise.

An associate’s salary may also be reduced for certain types of deductions such as an associate’s portion of health, dental or life insurance premiums; state, federal or local taxes; Social Security; or voluntary contributions to a retirement plan.

PAYROLL DEDUCTIONS*

To the extent permitted by federal and state law, by signing the Associate Guide Acknowledgment found at the end of this Guide, you hereby authorize Luxottica, or its designated third party payroll administrator, to deduct money from your wages, including your final
paycheck upon termination, for any of the following reasons:

 1. Your share of the premiums for Luxottica’s group medical/dental plan;

 2. Any contributions you may make into a retirement or pension plan sponsored, controlled, or managed by Luxottica;

 3. Any overpayment of wages or expenses for any reason;

 4. Any loans or wage advances given to you by Luxottica;

 5. Repayment of tuition paid by Luxottica if you voluntarily separate from the Company before the end of the time period stipulated in your tuition repayment agreement;

 6. The cost of repairing or replacing any Company supplies, materials, equipment, money, or other property that you may damage (other than normal wear and tear), lose, fail to return, or take without appropriate authorization from Luxottica during your
    employment;**

 7. Administrative fees in connection with court-ordered garnishments or legally-required wage attachments of your pay, limited in extent to the amount or amounts allowed under applicable laws; and

 8. The value of any PTO that you use before it is accrued, upon either a change to part-time status or your termination of employment.

Colorado and North Carolina associates only: associates in these states may revoke this agreement at any time by contacting the HR Solutions Group at 1-866-431-8484 or HRSolutions@LuxotticaRetail.com.

*This section does not apply to associates working in AK, CA, IL, IN, MD, MI, MN, NH, NV, NY, OK, OR, PA, PR, RI, VA, WA, WI, or WV.

**Paragraph 6 does not apply to associates working in AR, DC, DE, HI, IA, KS, KY, MA, ME, NJ, OH, UT, or VT.

REPORTING PAYROLL ERRORS AND QUESTIONS

The Company works hard to ensure that all associates are paid correctly, but mistakes can happen. When the Company learns of mistakes we will promptly make any corrections necessary. Please review each paycheck and pay stub received to make sure your pay is
correct. If an associate believes that his/her pay does not accurately reflect hours worked, or contains any improper deductions, or if the associate has any questions about his/her paycheck or pay stub, the associate should promptly report the matter to his/her manager,
HR Business Partner or contact the HR Solutions Group at 1-866-431-8484. He/she can also email HRSolutions@LuxotticaRetail.com or call the NetClaims line at 1-888-88-SEE-IT (1-888-887-3348).

Every report of improper pay will be investigated, and the Company will ensure that an associate promptly receives the pay to which he/she is entitled. The Company will not permit any form of retaliation against individuals who make good faith reports of alleged
violations of this policy, or who cooperate in the Company’s investigation of such reports, even if the reports do not reveal any errors or wrongdoing. Any form of retaliation in violation of this policy will result in corrective action.

DIRECT DEPOSIT

Associates may elect to have some or all of their pay deposited into their bank account by direct deposit, up to a maximum of eight accounts. The direct deposit accounts do not need to be at the same bank and associates may choose Members Trust Federal Credit Union
as one of their direct deposit locations. Please see the Benefits section in this Guide for more information about the Members Trust Federal Credit Union.

The use of the Company direct deposit option is voluntary. Please see instructions provided at time of hire for information on how to set up direct deposit.

WORK SCHEDULES

The Company schedules associate work time in accordance with operational needs. Although associate preferences may be considered when feasible, operational needs will always take precedence. At times, business needs and operational requirements may require last-
minute scheduling adjustments.

 • The work week begins each Sunday at 12am (midnight).
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 • Associates are responsible for obtaining and adhering to their work schedules.

 • Managers will give advance notice of a change in the associate’s work schedule, unless unforeseeable circumstances prevent him/her from doing so.

 • Managers have the right to require an associate to clock out earlier than scheduled depending upon the needs of the business in compliance with local law.

 • Under normal circumstances, an associate will not be scheduled to report to work with less than eight hours off after the completion of a prior work period.

ATTENDANCE

Associates are expected to be at their work area ready to begin work at their scheduled time. Unscheduled absences and tardiness place an unfair burden on the business and co-workers. All unscheduled absences and tardiness are monitored and recorded, regardless of the reason.
Managers will track excessive absenteeism and/or tardiness and the appropriate corrective action may be issued. For questions and guidance on attendance related issues, refer to your brand/location’s attendance policy. You can also call the HR Solutions Group for assistance at 1-
866-431-8484, or email HRSolutions@LuxotticaRetail.com.

If an associate knows he/she cannot make it in to work or will be late, the associate must call his/her manager, or the manager on duty, as soon as possible, but at least one hour prior to his/her scheduled start time. The call must come from the associate, unless
emergency circumstances prevent the associate from doing so. Text messaging is not an acceptable form of communication to the manager, nor is a call to anyone but the associate’s manager or the manager on duty. Failure to notify management in accordance with this
policy may be considered an unscheduled absence or tardiness, and may result in corrective action. Absences or tardiness that results in a late store opening may result in corrective action.

Paid Time Off (PTO) may be deducted for tardiness at the discretion of the associate’s manager. Only scheduled and pre-approved PTO hours/days and absences that qualify as a Leave of Absence (LOA) will be regarded as excused.

Absence from work for two consecutively scheduled workdays without notification and/or leaving the work site prior to the end of the scheduled workday without manager approval is “job abandonment” and will be considered a voluntary resignation. In both instances,
the associate will be ineligible for rehire.

ATTENDANCE AND PAY DURING EMERGENCY CLOSINGS

If an associate’s workplace cannot open for business and/or is unable to provide work to the associate because of an emergency that causes a temporary store, kiosk or facility closing, associates will receive full pay for the hours they were scheduled to work, at the
associate’s regular hourly rate, if one of the following conditions is met:

 1. The associate reported to work at their scheduled starting time.

 2. The Company was unable to provide the associate with at least 12 hours advance notice of the store/facility’s closing. Notice of 12 hours or more constitutes a “schedule change” and no pay is due, even if the associate reported to work.

If an associate’s workplace closes during the day, any associate working at the time of closure will be paid for scheduled hours. If the workplace is open for business, but the associate is unable to report to work because of a natural emergency (a natural emergency is
defined as an Act of God, out of control of the associate or the Company), the associate can elect to do one of the following:

 1. Deduct the time missed from PTO, if available.

 2. Take the time as an unpaid excused absence, as long as the associate followed proper notice and call-in procedures. Failure to call in may result in an unexcused absence.

The Company will comply with all applicable state and local laws pertaining to emergency closings and, to the extent this policy conflicts with any state or local law, such law will supercede this policy.

MEAL PERIODS AND REST BREAKS

All associates are expected to take scheduled meal periods and rest breaks.

Scheduling of meal periods and rest breaks is somewhat flexible; however, meal periods cannot be combined with other paid breaks. Additionally, meal periods and rest breaks should be scheduled no sooner than one hour after the start and no later than one hour before
the end of a scheduled shift, and should not be scheduled back-to-back. Associates must remember to notify their manager and/or another authorized associate before leaving the workplace for meal periods and rest breaks. Associates working in a location with single
coverage staffing may be permitted to take their meal periods and rest breaks as paid, on-duty breaks in the store.

Meal period and rest break policies vary under state laws and by brand. The following guidelines apply to the associate’s work location, unless a state law governing the associate’s work location is more generous. For information and guidance regarding state specific meal period and
rest break requirements, contact your manager or the HR Solutions Group at 1-866-433-8484 or HRSolutions@LuxotticaRetail.com. For California meal period and rest break requirements, please see the California Addendum found in this Guide.

Meal Periods

Associates who work six or more hours will receive one 30-minute, unpaid meal period (unless state law mandates a more generous meal period). Associates must clock out at the beginning of their meal period, and clock in when they return. Meal periods should be
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taken away from customer service areas (i.e., in a store break room or off premises), although exceptions may apply for single coverage locations.

Rest Breaks

Unless state law mandates more generous rest breaks, the following rest break guidelines apply:

 • Associates who work fewer than four hours are not entitled to a rest break.

 • Associates who work four or more hours, but fewer than eight hours, should take one 15-minute paid rest break.

 • Associates who work eight hours, but fewer than 10 hours, should take two 15-minute paid rest breaks.

 • Associates who work 10 or more hours should take three 15-minute paid rest breaks.

TRANSFERS

To be eligible for a voluntary transfer (i.e., associate initiates transfer request) between work locations or departments, associates must meet all of the following criteria:

 • Have been in his/her position for a minimum of 12 months.

 • Meet the minimum requirements of the position as indicated on the job description.

 • Have a satisfactory employment record as indicated by the most recent performance review.

 • Have no corrective action on file for the preceding 12 months of employment.

 • Business needs dictate need for transfer.

Exceptions may be made on a case by case basis based on operational needs. The Company reserves the right to involuntarily transfer associates based on operational needs.

PERFORMANCE MANAGEMENT

Ongoing performance feedback is an important element in assisting associates to improve their performance, develop their careers and achieve success with the Company. Managers should regularly provide direction to associates in order to help them meet the
performance and behavior expectations of the Company. This may involve positive and constructive feedback, as well as discussions that provide the associate with specific actions the associate is expected to take, in order to improve performance or correct
unacceptable behavior.

As part of ongoing performance management, managers may, at times, utilize the Company’s Corrective Action Process. The Corrective Action Process is designed to accomplish three objectives:

 1. Hold associates accountable for unacceptable behavior/performance;

 2. Change unacceptable behavior/performance; and

 3. Provide documentation on behavior/performance issues for future reference.

There are several tools that a manager may use to address unacceptable behavior or performance. These tools are intended to be flexible and used by management as deemed appropriate to the circumstances. They are not intended to be a rigid set of steps that must be
followed in every situation or in any particular order. It is up to management to determine how and when these tools will be used. They include:

 • Informal coaching.

 • Corrective action discussion, documented in the associate’s file.

 • Performance Improvement and/or Action Plans, which provide detailed guidance on areas in which an associate must improve performance or behavior.

 • Corrective Action Record (CAR). The CAR is a more formal discussion with a written document that outlines the unacceptable performance and/or behavioral issues and the expectations of the associate going forward.

 • Termination.

The Company may use whatever corrective action method it believes will effectively address the particular performance and/or behavior issue or policy violation. Some behaviors, actions or violations may warrant immediate termination of employment without any
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prior corrective action. The following are examples of the types of conduct (“Principles of Conduct”) that may warrant immediate termination, though the list is not all-inclusive:

 • Violation of the Code of Ethics or any violation of Company policy or procedure.

 • Sexual or other harassment or discrimination of co-workers, customers or others in violation of Company policy.

 • Acts of retaliation in violation of the law or Company policies.

 • Off-duty conduct that is illegal or discredits the Company, except as prohibited by law.

 • Fighting, actual or attempted bodily injury, menacing or threatening language or actions, profanity, or patently offensive, immoral or indecent conduct.

 • Insubordination, including defiance of a superior, or intentional failure to perform assigned work or follow work rules.

 • Falsification or unauthorized alteration of Company records or documents.

 • Dishonesty.

 • Failure to properly record working time.

 • Abuse of meal periods or rest breaks.

 • Working unauthorized overtime.

 • Allowing non-associates unauthorized entry into secured areas of a store or kiosk.

 • Abuse, misuse, or destruction of Company or customer property.

 • Theft, unauthorized removal, or unauthorized use of Company, co-worker or customer property.

 • Divulging confidential Company, associate, or customer information.

 • Possession, storage, and use of firearms, ammunition, and other dangerous items that may be considered a weapon on Company property (unless a state law exception applies).

 • Possession, using, or being under the influence of any illegal substance or alcohol while on Company property (limited consumption of alcohol at designated Company sponsored events excluded).

 • Recording (by audio or video) of the workplace, including but not limited to proprietary information[1], associates, or customers, unless authorized by the Company’s Chief Information Officer.

 • Solicitation during working times or, where appropriate, in sales areas, or distribution of literature in sales or working areas, in violation of Company policy.

 • Sleeping on the job.

 • Unauthorized application of sales discounts.

 • Failure to cooperate with an investigation, except where a Company investigator informs you that your cooperation is voluntary.

 • Clocking in/out for another associate or signing another associate’s time card/documents.

 • Failure to observe safety or security rules.

 • Continued poor performance.

 • Any other conduct deemed unacceptable by the Company.

Managers and supervisors may be disciplined for any conduct deemed inappropriate or unacceptable by the Company.

This policy will not be construed or applied in a manner that improperly interferes with associates’ rights under the National Labor Relations Act.

TERMINATION OF EMPLOYMENT
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Termination of employment may be either voluntary or involuntary:

 • Voluntary Termination: an associate may terminate employment by resigning, by retiring, or through job abandonment.

       Job Abandonment occurs when an associate does not appear for work for two consecutively scheduled workdays without notification or leaves the work site prior to the end of the scheduled workday without manager approval. In both instances, the associate will be
        ineligible for rehire.

 • Involuntary Termination: the Company may terminate an associate’s employment for unsatisfactory performance, violations of Company policy, lack of work, job eliminations, or any other lawful reason it deems appropriate.

Severance pay and benefits may be available to associates whose employment is terminated as a result of certain job eliminations or layoffs.

Eligibility for Rehire

Associates who terminate employment voluntarily or involuntarily may be ineligible for rehire based on the reason(s) for termination.

Questions about rehire eligibility may be directed to the HR Solutions Group at 1-866-431-8484 or HRSolutions@LuxotticaRetail.com.

RESIGNATION

If an associate resigns, he/she is expected to give the Company two weeks’ advance written notice. Failure to provide two weeks’ advance notice of resignation may result in ineligibility for rehire in the future.

RETURN OF PROPERTY, FINAL PAY, AND POST-EMPLOYMENT BENEFITS

On or before the associate’s last day of work, all Company owned property in the associate’s possession must be returned to the Company. This includes, but is not limited to: associate ID cards, keys, laptop computers, cell phones and mobile devices, and any other
Company property.

Associates should consult their manager regarding final pay arrangements and the termination of the associate’s benefits. The Company will send all applicable paperwork to the associate’s last current address on file, approximately two to three weeks after his/her last
day of work. Final pay will be paid on the next scheduled payday following termination, except where otherwise required by law. Paid Time Off (PTO) will be paid out to terminated associates in their final paycheck or in a separate paycheck following their final
paycheck, depending on the state where the associate works.

PERSONNEL FILES

Personnel files are the property of the Company and are maintained confidentially, with access permitted only to those with a business need. Current and former associates who wish to review their personnel file will be granted access where required and in accordance
with applicable law. To request access to your personnel file, please submit a written request to the HR Solutions Group at HRSolutions@LuxotticaRetail.com.

EMPLOYMENT VERIFICATION AND REFERENCES

The Company utilizes a third party automated service that provides current and former associates with the ability to provide proof of their employment (position held and dates of employment) or income. Associates may visit www.TheWorkNumber.com to obtain proof
of employment or income.

Any manager who receives a request for a reference, including online requests via LinkedIn or any other social or professional networking website, should direct the individual to< www.theworknumber.com or 1-800-367-5690,Lux Code #11567. Under no
circumstances will positive or negative comments be made about an associate’s past performance or reason for leaving.

Managers and supervisors must refer any further requests by prospective employers, recruiters, credit bureaus, etc., to the HR Solutions Group by calling 1-866-431-8484 or emailing HRSolutions@LuxotticaRetail.com.




[1]
       In this guide Proprietary Information does not include information lawfully acquired by a non-management employee of the Company about wages, hours or other terms and conditions of employment when used for purposes
      protected by §7 of the National Labor Relations Act such as joining or forming a union, engaging in collective bargaining, or engaging in other concerted activity for mutual aid or protection of laborers. Moreover, nothing herein
      will be construed to prohibit a disclosure that is required by law or to prohibit an associate from making a report to a duly authorized law enforcement agency that is protected by law; provided, however, that to the extent permitted
      by law the associate will give Luxottica as much advance notice as is possible before such a disclosure (presumably five business days or more) so that Luxottica may take legally permitted steps to protect the Proprietary
      Information.
                                                                                        Case: 4:18-cv-01646-CDP Doc. #: 10-1 Filed: 10/04/18 Page: 74 of 93 PageID #: 193




    I acknowledge that I have had the opportunity to review the above section(s) of the Associate Guide – Part III (Employee Relationship).
NOTE: You will not be permitted to sign and submit the mandatory Associate Guide Acknowledgement on the last page until you select this checkbox.
Associate Guide (Part IV)


Work Environment
SAFETY, HEALTH AND ENVIRONMENTAL

The Company is committed to providing a safe, healthy and environmentally responsible workplace. To help the Company accomplish that goal, all associates are required to learn and adhere to established health and safety policies, procedures and guidelines. Potential
workplace hazards must be reported to management immediately, and work-related incidents, injuries and illnesses must be reported promptly and accurately.

OCCUPATIONAL INCIDENTS, INJURIES, AND ILLNESSES

The Company takes work-related incidents, injuries and illnesses seriously. Regardless of the severity, all work-related incidents, injuries and illnesses must be reported to the manager for both the associate’s protection and for the purpose of complying with applicable
law. Associates must obtain from their manager and complete an Occupational Incident/Injury/Illness form immediately following any work-related incident, and it is imperative to report any such incident, injury, or illness immediately, and no later than 24 hours, of its
occurrence. Associates who fail to report, or who do not promptly report work-related incidents, injuries, or illnesses, may be subject to corrective action.

If an associate misses work due to an occupational incident, injury or illness, the associate must provide a written statement from an approved workers’ compensation health care provider prior to returning to work.

LEAVES OF ABSENCE

A leave of absence is defined as an unpaid approved absence from work for the reasons specified in the policies below. See each of those policies for a more complete definition of each type of leave of absence and the eligibility for each leave.

Certain states and local jurisdictions may provide additional types of leave that are not included in this Guide. The Company complies with all applicable leave laws. PTO, as defined in this Guide, may not be used immediately prior to or after a leave of absence to
extend an associate’s leave.

Associates who do not return to work upon their scheduled return, or who have not received an approved extension of leave, will be considered to have voluntarily resigned from their employment.

Associates with questions about leave, and use of PTO while on leave, should contact Leave Administration at 1-866-431-8484.

FAMILY MEDICAL LEAVE ACT (“FMLA”)

To be eligible for FMLA leave, associates must have worked for the Company for at least 12 months and have worked at least 1,250 hours in the 12 months prior to taking FMLA leave.

Previous periods of employment with the Company within the seven years prior to taking FMLA leave can be counted to meet the 12-month service requirement.

FMLA Covered Events

The FMLA provides up to 12 weeks of unpaid, job protected leave during a single 12-month period to eligible associates for the following reasons:

 • for the birth and care of a newborn child of the associate;

 • for placement with the associate of a son or daughter for adoption or foster care;

 • to care for a spouse, domestic partner, son, daughter, or parent with a serious health condition;

 • to take medical leave when the associate is unable to work because of a serious health condition; or

 • for qualifying exigencies arising out of the fact that the associate’s spouse, son, daughter or parent is a service member on federal active duty, or has been called to federal active duty status, and has been deployed to a foreign country (applies to National Guard,
    Reserves, and Regular Armed Forces).
                                                                                      Case: 4:18-cv-01646-CDP Doc. #: 10-1 Filed: 10/04/18 Page: 75 of 93 PageID #: 194

   Exigencies that qualify for leave include:

     • Military events and related activities

     • Childcare and school activities

     • Financial and legal arrangements

     • Counseling

     • Post-deployment activities

     • Additional activities related to the active duty or call to active duty when agreed to by the Company

     • Deployment with a short notice

     • Rest and recuperation

The FMLA also provides up to 26 weeks of unpaid, job protected leave during a single 12-month period to eligible associates to care for a covered service member or veteran who is the associate’s spouse, son, daughter, parent or next of kin with a serious illness or
injury incurred in the line of duty as a member of the Armed Forces (including National Guard and Reserves) and the service member or veteran:

     • is undergoing medical treatment, recuperation, or therapy;

     • is an outpatient at a military medical treatment facility;

     • is assigned to a unit established for the purpose of providing command and control of members of the Armed Forces’ receiving medical care as outpatients; or

     • is on the temporary disability retired list.

Definition of Serious Health Condition

A “serious health condition” is an illness, injury, impairment or physical or mental condition that involves either:

 • An overnight stay in a medical care facility;

 • Continuing treatment by a health care provider for a condition that either prevents an associate from performing the functions of their job or prevents the qualified family member from participating in school or other daily activities.

Subject to certain conditions, the continuing treatment requirement may be met by:

 • A period of incapacity of more than three consecutive calendar days combined with either:

     • Two visits to a health care provider within 30 days of incapacity; or

     • One visit to a health care provider that results in a regimen of continuing treatment;

 • Incapacity due to pregnancy or for prenatal care;

 • Incapacity due to a chronic condition;

 • Incapacity due to a permanent or long-term condition; or

 • Absences to receive multiple treatments for restorative surgery or a condition that would likely result in a period of incapacity in the absence of medical treatment.

Definition of 12-Month Period

In order to calculate the amount of FMLA leave to which an associate may be entitled during a 12-month period, the Company will review the amount of FMLA leave, if any, taken by the associate in the 12 months immediately preceding the first date of the FMLA
leave.

Requesting FMLA Leave
                                                                                      Case: 4:18-cv-01646-CDP Doc. #: 10-1 Filed: 10/04/18 Page: 76 of 93 PageID #: 195


Associates must provide 30 days advance notice of the need to take FMLA leave when the need is foreseeable. When 30 days’ notice is not possible, the associate must provide notice as soon as practicable and must comply with normal call-in procedures. Associates
must also inform the Company if the requested leave is for a reason for which FMLA leave was previously taken or certified.

Associates who request FMLA leave are required to provide the appropriate Department of Labor Certification form(s) that correlates with the type of leave requested. Forms may be obtained by contacting Leave Administration at 1-866-431-8484. Failure to provide the
proper FMLA Certification Form in a timely manner, not more than 15 days from a Company request for certification, may result in the delay or denial of leave and/or benefits, denial of reinstatement or termination of employment for unauthorized absence.

The Company reserves the right to request periodic recertification and/or a second or third medical opinion to determine the necessity of the leave, as permitted by law.

Employer Responsibilities

Leave Administration will inform associates requesting leave whether they are eligible for leave under the FMLA. If the associate is eligible, the notice will specify any additional information required as well as the associate’s rights and responsibilities. If the associate
is not eligible, Leave Administration will provide a reason for the ineligibility.

If leave will be designated as FMLA-protected, the associate will be informed of the designation and the amount of leave that will be counted against the associate’s leave entitlement. If it is determined that the leave is not FMLA-protected, the associate will be notified.

Scheduling FMLA Leave

Associates must make reasonable efforts to schedule leave for planned medical treatment so as not to unduly disrupt the Company’s operations. An associate is not required to take FMLA leave in one block. Leave may be taken intermittently or on a reduced schedule
when medically necessary and properly documented. The Company reserves the right to temporarily transfer associates on intermittent or reduced schedule leave to positions that permit them to take such leave with limited disruptions to operations.

If an associate on intermittent or reduced schedule leave is unable to work mandatory overtime because of the leave, the missed mandatory overtime hours may be counted against the associate’s FMLA leave entitlement. Missed voluntary overtime hours will not be
counted against the associate’s leave entitlement.

Pay and Benefits During FMLA Leave

FMLA leave is an unpaid leave. However, associates may be eligible to receive benefits through State-sponsored or Company-sponsored wage-replacement benefit programs. Associates may also choose to use their accrued, unused PTO while taking FMLA leave. In
order to use PTO while on FMLA leave, associates must comply with Company PTO policies. PTO used during an FMLA leave runs concurrently with the FMLA leave. Associates with questions about use of PTO while on FMLA leave should contact Leave
Administration at 1-866-431-8484.

During FMLA leave, an associate’s health coverage under any group health plan will be maintained under the same terms as if the associate had continued to work. Associates must pay their share of insurance premiums while on FMLA leave and will be notified of how
and when to make those payments. If an associate is eligible for and receiving short term disability pay from the Company’s disability insurance carrier, the associate’s insurance premiums will be deducted from this pay. If an associate is not eligible for or not receiving
short term disability pay, he/she will receive an invoice for their portion of the insurance premiums. This invoice must be paid in order for benefits to continue. If the associate does not receive an invoice, adjustment premiums will be deducted from future paychecks
once he/she returns to active status. If the Company terminates the associate’s health coverage due to the associate’s failure to make premium payments, the Company will provide written notice to the associate 15 days in advance of the coverage termination date.

Use of FMLA leave will not result in the loss of any employment benefit that accrued prior to the start of an associate’s leave.

Return From FMLA Leave

Prior to returning to work, associates on FMLA leave must provide a release to return to work from their health care provider supporting the associate’s ability to return to work, including the ability to perform their essential job functions with or without a reasonable
accommodation.

Under most circumstances, associates who return to work following FMLA leave will be reinstated to the same position held at the time of the leave or to an equivalent position with equivalent pay, benefits, and other employment terms and conditions. However,
associates have no greater right to reinstatement than if they had been continuously employed (rather than on leave). For example, if an associate would have been laid off had he/she not gone on leave, or if his/her position has been eliminated during the leave, then
he/she will not be entitled to reinstatement. Further, certain “key” associates of the Company might not be reinstated to their former position. “Key” associates will be notified of their status in writing when they apply for FMLA leave.

Associates who do not return to work upon their scheduled return from FMLA, or who have not received an approved extension of leave, will be considered to have voluntarily resigned from their employment.

MILITARY LEAVE

The Company recognizes that some of its associates may choose, or be asked, to serve their country by joining the uniformed services. These associates deserve appreciation and respect from their co-workers and management when they depart for service and when they
resume their civilian careers.
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Associates who are absent from work due to service in the uniformed services will be granted military leaves of absence as, and to the extent required by the Uniformed Services Employment and Reemployment Rights Act (“USERRA”) and any other applicable state
law. To obtain such military leave, associates must notify the Company of their need for leave verbally or in writing unless military necessity prevents the giving of notice, or the giving of notice is otherwise impossible or unreasonable.

Unless otherwise required by law, an associate’s benefits will be continued for a maximum of 30 days from the associate’s first day of leave. Thereafter, associates shall be offered the opportunity to elect to continue their benefit coverage up to 24 months at their own
expense pursuant to COBRA.

Paid Leave Up To 15 Days

In addition, all hourly and salaried full-time and regular part-time associates who are absent from work due to service in the military are also eligible for up to 15 calendar days of paid military leave each calendar year. Full-time associates shall receive eight hours of pay
for each day and part-time associates shall receive four hours of pay for each day. Any military leave of absence beyond these 15 calendar days will be unpaid, unless otherwise required by law.

To be placed on paid military leave, an associate must provide his/her manager with a written request along with the official military orders with the beginning and end date of active duty. An associate’s health benefits will remain the same during the leave of absence
and his/her portion of benefit costs will continue to be deducted from the associate’s paychecks.

Upon return from approved paid military leave, associates must present a copy of their military release papers. Any pay received by the associate from the government for military service associated with the first 15 days of military leave shall be reimbursed to the
Company unless prohibited by state law.

COMPANY MEDICAL LEAVE

If an associate is not eligible for medical leave for his/her own medical condition under the FMLA or state law, the associate may, at the Company’s discretion, be permitted to take an unpaid Company medical leave of absence. Associates become eligible for Company
medical leave after 90 consecutive calendar days of employment. For more information, contact Leave Administration at 1-866-431-8484.

PERSONAL LEAVE

Personal leave may be granted at the discretion of the Company to associates who have completed six consecutive months of service. Personal leaves are unpaid; however, the associate must use any available PTO concurrently with their approved personal leave. A
personal leave may be granted:

 • For emergencies or extreme personal hardships provided the absence does not conflict with departmental/store workload; or

 • When an associate needs to relocate to another store with the Company.

Personal leave of absence requests must be made in writing and approved by an associate’s manager, HR Business Partner, and Regional Manager/Department Leader (or higher level manager) prior to the effective date of the leave. A personal leave of absence will not
be granted to attend school or to extend another type of leave of absence.

Generally, an unpaid personal leave of absence may be granted for a period of up to 30 days. Extensions will be approved only in exceptional circumstances in increments of 15 days, up to a maximum of 90 days. PTO may not be used to extend a personal leave beyond
90 days. The Company reserves the right to cancel a personal leave of absence before an associate’s expected return date.

If an associate fails to obtain an approved extension of a personal leave of absence before the approved leave period has lapsed, the Company will assume that the associate has voluntarily terminated his/her employment if the associate does not return to work within
two days following the end of an approved leave.

BEREAVEMENT LEAVE

Full-time and part-time associates are entitled to paid bereavement leave for the death of an immediate or non-immediate family member as defined below. Full-time associates receive eight hours of pay for each day off. Part-time associates receive four hours of pay for
each day off. The Company reserves the right to require documentation of the need for bereavement leave.

An associate will receive up to three consecutive days of time off with pay for the death of an immediate family member, which includes the associate’s spouse or domestic partner, children, parents, grandparents, grandchildren and the associate’s siblings. The term
immediate family member applies to the associate’s relationships, whether they are established by blood or marriage (e.g., in-law, step relationships).

An associate will also receive up to one day of paid time off for the death of a non-immediate family member, which includes the associate’s aunt, uncle, cousin, niece or nephew. The term non-immediate family member applies to the associate’s relationships, whether
they are established by blood or marriage (e.g., in-law, step relationships), and includes second or third relatives and “great” relatives.

If a close relationship exists other than those listed, an associate may request PTO in order to attend a funeral, memorial service, wake, etc. Approval of such requests is within the discretion of the Company.
                                                                                     Case: 4:18-cv-01646-CDP Doc. #: 10-1 Filed: 10/04/18 Page: 78 of 93 PageID #: 197

The Company will comply with all applicable bereavement leave laws of the states in which its stores and associates are located.

JURY DUTY LEAVE

Full-time and part-time associates may be eligible for paid jury duty leave. When an associate receives a court-ordered summons, he/she must notify his/her manager immediately and give him/her a copy of the jury duty summons. This will help the manager make the
proper work and pay arrangements for an affected associate.

Full-time associates receive eight hours of pay for each day off and part-time associates receive four hours of pay for each day off, up to a maximum of two weeks. If a full day of jury duty is not served, the associate must report back to work. When an associate receives
a government check as reimbursement for jury duty, the check must be endorsed over to the Company and forwarded immediately to the Payroll Department, unless prohibited by local law.

The Company will comply with all applicable jury
duty leave laws.

TIME OFF TO TESTIFY AS A WITNESS

Full-time and part-time associates may be granted unpaid time off as needed to testify as a witness proceedings related to crimes committed against the associate. Associates must notify their manager as soon as possible of the need for time off to attend a court
proceeding. If an associate needs additional time off as a result of a crime committed against him/her, the associate should contact his/her manager. They can also contact the HR Solutions Group by calling 1-866-431-8484 or emailing
HRSolutions@LuxotticaRetail.com. The Company will comply with all applicable laws regarding time off to testify as a witness.

TIME OFF TO VOTE

Associates generally should attempt to coordinate voting time either before or after their regular work schedule. If an associate is unable to vote in an election during his/her non-working hours through reasonable diligence, the Company may grant up to two hours of
unpaid time off to vote or additional time if required by law. Associates must request time off to vote from their manager at least two working days prior to the day of the election. Associates must demonstrate why they cannot vote during non-working hours. If time off
is granted, the Company shall determine in its sole discretion the hour(s) designated as time off to vote. The Company will comply with all applicable voting leave laws.

CALIFORNIA LEAVES OF ABSENCE

California associates should refer to the California Addendum information at the end of Section V for additional leaves that apply only to associates in California.

ADDITIONAL LEAVES OF ABSENCE NOT LISTED IN THIS GUIDE

As state laws or Company policies are enacted or amended, additional types of leaves may be available to an associate. Please check with Leave Administration at 1-866-431-8484 for any additional leave type(s) that may be available for your
particular need for leave.


    I acknowledge that I have had the opportunity to review the above section(s) of the Associate Guide – Part IV (Work Environment, Leaves of Absence).
NOTE: You will not be permitted to sign and submit the mandatory Associate Guide Acknowledgement on the last page until you select this checkbox.
Associate Guide (Part V)


Associate Benefits
This section provides an overview of the Company’s comprehensive and competitive benefit offerings. For details on benefit options and eligibility requirements, refer to specific benefit materials and the current Summary Plan Descriptions (SPD) provided during the
hiring process or during Annual Enrollment for health and wellness benefits. Current SPDs can also be accessed any time through the Benefits Enrollment website, or by contacting the Luxottica Human Resource Service Center at 1-866-431-8484. If there is any
conflict between the statements in this Associate Guide and an SPD, the SPD shall govern in all cases.

The Company reserves the right to modify or terminate any benefit plan or policy at any time in its sole discretion.

PAID-TIME OFF (PTO)

Rather than separate vacation time, personal time and sick time, the Company combines each of these benefits into a single category called Paid Time Off (PTO). PTO gives associates more flexibility to use paid days off from work as the associate chooses. PTO is
available to all full-time US associates.

PTO Accrual and Use
                                                                                     Case: 4:18-cv-01646-CDP Doc. #: 10-1 Filed: 10/04/18 Page: 79 of 93 PageID #: 198


PTO is accrued each pay period based on hours paid and is calculated according to an associate’s PTO service date (the most recent start date of full-time employment). Associates begin to accrue and use PTO on the first day of full-time employment and continue to
accrue PTO every week that they are active and working. Hourly associates do not accrue PTO while on a Leave of Absence (LOA). PTO Accrual Schedules are as follows:

US Retail Stores Accrual Schedule:
Length of Service Accrual Rate Annual Maximum

0 to 1 year          0.0192 hours 40 hours
                    per hour paid

1 year to 5 years    0.0576 hours 120 hours
                    per hour paid

5 years to 10 years 0.0769 hours 160 hours
                  per hour paid

10 years or more 0.0962 hours 200 hours
                per hour paid

Cincinnati Service Center and Field Management Accrual Schedule:

Length of Service Accrual Rate Annual Maximum

0 to 5 years         0.0576 hours 120 hours
                    per hour paid

5 years to 10 years 0.0769 hours 160 hours
                  per hour paid

10 years or more 0.0962 hours 200 hours
                per hour paid

Hourly associates’ PTO balance is shown on each pay stub. Associates must request approval to use PTO from their immediate supervisor as far in advance as possible. PTO will be approved in consideration of business operations. Failure to notify management when
missing work constitutes an unexcused absence and may result in corrective action even if an associate has PTO available and whether or not PTO is used to cover the absence.

PTO taken is entered by the associate’s manager in the payroll system during each pay cycle. As with hours worked, it is the associate’s responsibility to ensure PTO taken is accurately reported. Salaried associates should maintain an up-to-date record of their PTO.

Borrowed PTO

Unless an associate is on a LOA, he or she may be permitted to borrow PTO before it has been accrued, creating a negative PTO balance. Effective January 1, 2015, the maximum PTO balance an associate may borrow is 40 hours. Associates whose PTO balance
exceeds the maximum negative balance allowed will not be eligible to take PTO until they return to below the maximum threshold. If an associate terminates Luxottica with a borrowed PTO balance, Luxottica will withhold the borrowed PTO from the associate’s final
paycheck, where permitted by law.

PTO Carryover and Payout

Although associates are encouraged to take time off throughout the year, associates may elect to carry over up to 40 hours of PTO into the next year. Any hours over 40 will be forfeited.

Note: Some associates are eligible for unlimited carryover, subject to a maximum balance limit. This applies to all full-time associates working in California and full-time associates working in Illinois who were hired prior to January 1, 2015. If an associate reaches the
set maximum balance limit, they will stop accruing PTO until they take time off. Unused PTO hours will automatically carryover to their new year provided it does not cause the balance to exceed the maximum limit. For additional information on maximum balance
limits, please refer to the full PTO policy that is available on Luxottica’s intranet, or your brand-specific online communications channel.

Accrued and unused PTO hours will be paid out to an associate upon either termination or a change from full-time status to part-time or casual part-time status.
                                                                                         Case: 4:18-cv-01646-CDP Doc. #: 10-1 Filed: 10/04/18 Page: 80 of 93 PageID #: 199

Additional PTO Benefits

State or local laws may provide additional PTO benefits, including paid sick and safe time leave. For questions and more specific details regarding these and other PTO benefits, please refer to the full PTO policy on Luxottica’s intranet, or your brand-specific online communications
channel. You can also contact the HR Solutions Group at 1-866-431-8484 or HRSolutions@LuxotticaRetail.com.

HOLIDAYS

Once benefit eligible, full-time and part-time associates are entitled to paid holidays and Diversity Days. Holiday and Diversity Day entitlements vary based on an associate’s brand/location and years of service. Please refer to your brand/location’s Annual Holiday
Schedule for details. Casual part-time and Seasonal associates are not eligible for holiday pay.

Holidays are paid at the regular hourly wage or salary rate, unless otherwise required by state and/or local laws. Full-time associates receive a day off work with eight hours pay. Part-time associates receive a day off work with four hours pay.

To receive holiday pay, associates must work their scheduled day before and after the scheduled holiday. For an absence due to illness on one or both of these scheduled days, a doctor’s note must be provided to maintain eligibility for holiday pay.

At locations that are closed on a holiday, associates will be given the day off with full pay.

Associates who work on a holiday can take their paid holiday anytime from 30 days prior to, or 30 days after the actual holiday with supervisor approval.

Unless otherwise prohibited by state law, associates may not sell back holiday hours, and will not be paid out any unused holiday hours if the associate terminates his or her employment with the Company.

HEALTH & WELLNESS BENEFITS

Medical, Dental & Insurance Benefits

Full-Time Associates

The Company is committed to providing eligible full-time associates and their eligible dependents with comprehensive and quality benefits programs that best meet their needs. The Company’s goal is to keep the associate share of medical premiums as low as possible,
while maintaining quality benefits. In fact, it is our priority to ensure that Luxottica’s benefits are competitive with the companies with whom we compete for talent.

To receive coverage, eligible associates must complete enrollment before the date specified on the associate’s benefits website home page at www.LuxotticaBenefits.com. Look for the Enroll Now module and complete enrollment by the date specified.

Associates who need to enroll in or change benefits selections due to a Qualified Status Change Event (birth, adoption, marriage, etc.) must complete enrollment with 31 days of the date of the Qualified Status Change Event.

Failure to complete or provide all required enrollment information in a timely manner may delay or impair the associate’s eligibility for benefits.

For full-time Benefit details refer to the Benefits Summary Plan Description, which can be found online under the My Enrollment Resources module on our benefits website at www.LuxotticaBenefits.com, or contact the Luxottica Human Resource Service Center at 1-866-431-8484.

Part-Time and Casual Part-Time Associates

The Company is committed to providing eligible part-time and casual part-time associates and their eligible dependents with comprehensive and quality benefits programs that best meet their needs.

To be eligible for timely coverage, enrollment must be completed within 30 days of being hired as a part-time or casual part-time associate, moving from full-time to part-time or casual part-time, or experiencing a Qualified Status Change Event.

Failure to complete or provide all required enrollment information in a timely manner may delay or impair the associate’s eligibility for benefits.

For part-time and casual part-time benefit details refer to the Benefits Summary Plan Description, which can be found online under the My Enrollment Resources module on our benefits website at
www.LuxotticaBenefits.com or contact the Luxottica Human Resource Service Center at 1-866-431-8484.

SHORT TERM DISABILITY

Short Term Disability (STD) benefits provide an eligible full-time associate the ability to receive a portion of his/her pay if the associate needs time away from work for his/her own certified medical condition. The Company provides STD benefits at no cost to
associates. Associates in New York, New Jersey, Hawaii, Rhode Island and California must apply for state disability benefits through the state, in addition to applying for short term disability benefits offered through the Company.
                                                                                       Case: 4:18-cv-01646-CDP Doc. #: 10-1 Filed: 10/04/18 Page: 81 of 93 PageID #: 200

Associates should contact our disability carrier to apply for STD benefits. The number can be found in the associate’s leave of absence packet, on Luxottica’s intranet, or your brand-specific online communications channel, or by emailing
BenefitsDept@luxotticaretail.com. A representative from our disability carrier will work with the associate to determine if he/she is eligible for STD benefits. An associate’s health care provider will be required to submit separate medical documentation.

Associates are not eligible to concurrently receive STD benefits and workers’ compensation benefits. For further details on the Short Term Disability Plan, associates should refer to the Summary Plan Description, which can be found online under the My Enrollment
Resources module on our benefits website at www.LuxotticaBenefits.com.

EMPLOYEE ASSISTANCE PROGRAM (EAP)

The Company offers access* to an Employee Assistance Program (EAP) as part of our commitment to provide comprehensive, quality benefits. This benefit is provided at no cost to associates.

EAP is a confidential, support and referral service with resources to help you maximize productivity while balancing life’s realities and challenges, such as: child care and parenting, aging parents, financial and legal concerns, work, career, emotional well-being,
addiction and recovery and more.

To access the EAP:

U.S full-time associates: Anthem EAP, 1-800-865-1044 or www.AnthemEAP.com

U.S. part-time associates (only if you elect the SRC Medical Plan): SRC, 1-888-772-9682 or www.src-web.com

*Part-time associate access requires paid participation in the SRC medical plan.

RETIREMENT

Tax Incentive Savings Plan – 401(k)

All associates are eligible to participate in the 401(k) plan as soon as administratively practicable (generally after the receipt of his/her first paycheck). An associate who has reached the age of 21 and has worked at least 1,000 hours (both full and part-time) in their first
year of employment or subsequent calendar year for the Company may be eligible for matching contributions. For details, refer to the Luxottica Group Tax Incentive Savings Summary Plan Description, which can be found online under the My Enrollment Resources
module on our benefits website at www.LuxotticaBenefits.com.

Pension Plan

Associates hired or rehired prior to January 1, 2014 and who have worked one year with at least 1,000 hours and are 21 years old or older are eligible for the Luxottica Group Pension Plan (certain vesting requirements apply before an associate can receive benefits).
This plan provides benefits to an associate when he/she retires. The benefits an associate receives are based on length of service. Enrollment in the plan is automatic once you meet the eligibility criteria. For details, refer to the Luxottica Group Pension Summary Plan
Description, which can be found online under the My Enrollment Resources module on our benefits website at www.LuxotticaBenefits.com.

ADDITIONAL BENEFITS AND EXTRA PERKS

Full-time and part-time associates are eligible to receive voluntary benefits and extra perks as thanks for their hard work and commitment to the Company. These additional benefits and perks expire immediately upon an associate’s last day of employment with the
Company.

Annual and Milestone Eyewear Certificates

Each year on their Luxottica service anniversary, associates receive an eyewear certificate which entitles them to a free pair of eyewear from a Luxottica store. Eyewear certificates are valid for one year from the associate’s service anniversary date. In addition, at each
five-year milestone service anniversary (5, 10, 15, 20, 25, etc. years), associates receive a second eyewear certificate.

If an associate does not receive his/her certificate(s) by the 15th of their anniversary month, he/she should notify his/her Regional Manager/Department Leader, who should notify CompEyewear@aonhewitt.com to request a replacement certificate.

Only an associate or the associate’s eligible dependent, as defined by the Luxottica Group Benefit Plan, may redeem an annual eyewear certificate. If redeemed by an associate’s dependent, the associate must accompany the dependent at the time of redemption.
Milestone eyewear certificates may be redeemed by the associate or any individual of his/her choice.

Proper identification is required when redeeming certificates. Certificates cannot be sold. Eyewear redeemed with the eyewear certificate is not for resale under any circumstances. Refer to the eyewear certificate and related documents for additional usage information,
including redemption restrictions.

Eyewear Discount
                                                                                      Case: 4:18-cv-01646-CDP Doc. #: 10-1 Filed: 10/04/18 Page: 82 of 93 PageID #: 201


The Luxottica Associate Eyewear Discount entitles associates to receive the Company’s best discounts at Luxottica stores when purchasing prescription or non-prescription eyewear, sun wear, and other items.

Use of the associate eyewear discount is subject to the following restrictions:

 • The discount may be used to purchase eyewear for yourself, immediate family members, or gifts for which you receive no reimbursement. For purposes of this benefit, “immediate family” means family members who are allowed as a federal tax exemption by the
    associate.

 • Reimbursement in any form cannot be accepted for purchases made with your discount.

 • Items purchased using the discount may not be resold for profit.

 • Associates may not process their own transaction or the transactions of an immediate family member.

Associates who violate the discount policy may be subject to corrective action.

Online Discount Marketplace

The online discount marketplace features easy access to significant savings with top national brands. It features over 500 top vendors of goods & services in apparel, automotive, beauty and more!

Go online to the My Discounts module on www.LuxotticaBenefits.com for information about associate discounts at Luxottica stores and other merchants and service providers nationwide.

CRISIS ASSISTANCE PROGRAMS

As we work together every day, co-workers can become close friends. While we are a large organization, we are fortunate to have a culture of caring associates who often become part of our extended family. Over and over our associates demonstrate generosity and
compassion in how we treat each other every day and how we support each other in life’s most joyful and most difficult moments. The Company created the Guardian Angel and Give A Day Programs, so associates can help co-workers by donating money or paid time
off when they experience a crisis.

Give a Day Program

This program is designed to allow full-time associates to help a co-worker with the gift of paid time off. Full-time associates can donate up to two days (16 hours) of their own unused Paid Time Off (PTO) to another full-time associate who needs time away from work.

To donate PTO to Give A Day, ask your manager for a Donor form. Complete the form and give it to your manager who will then complete a Give A Day Approval form and fax it to Payroll at 513-492-4418. If approved, the PTO time will be donated to the co-worker. For
additional information or questions contact the HR Solutions Group at 1-866-431-8484 or HRSolutions@LuxotticaRetail.com.

Guardian Angel Fund

A Guardian Angel Fund can be established to help an associate in need of monetary support as a result of a crisis. Associates may volunteer to participate as they wish, including through anonymous donations.

To financially assist a co-worker in times of crisis, associates should let their manager know they’d like to set up an account for donations for a co-worker and complete the Guardian Angel Program Request Form for approval by their manager. The manager may
contact the Members Trust Federal Credit Union to establish the account. The co-worker in need will receive a check directly from the Members Trust Federal Credit Union in the amount collected from donations.

For more information or questions on the Guardian Angel Fund program, contact the HR Solutions Group at 1-866-431-8484 or HRSolutions@LuxotticaRetail.com.

Members Trust Federal Credit Union

Members Trust Federal Credit Union is a full-service financial institution that is available to all associates and their family members (spouse, children, parents, etc.). A full range of deposit products is offered including savings accounts, free checking, certificate of
deposits, IRA and more. Members Trust also offers a complete lending solution, which includes overdraft protection loans, auto, home, home equity and three VISA card options.

For details call Members Trust at 1-800-769-8934, or visit www.memberstrust.org.

PROFESSIONAL DEVELOPMENT AND CAREER GROWTH

The Company provides associates with many opportunities for professional growth and development to help each associate take charge of his or her career path. This includes award-winning online training offered to all associates through Eye Grow, as well as tuition
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reimbursement and optician licensing. Other sources range from a Company lending library to classroom training and annual leadership conferences. Luxottica also offers external development assistance.

Tuition Reimbursement

Luxottica’s Tuition Reimbursement Program provides financial assistance to eligible full-time associates who seek to improve their job-related knowledge and skills through outside coursework. For eligibility criteria and more information, please visit
www.LuxotticaBenefits.com or call the Luxottica Human Resource Service Center at 1-866-431-8484.

Optician Reimbursement

Luxottica offers full and partial reimbursement of optician expenses for certain optician exams, development courses, continuing education, and licensing/renewal fees for associates who meet eligibility criteria. For more information on the Optician Reimbursement
Program, please visit www.luxopticians.com or email luxopticians@luxotticaretail.com.




                                                                                                                        California Addendum

CALIFORNIA MEAL PERIODS AND REST BREAKS

California law provides for employee meal periods and rest breaks. Luxottica complies with these laws, and expects its California managers to manage and enforce compliance.

Meal Periods

While working for Luxottica, associates may not work a period of more than five hours per day without being provided with the opportunity to take an uninterrupted, duty-free meal period of not less than 30-minutes, except that if the total work period per day of the
associate is no more than six hours, the meal period may be waived by mutual consent of both Luxottica and the associate through signing of the Voluntary Meal Period Waiver Acknowledgment section of the California Time Sheet Correction Form (or another
attestation form designated by Luxottica). Associates shall be provided with the opportunity to take this first meal period so that the meal period begins before the end of the fifth hour worked (for example, an associate who begins work at 9am shall be provided with the
opportunity to take his/her meal period by no later than 1:59pm).

Further, associates may not work a period of more than 10 hours per day without being provided with the opportunity to take a second uninterrupted, duty-free meal period of not less than 30-minutes, except if the total hours worked is no more than 12 hours, the
second meal period may be waived by mutual consent of Luxottica and the associate only if the first meal period was not waive d, and through signing of the Voluntary Meal Period Waiver Acknowledgment section of the California Time Sheet Co rrection Form
(or another attestation form designated by Luxottica). Associates shall be provided with the opportunity to take this second meal period so that the meal period begins before the end of the tenth hour worked.

Associates who work at locations that operate with single coverage staffing all or part of the time will be presented with a California On -Duty Meal Period Agreement at the time of hire. Signing this agreement is voluntary and associates may decline to sign the
agreement or, if an associate signs the agreement upon hire, may subsequently revoke the agreement at any time (in writing). Associates who voluntarily sign the California On-Duty Meal Period Agreement are entitled to take a paid, on-the-job 30-minute meal
period, rather than an unpaid, off-duty meal period, whenever the location is operating with single coverage staffing. Unpaid, off-duty meal periods should still be provided, however, for all associates not operating with single coverage staffing for that shift (i.e.,
two or more associates are working in the store at the same time).

Rest Breaks

Hourly associates are authorized and permitted to take one paid rest break of 10 minutes (or 15 -minutes in accordance with Company policy) for every four hours worked, or major fraction ther eof. If an associate’s total daily work time is less than three and
one half hours, however, no rest break is required. Rest breaks should occur as close to the middle of each work period as pr actical. Rest breaks may not be combined with or added to meal periods to create one longer break time, even at the associate’s
request. Hourly associates do not clock out/in for rest breaks or otherwise record their rest breaks in the store Point of Sa le (POS) system.

Rest breaks are authorized and permitted as follows:

              Hours Worked             Rest Break(s)
                0 to 3.5                    0
                3.5 to 5                    1

         More than 6 and up to
                                            2
           and including 10
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  More than 10 but up to and including 12    3




Consequences of Non-Compliance

Hourly associates are entitled to be paid for all hours worked, to be provided with the opportunity to take all required meal periods, and authorized and permitted to take all required rest breaks. Therefore, it is critical that all hourly associates (including managers)
strictly comply with this policy. Associates who are not provided with the opportunity to take meal periods in accordance with this policy and/or who are not authorized and permitted to take rest breaks in accordance with this policy should notify management and/or
Human Resources so that the matter can be remedied. If an associate fails to comply with the meal period and rest break policy, he/she may be subject to corrective action.

Questions and Complaints

Associates may bring any questions regarding their meal or rest period rights to the attention of their manager or, if they prefer, the HR Solutions Group. Store Managers, Regional Managers, and Regional Vice Presidents DO NOT have the authority to alter this policy.
If an associate is told that he/she is not entitled to meal periods or rest breaks as set forth under this policy, the associate should contact the HR Solutions Group immediately at 1-866-431-8484 or HRSolutions@LuxotticaRetail.com.

CALIFORNIA FAMILY AND MEDICAL LEAVE

This policy supplements, and should be read in conjunction with, the Company Family Medical Leave Act (FMLA) policy found in the Associate Guide. To the extent the FMLA policy in the Associate Guide conflicts with a policy in this Addendum, California
employees should follow the policy in the Addendum.

In addition to the requirements and benefits set forth in the Company FMLA policy, California associates are entitled to certain additional leave benefits under the California Family Rights Act (CFRA). This Addendum highlights these additional benefits. Any leave
taken under the CFRA will run concurrently with leave taken under the federal FMLA, except where not permitted by law (e.g., during pregnancy disability leave).

Reasons for Leave

In California, FMLA/CFRA leave may be used for one of the following reasons:

 1. The birth, adoption, or foster care of an associate’s child within 12 months following birth or placement of the child;

 2. An associate’s own serious health condition;

 3. To care for an associate’s immediate family member (spouse, registered domestic partner, child or parent) with a serious health condition;

 4. A “qualifying exigency,”[1] as defined under the FMLA, for military operations arising out of a spouse’s, child’s, or parent’s active duty or call to active duty as a member of the military reserves or National Guard in support of a “contingency operation” declared by
    the U.S. Secretary of Defense, President or Congress, as required by law (“Military Emergency Leave”); or

 5. To care for a spouse, child, parent or next of kin (nearest blood relative-who is an Armed Forces member (including the military reserves and National Guard) undergoing medical treatment, recuperation, or therapy, is otherwise in an outpatient status, or is otherwise
    on the temporary disability retired list-with a serious injury or illness incurred in the line of duty while on active duty that may render the individual medically unfit to perform his or her military duties (“Military Caregiver Leave”)[2].

Length of Leave

The maximum amount of FMLA/CFRA leave will be 12 work weeks in any 12-month period when the leave is taken for paragraphs one – four above. However, if both parents work for the Company and are eligible for leave under this policy, the parents will be limited
to a total of 12 work weeks off between the two of them when the leave is for birth, adoption or foster care.

The maximum amount of FMLA leave for an associate wishing to take Military Caregiver Leave, paragraph five above, will be a combined leave total of 26 work weeks in a single 12-month period. However, only 12 out of the 26 weeks will count as leave under CFRA
assuming the military caregiver leave also qualifies as CFRA.

The Company designates the 12-month period during which the associate may take FMLA/CFRA leave for any qualifying reason by measuring a “rolling” 12-month period backwards from the date the associate takes any FMLA/CFRA leave.

Under some circumstances, you may take FMLA/CFRA leave intermittently-which means taking leave in blocks of time, or by reducing your normal weekly or daily work schedule. Leave taken intermittently may be taken in increments of one hour.

CFRA and FMLA leaves will run concurrently to the extent allowed by law. In addition, should you exhaust CFRA and/or FMLA and require additional time off, the company will consider requests for additional discretionary leave on a case-by-case basis.
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CALIFORNIA PREGNANCY DISABILITY LEAVE

Leave Entitlement

Any associate who is “actually disabled” by pregnancy, childbirth, or a related medical condition is eligible for a pregnancy disability leave of absence. There is no length of service requirement.

For purposes of this policy, you are “actually disabled” when, in the opinion of your healthcare provider, you cannot work at all or are unable to perform any one or more of the essential functions of your job or to perform them without undue risk to yourself, the
successful completion of your pregnancy, or to other persons as determined by a health care provider. This term also applies to certain pregnancy-related conditions, such as severe morning sickness or if you need to take time off for prenatal or postnatal care, bed rest,
post-partum depression, and the loss or end of pregnancy (among other pregnancy-related conditions that are considered to be disabling).

Duration of the Leave of Absence

A pregnancy disability leave of absence will last for the duration of your pregnancy-related disability as certified by your health care provider for up to four months. Leave is available for all disabilities related to each pregnancy and does not need to be taken in one
continuous period of time. The maximum leave entitlement for part-time or alternative scheduled associates will be prorated in accordance with applicable law in the event the associate takes intermittent leave.

Leave taken under the pregnancy disability leave policy runs concurrently with Family and Medical Leave under federal law (FMLA), but not with Family and Medical Leave under California Law (CFRA).

Transfer to Less Strenuous Position

The Company will transfer an associate “affected by pregnancy” to a less strenuous or hazardous position or duties if:

 • She requests a transfer;

 • The request is based upon the certification of her health care provider as “medically advisable;” and

 • The transfer can be reasonably accommodated.

You are “affected by pregnancy” if you are pregnant or have a related medical condition, and because of pregnancy, your health care provider has certified that it is medically advisable for you to transfer. No additional position will be created and the Company will not
discharge another associate, transfer another associate with more seniority or promote or transfer any associate who is not qualified to perform the new job.

Advance Notice and Medical Certification

As a condition of a pregnancy disability leave of absence or a transfer, the associate must:

 • Provide 30 days advance notice before the leave of absence or transfer is to begin, if the need for the leave of absence or transfer is foreseeable, or when 30 days notice is not foreseeable, as soon as practicable; and

 • Provide a signed medical certification from your health care provider, that states that you are disabled due to pregnancy or that it is medically advisable for you to be transferred to a less strenuous or hazardous position or to less strenuous or hazardous duties.

The Company shall respond to requests for leave or transfer within 10 days after receipt of such request. The Company may require you to provide a new certification if you request an extension of your leave of absence.

Return to Work

If you and the Company have agreed upon a definite date of return from your leave of absence or transfer, you will be reinstated on that date if you notify the Company that you are able to return on that date. If the length of the leave of absence or transfer has not been
established, or if it differs from the original agreement, you will be returned to work within two business days, where feasible, after you notify the Company of your readiness to return.

Before you will be allowed to return to work following a leave of absence or transfer, you must provide your supervisor with a certification from your health care provider that you can perform safely all of the essential duties of your position, with or without reasonable
accommodation. If you do not provide such a release prior to or upon reporting for work, you will be sent home until a release is provided. This time before the release is provided will be unpaid.

Upon submitting an acceptable health care provider release to return to work, you will be returned to the same or a comparable position upon the conclusion of your leave of absence or transfer. If the same position is not available on your scheduled return date, the
Company will provide you a comparable position on your scheduled return date or within 60 calendar days of that return date. However, you will not be entitled to any greater right to reinstatement than if you had not taken the leave. For example, if you would have
been laid off regardless of the leave, or you would not have been offered a comparable position, you will not be entitled to reinstatement. Failure to return to work at the conclusion of the leave of absence may result in termination of employment.

Integration with Other Benefits

Pregnancy disability leaves of absence are unpaid. You may elect to use accrued Paid Time Off (PTO) benefits during the unpaid leave of absence. PTO will not accrue for hourly associates during any unpaid portion of the leave of absence, and you will not receive pay
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for official holidays that are observed during your leave of absence except during those periods when you are substituting PTO for unpaid leave.

Associates should apply for California State Disability Insurance (SDI) benefits. SDI forms are available from the Company or your health care provider. Any SDI for which you are eligible may be integrated with accrued PTO or other paid time off benefits so that you
do not receive more than 100% of your regular pay.

The Company will maintain an associate’s health insurance benefits during the associate’s pregnancy disability leave for a period of up to four months on the same terms as they were provided prior to the leave time. The associate will be required to
continue to pay all required premiums and must make these payments in compliance with Company policy on a monthly basis during leave time (except during any periods of time when the associate is taking PTO). In some instances, the Company
may recover premiums it paid to maintain health insurance benefits if you fail to return to work following a pregnancy disability leave for reasons other than taking additional leave afforded by law or Company policy or not returning due to
circumstances beyond your control.




[1]
       Leave for a “qualifying exigency” in California will only count as leave under the FMLA and will not count as leave time under the CFRA




[2]
        Military caregiver leave in California generally will only count as leave under the FMLA and will not count as leave time under the CFRA, unless the leave independently meets the requirements of leave to care for an ill family member under the CFRA.




    I acknowledge that I have had the opportunity to review the above section(s) of the Associate Guide – Part V (Associate Benefits, Addendum for California Associates).
NOTE: You will not be permitted to sign and submit the mandatory Associate Guide Acknowledgement on the last page until you select this checkbox.
Associate Agreements Overview


IMPORTANT NOTE TO ASSOCIATES:

This section contains the following agreements:

 • Confidential Information and Non-Solicitation Agreement

 • Inventions Agreement

 • Dispute Resolution Agreement

 • Release for Use of Likeness, Voice and Name Agreement

 • Electronic Protected Health Information (ePHI) Agreement

These agreements (each of which is referred to herein as an “Agreement”) apply to all associates of Luxottica Retail North America, Inc. in the United States (“Luxottica”) including associates working at LensCrafters, Pearle Vision, Sears Optical, Target Optical,
Sunglass Hut, Apex by Sunglass Hut, ILORI, Optical Shop of Aspen and EYEXAM of California, Inc., RX Operations and Distribution, as well as any other employer that becomes a part of the Luxottica group of companies (collectively, “the Company,” “we,” “our”
or “us”). An associate Acknowledgment and Agreement form is provided at the end of this section. You should read these agreements carefully before signing the Acknowledgment and Agreement. Your at-will employment with the Company, whether new or
continuing, is in consideration of and is conditioned upon your acceptance of the terms of these agreements. Your refusal to sign the Acknowledgment and Agreement will result in the withdrawal of our offer of employment to you if you are an applicant and the
termination of your employment if you are a current associate. Associates are permitted, however, to opt-out of the Dispute Resolution Agreement found in this Guide within 30 days of receipt. Violation of any portion of the Agreements will subject the associate to
corrective action, up to and including termination of employment.

SEVERABILITY

If any provision (or any portion of any provision) of the Associate Agreements is held by a court to be illegal, invalid, or unenforceable in any respect, the Company and the associate agree that such provision (or portion of such provision) shall be deemed to be modified
only as necessary to permit its enforcement to the maximum extent permitted by applicable law (except that the Company does not agree under any circumstances to a modification of the Associate Agreements to permit a class action, representative action, or collective
action to be adjudicated in an arbitration forum). In this event, the remainder of this Agreement shall not be affected thereby.

GOVERNING LAW
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These Associate Agreements are made and entered into under the laws of the State of Ohio, and shall in all respects be interpreted, enforced and governed under the laws of Ohio, without giving effect to conflicts of laws principles.

LUXOTTICA ASSOCIATE GUIDE ACKNOWLEDGMENT AND AGREEMENT

After reading the following agreements, all associates are required to complete their “Luxottica Associate Guide Acknowledgment and Agreement” within three days of their hire date, as a condition of employment. Associates are permitted, however, to opt-out of the Dispute
Resolution Agreement within 30 days of receipt. The Company’s preferred method of completion is electronically in Eye Grow; however, a paper completion option is available upon request by contacting your manager or the HR Solutions Group at 1-866-431-8484 or
HRSolutions@LuxotticaRetail.com.

The “Luxottica Associate Guide Acknowledgment and Agreement” is located on the last page of this Guide. Associates who complete a paper version of this page, rather than electronic, should return the completed Acknowledgment page to
their manager for further processing.


    I acknowledge that I have been given the opportunity to review the above Associate Agreements Overview
NOTE: You will not be permitted to sign and submit the mandatory Associate Guide Acknowledgement on the last page until you select this checkbox.
Confidential Information and Non-Solicitation Agreement


Confidential Information and Non-Solicitation Agreement
In consideration of and as a condition of your new and continuing at-will employment, you agree as follows:

1. CONFIDENTIAL INFORMATION

    a. You understand that, during your employment with the Company, you will acquire and be exposed to Confidential Information of the Company. “Confidential Information” includes all ideas, information and materials, tangible or intangible, not generally known to
the public, relating in any manner to the business of the Company, its products and services (including all trade secrets), its officers, directors, and contractors, its clients, vendors and suppliers, and all others with whom it does business, its trade secrets, its pricing,
margins, and other financial information, that you learn or acquire during your employment with the Company. Confidential Information includes, but is not limited to, manuals, documents, computer programs and software used by the Company, all formulas or
processes, users manuals, compilations of technical, financial, legal or other data, customer and client or prospective customer and client lists, names of suppliers or vendors, client, supplier or vendor contact information, customer and client contact information,
customer health information, business referral sources, specifications, designs, devices, inventions, processes, business or marketing plans or strategies, pricing information, information regarding the identity of the Company’s designs, mock-ups, prototypes, source
code, passwords, and works in progress, all other research and development information, forecasts, financial information, and all other technical or business information including all trade secrets. Confidential Information does not include publicly available information
or information that is generally known and used within the industry or industries in which the Company engages in business. This provision does not prohibit disclosing or discussing information about the Company’s wages, hours or other working conditions that is
generally known within the Company, but employees who have access to the Company’s confidential records are prohibited from disclosing information contained in those records. You are expected to contact your supervisor if a question arises as to what is included.

   b. You agree to hold in trust and confidence all Confidential Information during and after the period of your employment with the Company. You shall not disclose any Confidential Information to anyone outside the Company without the written approval of an
authorized representative of the Company or use any Confidential Information for any purpose other than for the benefit of the Company as required by your authorized duties for the Company. At all times during your employment with the Company, you shall comply
with all of the Company’s policies, procedures, regulations or directives relating to the protection and confidentiality of Confidential Information. Upon termination of your employment with the Company, (a) you shall not use Confidential Information, or disclose
Confidential Information to anyone, for any purpose, unless expressly requested and authorized to do so in writing by an authorized representative of the Company, (b) you shall not retain or take with you any Confidential Information in a Tangible Form (defined
below) (nor shall you retain any copies of Confidential Information), and (c) you shall immediately deliver to the Company all Confidential Information in a Tangible Form (or otherwise) that you may then or thereafter hold or control, as well as all other property,
equipment, documents or things that you were issued or otherwise received or obtained during your employment with the Company. Without limiting the foregoing, to the extent you included Confidential Information in your cellular or personal telephones,
smartphones, tablets, personal computers or other electronic devices, including personal electronic mail accounts (such as investor, customer or vendor names and contact information), immediately upon termination of your employment, you shall delete and shall not
retain the Company’s Confidential Information in any or all of your cellular or personal telephones, smartphones, tablets, personal computers or other electronic devices, including personal electronic mail accounts. “Tangible Form” includes ideas, information or
materials in written or graphic form, on a computer disc or other medium, or otherwise stored in or available through electronic, magnetic, videotape or other form.

2. NON-SOLICITATION OF CUSTOMERS/CLIENTS

Following the termination of your employment with the Company for any reason, you shall not, directly or indirectly, use or disclose any Confidential Information, including any trade secrets, in order to solicit, induce, or attempt to solicit or induce, any person or entity
then known to be a customer or client of the Company (a “Restricted Customer/Client”), to terminate his, her or its relationship with the Company or otherwise divert their business for any purpose or no purpose. This Section 2 seeks to protect the Company’s trade
secrets and/or to prohibit you from disclosing or using Confidential Information; accordingly, if, during your employment, you never learned nor were exposed to Confidential Information regarding the identification of such customers/clients or customer/client contact
information, pricing information, business development information, trade secrets, sales and marketing plan information, financial information or other Confidential Information, you shall not be restrained from such solicitation or attempted solicitation but you shall not
use Confidential Information during or in connection with any such solicitation, nor shall you interfere with the Company’s contractual or prospective economic relationships with any customer or client through unlawful means.

3. NON-SOLICITATION OF PERSONNEL

During your employment with the Company and for one year thereafter, you shall not, directly or indirectly, solicit, induce, recruit or attempt to solicit, induce or recruit, any person known to you to be an employee of the Company or any of its affiliates or who left the
employ of the Company and/or any of its affiliates less than six months prior (each such person, a “Company Person”), to terminate his or her employment or other relationship with the Company, for any reason and/or to perform work for a competitor. Nor shall you
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during the same period disclose any Confidential Information about other employees to any other person, for purposes of solicitation or otherwise. The foregoing shall not be violated by general advertising not targeted at Company employees.

4. RETURN OF DOCUMENTS AND MATERIALS

Immediately upon the termination of your employment or at any time prior thereto if requested by the Company, you shall repay all cash advances and return all keys, tools, security and credit cards, cell phones, laptops, records, documents, equipment, proposals, notes,
lists, files, and any and all other materials, including but not limited to Confidential Information, that refers, relates or otherwise pertains to the Company and its business, including its products and services, personnel, customers or clients (actual or potential), investors
(actual or potential), and/or vendors and suppliers (actual or potential), or any of them, and any and all business dealings with said persons and entities (the “Returned Property and Equipment”) to the Company at its offices in Mason, Ohio or such other location as
approved in writing by your manager or supervisor. You are not authorized to retain any copies or duplicates of the Returned Property and Equipment or any Confidential Information that you obtained or received as a result of your employment or other relationships
with the Company.

5. CONFIDENTIAL INFORMATION OF OTHERS/COMPLIANCE WITH LAWS

You shall not breach any lawful, enforceable agreement to keep in confidence, or to refrain from using, the nonpublic ideas, information or materials of a third party, including, but not limited to, a former employer or present or former customer or client. You shall not
bring or disclose any such ideas, information or materials to the Company, use any such ideas, information or materials in connection with your employment, or induce the Company to use such ideas, information or materials of others. You shall comply with all
national, state, local and other laws, regulations and ordinances.

6. PROVISIONAL JUDICIAL RELIEF

This Agreement does not prevent the Company from seeking provisional judicial relief, such as a preliminary injunction or a temporary restraining order, in aid of, or to preserve, an arbitrator’s jurisdiction to address the parties’ dispute under the Dispute Resolution
Agreement (see below).

7. SEVERABILITY/BLUE-PENCIL

You acknowledge and agree that (a) the covenants and agreements contained herein are reasonable and valid in geographic, temporal and subject matter scope and in all other respects, and do not impose limitations greater than are necessary to protect the goodwill,
Confidential Information, and other business interests of the Company; (b) if any arbitrator (or a court when the Company seeks a provisional remedy in aid of arbitration) subsequently determines that any of such covenants or agreements, or any part thereof, is invalid
or unenforceable, the remainder of such covenants and agreements shall not thereby be affected and shall be given full effect without regard to the invalid portions; (c) if any arbitrator (or a court when the Company seeks a provisional remedy in aid of arbitration)
determines that any of the covenants and agreements, or any part thereof, is invalid or unenforceable because of the duration or scope of such provision, such arbitrator (or a court when the Company seeks a provisional remedy in aid of arbitration) shall have the power
to reduce the duration or scope of such provision, as the case may be, and, in its reduced form, such provision shall then be enforceable to the maximum extent permitted by applicable law; (d) you must honor this Agreement even if you have a claim against the
Company; and (e) keeping these promises will not cause you undue hardship.

8. GOVERNING LAW

This Agreement shall be construed, interpreted, and governed in accordance with either (a) the laws of the State where you are employed, or (b) in the event of a breach of any of the covenants contained in Sections one through five, the law of the State where such
breach actually occurs, depending on whichever choice of law shall ensure to the maximum extent that the covenants shall be enforced in accordance with the intent of the Parties as reflected in this Agreement.

9. NOTIFICATION TO NEW EMPLOYER

You understand that the various terms and conditions of this Agreement shall survive and continue after your employment with the Company terminates. Accordingly, you hereby expressly agree that the Company may inform your new employer
regarding your duties and obligations under this Agreement.


     I acknowledge that I have had the opportunity to review the above Confidential Information and Non-Solicitation Agreement.
Note: You will not be permitted to sign and submit the mandatory Associate Guide Acknowledgment on the last page until you select this checkbox.
Inventions Agreement


Inventions Agreement

You acknowledge and agree that all ideas, methods, inventions, discoveries, improvements, work products, developments, statements, opinions, photographs, video, film footage, data, documentation, processes or works of authorship (“Inventions”) that result from,
relate to or are suggested by your work with the Company, made or conceived by you, solely or jointly with others, during your employment, whether or not on Company property or utilizing Company equipment shall belong exclusively to the Company.

All Inventions constitutes trade secrets of the Company and shall be the sole property of the Company or any other entity designated by the Company. You hereby irrevocably convey, transfer and assign to the Company all your right, title and interest in and to, and all
claims for past and future infringement of, the Inventions as of their creation, throughout the universe and all patents, copyrights, trademarks, trade secrets, mask works, and any and all other proprietary rights therein, that may issue thereon in any and all countries,
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whether during or subsequent to your employment, together with the right to file, in your name or in the name of the Company (or its designee), applications for patents and equivalent rights, the right to modify and create derivative works, the right to invoke the benefit
of any priority under any international convention, and all rights to register and renew same. You will, at any time during and subsequent to your employment, make such applications, sign such papers, take all rightful oaths, and perform all acts as may be requested
from time to time by the Company with respect to the Inventions.

All copyrightable aspects of the Inventions are to be considered “works made for hire” within the meaning of the Copyright Act of 1976, as amended (the “Act”), and the Company is to be the “author” within the meaning of such Act for all
purposes. All such copyrightable works, as well as all copies of such works in whatever medium fixed or embodied, including those now known or hereinafter devised, shall be owned exclusively by the Company as of its creation throughout the
universe and in perpetuity, and you disclaim any and all interest in any of such copyrightable works and waive any right of droit morale or similar rights.


    I acknowledge that I have been given the opportunity to review the above Inventions Agreement
NOTE: You will not be permitted to sign and submit the mandatory Associate Guide Acknowledgement on the last page until you select this checkbox.
Dispute Resolution Agreement


Dispute Resolution Agreement


This Dispute Resolution Agreement (sometimes referred to as “Agreement”) is intended to provide a timely and fair procedure for associates to resolve certain legal disputes.

The Dispute Resolution Process has two steps:

 1. Open door

 2. Arbitration

Both steps are described in more detail in this Agreement.

An associate may opt out of this Agreement within 30 days after receiving it. (See the Opt-Out of Dispute Resolution Agreement form hereinafter provided.)

The arbitration portion of this Dispute Resolution Agreement covers virtually all legal claims arising out of or related to your employment with Luxottica (sometimes referred to as “Company”). See the section titled, “What Is Covered By The Dispute Resolution
Agreement?” for a listing of the types of claims that are covered under this Agreement. The Dispute Resolution Agreement does not prevent any associate from filing a claim with the Equal Employment Opportunity Commission (EEOC), U.S. Department of Labor, or
the National Labor Relations Board (NLRB), or for state unemployment insurance or workers’ compensation benefits. Finally, nothing in this Agreement alters the at-will employment relationship that exists between you and the Company.

This Agreement is effective upon your receipt of it. This Agreement is governed by the Federal Arbitration Act (9 U.S.C. §§ 1-16). If you have any questions about the Dispute Resolution Agreement, please contact the HR Solutions Group at 1-866-431-8484 or an
outside advisor of your choice.

DISPUTE RESOLUTION AGREEMENT STEP # 1: THE OPEN DOOR POLICY

The Company encourages associates to feel comfortable expressing job-related concerns and is committed to listening and responding to such concerns. The Open Door Policy provides an Open Door Process for an associate to bring a concern to management’s attention
without fear of retaliation. In many cases, the associate’s immediate manager is the person best qualified to address a concern or answer a question. Managers to whom a concern is reported through the Open Door Policy are expected to respond.

Where an associate is not comfortable reporting a concern to his/her manager, for example because the concern involves the associate’s manager, the associate may report his/her concern directly to his/her manager’s manager or HR Business Partner. Another option is
to contact the HR Solutions Group at 1-866-431-8484 or HRSolutions@LuxotticaRetail.com.

Where necessary, the HR Solutions Group will work with the associate and the manager to address a concern. If the associate feels that the concern was not addressed to his/her satisfaction by his/her manager(s) and/or the HR Solutions Group, such concern may be
elevated to a HR Business Partner or the Associate Relations Center of Excellence to review details, conduct an investigation, and attempt to resolve the issue.

While the Company will endeavor to maintain the confidentiality of a concern reported by an associate, it may not be possible for the Company to do so in every circumstance. For example, in order to resolve a concern it may be necessary for the Company to conduct a
workplace investigation during which the details of the particular concern may need to be disclosed to the affected/implicated workplace parties or witnesses. In addition, associates may be requested to maintain confidentiality where critically necessary to protect a
witness, avoid tampering/destruction of evidence, or to prevent a cover-up.

Associates can use the Open Door Policy without fear of retaliation. Any person who attempts to deter or deters an associate’s attempt to escalate a concern, or who retaliates against an associate in any way for using the Open Door Policy, will be subject to corrective
action.
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Associates are not required to use the Open Door Policy prior to initiating arbitration, but associates are encouraged to do so.

DISPUTE RESOLUTION AGREEMENT STEP #2: ARBITRATION

If the dispute isn’t resolved through the Open Door Process, the next step is Arbitration.

Arbitration is a way to get efficient resolution of disputes by submitting them to an arbitrator instead of the ordinary process of filing a lawsuit in a court of law. You and Luxottica hire a neutral arbitrator to resolve the dispute. In most cases, the parties will select an
arbitrator through the American Arbitration Association (sometimes referred to as “AAA”). More information about the AAA is provided below. Arbitration is binding - that is, the arbitrator’s decision is final. Only in limited situations can the arbitrator’s decision be
challenged.

The arbitrator is required to apply the same law that would be applied if you filed a lawsuit. The arbitrator has specific legal powers. For example, the arbitrator may:

 • Receive testimony and evidence from both parties involved in a dispute

 • Authorize appropriate discovery, including depositions and subpoenas

 • Hear and rule on pre-hearing disputes and hold pre-hearing conferences by telephone or in person

 • Hear and rule on pre-hearing motions in accordance with the Federal Rules of Civil Procedure (including motions pursuant to Federal Rules of Civil Procedure 12 and 56 but not Rule 23 (class actions))

 • Make a legal, final and binding decision about the facts and the law as applied to those facts

 • Give you the same award, fees, or damages that you would be entitled to if you won a lawsuit in court under the particular laws alleged to have been violated

Arbitration is designed to be more efficient than court. By agreeing to resolve their disputes exclusively through binding arbitration, the parties agree that they are waiving their rights to a trial in court with a judge or jury.

How Does Arbitration Work?

If the Open Door Process has not resolved a dispute to your satisfaction or you have not pursued that process, the next step is to request arbitration by writing to the American Arbitration Association Regional Office in New York, New York. The American Arbitration
Association’s Employment Arbitration Rules (“AAA Rules”) and this Dispute Resolution Agreement will govern the proceedings. The AAA Rules are available at www.adr.org/employment, through Luxottica’s HR Solutions Group (tel. 1-866-431-8484), or by calling
the American Arbitration Association at 1-212-484-4181.

You and Luxottica will select an arbitrator and schedule the hearing. You and Luxottica may agree to use any arbitrator, whether or not the arbitrator is affiliated with the AAA, but in any case where the parties cannot agree to a particular arbitrator, the AAA Rules will apply to the
arbitrator selection process. If for any reason the AAA will not administer the arbitration, either party may apply to a court of competent jurisdiction with authority over the location where the arbitration will be conducted for appointment of a neutral arbitrator.

The arbitrator is to provide a written decision that sets forth the essential findings and conclusions on which the decision is based. The arbitrator’s decision is final and binding on the parties. Only in limited circumstances may the arbitrator’s decision be challenged.

What Is Covered By the Dispute Resolution Agreement?

The Dispute Resolution Agreement covers Luxottica and you, regardless of your hire date, unless you opt-out on the form provided herein.

Except as it otherwise provides, this Agreement applies, without limitation, to disputes with any individual (including Luxottica’s employees, agents, supervisors, officers or directors) or entity (including any company affiliated with Luxottica, its parent(s) or subsidiaries, if any)
arising out of or related to the employment relationship or the termination of that relationship (including post-employment defamation or retaliation), trade secrets, unfair competition, compensation, classification, minimum wage, seating, expense reimbursement, overtime, breaks and
rest periods, termination, discrimination or harassment and claims arising under the Uniform Trade Secrets Act, Civil Rights Act of 1964, Americans With Disabilities Act, Age Discrimination in Employment Act, Family Medical Leave Act, Fair Labor Standards Act, Employee
Retirement Income Security Act (except for claims for employee benefits under any benefit plan sponsored by the Company and (a) covered by the Employee Retirement Income Security Act of 1974 or (b) funded by insurance), Affordable Care Act, Genetic Information Non-
Discrimination Act, state statutes or regulations addressing the same or similar subject matters, and all other federal or state legal claims arising out of or relating to Employee’s employment or the termination of employment.

The Arbitration portion of the Dispute Resolution Agreement also is intended to cover all legal disputes that the Company could otherwise file in court against you. The claims the Company potentially could have against an associate that it agrees to submit to binding arbitration rather
than file in court include, but are not limited to, claims for misappropriation, conversion, fraud, breach of fiduciary duty, breach of the Confidentiality Agreement and breach of any other legal duties that an employee has to his or her employer.

What Are the Limitations On How This Agreement Applies?

You may elect to bring an individual claim in a local small claims court provided the recovery you seek is within the jurisdictional limits of that court and does not exceed $10,000.

This Agreement does not apply to litigation between you and the Company (including class action cases in which you are a putative class member) pending in a state or federal court or in arbitration as of the date of your receipt of this Agreement. In such instances, any
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prior agreement between you and Luxottica to arbitrate disputes shall remain in full force and effect.

Any disputes about the enforceability of the Dispute Resolution Agreement shall be decided by a court.

This Agreement does not apply to claims for workers compensation and unemployment insurance benefits.

Except as it otherwise states, nothing contained in this Agreement shall be construed to prevent or excuse you (individually or in concert with others) or the Company from utilizing the Company’s existing internal procedures for resolution of complaints.

Either you or the Company may apply to a court of competent jurisdiction for temporary or preliminary injunctive relief in connection with an arbitrable controversy, but only upon the ground that the award to which that party may be entitled may be rendered
ineffectual without such relief.

Regardless of any other terms of this Agreement, a claim may be brought before and remedies awarded by an administrative agency if applicable law permits the agency to adjudicate the claim notwithstanding the existence of an agreement to arbitrate. Such
administrative claims include without limitation claims or charges brought before the Equal Employment Opportunity Commission, Department of Labor, or the National Labor Relations Board. Nothing in this Agreement shall be deemed to preclude or excuse a party
from bringing an administrative claim before any agency in order to fulfill the party’s obligation to exhaust administrative remedies before making a claim in arbitration.

Disputes that may not be subject to predispute arbitration agreement as provided by the Dodd-Frank Wall Street Reform and Consumer Protection Act (Public Law 111-203) are excluded from the coverage of this Agreement, as well as any disputes that may not be
arbitrated as provided by an Act of Congress or lawful, enforceable Executive Order.

May The Company Or I Bring a Class, Collective or Private Attorney General Representative Action?

This Agreement affects your ability to participate in class, collective or private attorney general representative action. Both the Company and you agree to bring any dispute in arbitration on an individual basis only, and not on a class, collective or private attorney general
representative basis on behalf of others. There will be no right or authority for any dispute to be brought, heard or arbitrated as a class, collective or private attorney general representative action or as a member in any such class, collective or representative proceeding (“Class Action
Waiver”). The Class Action Waiver does not apply to any claim you bring in arbitration as a private attorney general solely on your own behalf and not on behalf of others. Notwithstanding any other provision of this Agreement or the AAA Rules, disputes regarding the validity,
enforceability or breach of the Class Action Waiver may be resolved only by a civil court of competent jurisdiction and not by an arbitrator. In any case in which (1) the dispute is filed as a class, collective or private attorney general representative action and (2) there is a final judicial
determination that all or part of the Class Action Waiver is unenforceable, the class, collective, or representative action, to that extent, must be litigated in a civil court of competent jurisdiction. However, the portion of the Class Action Waiver that is enforceable shall be enforced in
arbitration. You will not be retaliated against, disciplined or threatened with discipline as a result of your exercising your rights under Section 7 of the National Labor Relations Act by the filing of or participation in a class, collective or representative action in any forum. However, the
Company may lawfully seek enforcement of this Agreement and the Class Action Waiver under the Federal Arbitration Act and seek dismissal of such class or collective actions or claims. The Class Action Waiver shall be severable in any case in which the dispute is filed as an
individual action and severance is necessary to ensure that the individual action proceeds in arbitration.

The Company expressly does not agree to arbitrate any claim on a class, collective or representative basis.

What is the American Arbitration Association and How Does Arbitration Proceed?

The AAA is a not-for-profit organization that administers and provides the AAA Rules governing the arbitration process. The AAA revises the AAA Rules from time to time. You and the Company agree to comply with the most current version of the AAA Rules.

 • Any request for Arbitration must be made within the time limit established by the applicable statute of limitations. Any disputes regarding the timeliness of a request for Arbitration will be decided by the arbitrator.

 • The arbitrator will permit and resolve any disputes regarding pre-arbitration discovery of each side’s position, documents and witnesses, as provided in the AAA Rules.

 • The arbitrator may also hear and rule on dispositive motions, such as motions to dismiss or for summary judgment.

 • We’ll agree on a time and a place for the Arbitration hearing. Luxottica’s goal is to conduct the arbitration within a reasonable distance from where you currently or last worked for Luxottica, and any disputes in this regard will be resolved by the arbitrator.

 • The arbitrator may award the same damages, fees or other remedies as a court of law could have awarded had the proceedings been before a court instead of in arbitration.

ATTORNEY, COSTS AND FEES
 • You have the right to have an attorney represent you in any arbitration under the Dispute Resolution Agreement. However, you do not need to have an attorney represent you.

 • You are responsible to pay or otherwise make arrangements for your attorney’s fees. You are also responsible for paying for expenses you would have had to pay for a court case (e.g., expenses your side incurs for depositions, witness fees, expert witness fees, etc.).
    If you prevail on certain claims you may be entitled to an award of attorney’s fees and costs, as authorized by applicable law and determined by the arbitrator.

 • If you (rather than the Company) are the one who initiates arbitration, you will need to pay a filing fee to the AAA, up to but no greater than the amount required to file a lawsuit in your jurisdiction asserting the same claims. If the AAA filing fee is greater than that amount, the
    Company will pay the difference. Additionally, if applicable law requires the Company to pay a higher share of the filing fee, the Company will do so, up to the entire amount if that is what the law provides.

 • The Company will pay the entire fee of the arbitrator for his or her services and any associated costs incurred by the arbitrator or the AAA.
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 • Any disputes regarding the proper apportionment of fees and costs will be decided by the arbitrator.

   Your Right To Opt Out. If you do not wish to agree to this Dispute Resolution Agreement, you may opt-out within 30 days of your receipt of this Agreement. Any opt-out must be through written notice in one of two ways: (1) you may opt-out by completing the hard-
   copy “Opt-Out Of Dispute Resolution Agreement” form that immediately follows this Agreement, or (2) if you are reviewing this Agreement electronically, you also may opt-out by selecting the checkbox on the last electronic screen. If you opt-out by completing the
   hard-copy form, the written notice that you provide must be directed to and actually received by HR Records by mail at Attn: HR Records, 4000 Luxottica Place, Mason, OH 45040, or by fax at 1-866-212-3663 within the 30-day period. Failure to opt-out within the
   time provided will demonstrate your intention, and the Company’s agreement, to be mutually bound by this Agreement and specifically the arbitration provision contained herein. The Company will not take adverse action against you on account of your electing to
   opt out of this Agreement. Nor will the Company take adverse action against you on account of your choosing not to opt out or electing to pursue arbitration of a claim.

   Except as provided regarding the Class Action Waiver, above, if any provision (or portion of that provision) of the Dispute Resolution Agreement is held illegal, invalid or unenforceable in any respect, the Company and the associate agree that such provision (or
    portion of such provision) shall be deemed to be modified only as necessary to permit its enforcement to the maximum extent permitted by applicable law. In this event, the remainder of the Dispute Resolution Agreement shall not be affected thereby.

    I acknowledge that I have been given the opportunity to review the above Dispute Resolution Agreement
NOTE: You will not be permitted to sign and submit the mandatory Associate Guide Acknowledgement on the last page until you select this checkbox.
Release for Use of Likeness, Voice, and Name Agreement


Release for Use of Likeness, Voice and Name Agreement
I hereby grant and give to the Company, its parents, subsidiaries, affiliates, agents, and assigns the absolute and irrevocable right, license and privilege to, and to permit others to, use, publish, display, transmit, exhibit and reproduce, my name, statements, photograph,
video, voice or other likeness, in whole or in part, on film, videotape or any media now or hereafter known or devised, with or without my name, both singly and in conjunction with other persons, for any and all purposes, including but not limited to, private or public
presentations for advertising, publicity, promotional and charitable purposes, throughout the world without restriction as to manner or frequency, both during my employment and thereafter. I acknowledge and agree that the Company shall have the entire, exclusive
right, title, and interest in and to any materials produced with my name, statements, photograph, video, voice or other likeness and other reproductions thereof and all copyright therein, and that I will not receive any kind of payment, remuneration, compensation or
consideration of any kind.


    I acknowledge that I have been given the opportunity to review the above Release for Use of Likeness, Voice, and Name Agreement.
NOTE: You will not be permitted to sign and submit the mandatory Associate Guide Acknowledgement on the last page until you select this checkbox.
Electronic Protected Health Information (ePHI) Agreement


Electronic Protected Health Information (ePHI) Agreement
In order to comply with privacy regulations regarding electronic Protected Health Information (ePHI), associates, contractors or anyone with access to systems containing ePHI are responsible for safeguarding this protected data by:

 a. limiting ePHI data access to only those who need access as part of their job duties

 b. storing ePHI data only on resources that are specifically designed to enforce ePHI data confidentiality, integrity and availability (e.g., not on public or shared drives or on personal digital assistants (PDA’s) or any other place where data is at significant risk of being
    compromised)

 c. transmitting ePHI data only through approved channels (Secure FTP, encrypted email, etc.)

 d. ensuring ePHI data on transportable media sources such as floppies, CD’s, DVD’s, magnetic tapes and laptops are controlled and utilized according to IT standards

 e. returning or destroying ePHI when it is no longer needed for business purposes or upon contract termination

 f. ensuring that all system access passwords are kept confidential, sufficiently complex and routinely changed

Managers responsible for ePHI data should ensure individuals granted access to ePHI resources are trained annually on ePHI handling procedures. These managers should also review access control lists regularly to verify that only authorized individuals are granted
access to ePHI resources.

Despite the close working relationship between Luxottica associates and subleasing optometrists or ophthalmologists, no Luxottica associate should handle a subleasing doctor’s electronic patient information/data unless it is with the specific permission of the doctor or
pursuant to a Business Associate Agreement and in the course of treatment.

If an associate suspects or discovers an IT security incident (data compromise, system misuse, virus, etc.), the incident must be reported immediately to management and to the appropriate IT Help Desk. Technical Services’ IT Security Officer is responsible for the IT
security incident remediation process, including coordinating, communicating and documenting response activities through to resolution.

These Corporate Services and ePHI Policy summaries are provided so that associates understand the importance of protecting the Company IT resources and protected customer data. Please refer to Luxottica’s intranet, or your brand-specific online communications
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channel for more detailed information regarding IT policies.


    I acknowledge that I have been given the opportunity to review the above Electronic Protected Health Information (ePHI) Agreement.
NOTE: You will not be permitted to sign and submit the mandatory Associate Guide Acknowledgement on the last page until you select this checkbox.
Luxottica Associate Guide Acknowledgement and Agreement


Luxottica Associate Guide Acknowledgment and Agreement
This will acknowledge that I have received my copy of the Luxottica Associate Guide and that I will familiarize myself with the contents of the Associate Guide and agree to abide by its terms. I understand
that this Guide replaces and supersedes all prior versions.

    I specifically understand and agree to the following:
     • My employment with the Company will be at-will, unless there is a specific agreement signed by me and a legally authorized company representative, as determined by Luxottica’s Legal
       Department, stating otherwise. As an at-will employee, I understand that the Company has the right to terminate my employment at any time, with or without cause or notice, and that I have the
       same right. Except as provided in the following paragraph, the Company reserves the right to add, change or delete wages, benefits, policies and all other working conditions at any time.
     • The Dispute Resolution Agreement cannot be changed, altered, revised or modified as to me without (i) issuance of a new Dispute Resolution Agreement which makes any such changes or
       modifications, and (ii) my written agreement to such changes or modifications.
     • My signature below certifies that I understand that this agreement regarding my at-will status is the sole and entire agreement between the Company and me concerning the duration of my
       employment and the circumstances under which my employment can be terminated. This agreement supersedes all prior agreements, understandings and representations (whether written or oral)
       concerning my at-will employment with the Company.
     • I acknowledge that I have received and read, and that I understand and agree to the terms of, the following Agreements as set forth in the Associate Guide: Confidentiality Agreement and Non-
       Solicitation Agreement; Inventions Agreement; Dispute Resolution Agreement; Release for Use of Likeness, Voice and Name Agreement and Electronic Protected Health Information (ePHI) Policy
       Agreement.
     • Except as provided in the following sentence, I acknowledge and agree that my employment with the Company is conditioned upon my acceptance of the terms of these contractually binding
       agreements. Consistent with the terms of the Dispute Resolution Agreement, however, I recognize that I have 30 days to opt-out of that Dispute Resolution Agreement. Absent the exercising of my
       right to opt-out of that Dispute Resolution Agreement (by signing and returning the Opt-Out of Dispute Resolution Agreement form within 30 days of receipt, or selecting the opt-out checkbox if done
       electronically), the Company and I agree to be bound by its terms. I understand that the Agreements attached hereto replace and supersede all prior versions and I am bound by the most recent
       versions of the Agreements.



MY SIGNATURE BELOW CERTIFIES THAT I HAVE READ, UNDERSTAND, AND AGREE TO BE BOUND BY THE TERMS AND CONDITIONS SET FORTH ABOVE.
DO NOT SIGN UNTIL YOU HAVE READ THE ACKNOWLEDGMENT AND AGREEMENT ABOVE, AND THE LUXOTTICA ASSOCIATE AGREEMENTS.

Enter your Full Name to confirm your electronic signature.

Full Name: kathleen olivastro

Opt-Out of Dispute Resolution Agreement

Please select from the dropdown below whether you wish to participate or opt-out of the Displute Resolution Agreement.

I understand that if I choose to opt-out within the 30-day time period, I agree that I am not entitled or required to participate in or utilize the arbitration procedures described in the Dispute Resolution Agreement. I understand that Luxottica will not take adverse
action against me because I choose to opt-out.

I wish to participate.

Note: If you received and reviewed the Dispute Resolution Agreement electronically, and wish to opt-out of the Dispute Resolution Agreement after closing out of the electronic system, please contact the HR Solutions Group at 1-866-431-8484 within 30 days of your
receipt of the Dispute Resolution Agreement for further assistance.
